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     Attorneys for plaintiffs and all others similarly-situated.
13

14                                  UNITED STATES DISTRICT COURT

15                               SOUTHERN DISTRICT OF CALIFORNIA

                                                            Case No.: '23CV1729 LAB BGS
16
     RONNIE BROOKS, LAURA SIEGEL,
17   TIFFANY VINSON, PHILIP MCGILL, ANNIE
     CASTNER, CHERELLE BLOUNT, individually,                CLASS ACTION COMPLAINT FOR
18   and on behalf of all others similarly situated; and    DAMAGES, DECLARATORY AND
     ROES 1 through 100 inclusive;                          INJUNCTIVE RELIEF AND
19
                                                            RESTITUTION:
20   Plaintiffs,
                                                            1. VIOLATION OF CALIFORNIA CIVIL
21   v.                                                        CODE § 1950.5
22
     GREYSTAR REAL ESTATE PARTNERS, LLC, 2. UNFAIR COMPETITION (CAL. BUS. &
23   a Delaware Limited Liability Company;        PROF. CODE § 17200)
     GREYSTAR CALIFORNIA, INC, a Delaware
24   Corporation; 100 ALTAIR, LLC, a Delaware   JURY DEMAND
     Limited Liability Company; 1066 MARKET,
25
     LLC, a Delaware Limited Liability Company;
26   1101 NORTH MAIN, LLC, a Delaware Limited
     Liability Company; 111 W. 7 OWNER LLC, a
27   Delaware Limited Liability Company; 1221
     JONES, LLC, a California Limited Liability
28
     Company; 12444 VENICE INVESTMENTS, LP,

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 1   a Delaware Limited Partnership; 1318 SECOND
     STREET ASSOCIATES, a Delaware Limited
 2   Liability Company; 1318 SECOND STREET
     ASSOCIATES, LLC, a Delaware Limited
 3
     Liability Company; 140 CENTER STREET LLC,
 4   a Delaware Limited Liability Company; 1471
     EIGHTH AVENUE, LLC, a Delaware Limited
 5   Liability Company; 15700 LASSELLE CA LP, a
     Delaware Limited Partnership; 1700 WEBSTER,
 6
     LLC, a Oregon Limited Liability Company; 171
 7   W JULIAN STREET APARTMENTS
     INVESTORS LLC, a Delaware Limited Liability
 8   Company; 1844 MARKET STREET, LLC, a
     Delaware Limited Liability Company; 200
 9
     OCEAN BOULEVARD LLC, a Delaware
10   Limited Liability Company 207 SEASIDE
     PARTNERS, LLC, a California Limited Liability
11   Company; 22751 EL PRADO LLC, a Delaware
     Limited Liability Company; 2900 WILSHIRE,
12
     LLC, a California Limited Liability Company;
13   3093 BROADWAY HOLDINGS, L.L.C., a
     Delaware Limited Liability Company; 3100 VAN
14   BUREN BOULEVARD APARTMENTS
     INVESTORS LLC, a Delaware Limited Liability
15
     Company; 3364 HONEYBROK WAY GROUND
16   OWNER LP, a Delaware Limited Partnership; 437
     HILL HIGHRISE LLC, a Delaware Limited
17   Liability Company; 437 HILL MIDRISE, LLC, a
     Delaware Limited Liability Company; 4700
18
     TELEGRAPH AVENUE LP, a Delaware Limited
19   Partnership; 471 26TH STREET APARTMENTS
     INVESTORS LLC, a Delaware Limited Liability
20   Company; 4767 MOORPARK LLC, a Delaware
     Limited Liability Company; 4900 LOS FELIZ
21
     INVESTORS LLC, a Delaware Limited Liability
22   Company; 515 COLORADO, LLC, A California
     Limited Liability Company; 5445 LANKERSHIM
23   BOULEVARD APARTMENTS INVESTORS
     LLC, a Delaware Limited Liability Company; 570
24   21ST STREET APARTMENTS INVESTORS
25   LLC, a Delaware Limited Liability Company; 600
     S SPRING OWNER LLC, a Delaware Limited
26   Liability Company; 6606 VARIEL AVE, LLC, a
     Delaware Limited Liability Company; 707 EAST
27   OCEAN BOULEVARD, LP, a California Limited
28
     Partnership; 7450 NORTHROP DRIVE


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 1   APARTMENTS INVESTORS LLC, a Delaware
     Limited Liability Company; 752 SOUTH MAIN
 2   PROPERTY LLC, a Delaware Limited Liability
     Company; 885 WOODSIDE, LLC, a California
 3
     Limited Liability Company; 900 SOUTH
 4   FIGUEROA STREET APARTMENTS
     INVESTORS LLC, a Delaware Limited Liability
 5   Company; ADAGIO PARTNERS, L.P., a
     California Limited Partnership; AEW CAPITAL
 6
     MANAGEMENT, L.P.; a Delaware Limited
 7   Partnership; AHDOUT DEBORAH, an
     individual; ALLEGIANT DEVELOPMENT
 8   COMPANY, LLC; a California limited liability
     company; ALLIANCE RESIDENTIAL, LLC; an
 9
     Arizona Limited Liability Company; ALPHA Z
10   SAN JOSE APT 1 LLC, a Delaware Limited
     Liability Company; AMCAL EQUITIES LLC; a
11   California Limited Liability Company; AMCAL
     HAYWARD LLC, a Delaware Limited Liability
12
     Company; AMFP VI WINDSCAPE LLC, a
13   Delaware Limited Liability Company; ANGULO
     BEATRIZ, an individual; ANNA ZUCKER, an
14   individual; ANSON APARTMENTS LLC, a
     Delaware Limited Liability Company; ANTHEIA,
15
     LP, a California Limited Partnership;
16   APARTMENTS AT LITTLE ITALY, LLC, a
     Delaware Limited Liability Company; ASB
17   GIBSON SANTA MONICA LLC, a Delaware
     Limited Liability Company; ASB REAL ESTATE
18
     INVESTMENTS, an unknown entity; ASMBB
19   VERMONT CA, LLC , A Delaware Limited
     Liability Company; ASPECT ACQUISITION
20   LLC, a Delaware Limited Liability Company;
     AUTUMN SPRINGS RE INVESTORS, L.P., a
21
     California Limited Partnership; AV8 DT, LLC, a
22   California Limited Liability Company; AVINO
     DEL, LLC, a Delaware Limited Liability
23   Company; AXIS FEE OWNER LLC, a Delaware
     Limited Liability Company; B9 MF 12350 DEL
24   AMO LLC, a Delaware Limited Liability
25   Company; B9 MF 23639 NEWHALL LLC, a
     Delaware Limited Liability Company; B9 MF
26   23645 MEADOWRIDGE LLC, a Delaware
     Limited Liability Company; B9 MF
27   HIGHLANDS GT OWNER LLC, a Delaware
28
     Limited Liability Company; BAKER BLOCK


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                                                 2
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 1   ASSOCIATES, L.P., a California Limited
     Partnership; BAY MEADOWS RES 1
 2   INVESTORS, LLC a Delaware Limited Liability
     Company; BAY MEADOWS RES 4
 3
     INVESTORS, LLC, a Delaware Limited Liability
 4   Company; BAY MEADOWS TOWN SQUARE
     INVESTORS, LLC, a Delaware Limited Liability
 5   Company; BAY VIEW SD, LLC, a California
     Limited Liability Company; BCM 625
 6
     BROADWAY, LLC, a Delaware Limited
 7   Liability Company; BEATRIZ ANGULO
     LIVING TRUST, an unknown entity;
 8   BEHRINGER HARVARD ACAPPELLA LP, a
     business entity of form unknown; BEHRINGER
 9
     HARVARD MSSION OWNER, a Delaware
10   Limited Liability Company; BEHRINGER
     HARVARD NOHO LLC, a Delaware Limited
11   Liability Company; BEHRINGER HARVARD
     PACIFICA PROJECT OWNER LP, a Delaware
12
     Limited Partnership; BEHRINGER HARVARD
13   REDWOOD, a Delaware Limited Liability
     Company; BEHRINGER HARVARD SAN
14   SEBASTIAN LP, a Delaware Limited
     Partnership; BEL BROOK APARTMENTS2
15
     LLC, a California Limited Liability Company;
16   BELL FUND VII VALENCIA LLC, a Delaware
     Limited Liability Company; BELLA TERRA
17   DEL, LLC, a Delaware Limited Liability
     Company; BENEDICT CANYON EQUITIES,
18
     INC; A California Corporation; BERE ISLAND
19   PROPERTIES I LLC, a California Limited
     Liability Company; BERHRINGER HARVARD
20   CALYPSO LP, a Delaware Limited Partnership;
     BERKELEY VQOF II SPE, LLC, a Delaware
21
     Limited Liability Company; BISCAYNE ST TIC
22   OWNER I LLC, a Delaware Limited Liability
     Company; BISCAYNE ST TIC OWNER II LLC,
23   a Delaware Limited Liability Company; BLAI LP,
     a California Limited Partnership; BOARD OF
24   TRUSTEES OF THE LELAND STANFORD
25   JUNIOR UNIVERSITY, an unknown business
     entity; BOARDWALK 1810, LLC, a Delaware
26   Limited Liability Company; BPP ALPHABET
     MF SHERMAN CIRCLE LLC, a Delaware
27   Limited Liability Company; BRAD COX, an
28
     individual;; BRADDOCK & LOGAN GROUP, an


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                                                 3
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 1   unknown entity; BRE ALMADEA I MF
     PROPERTY OWNER LLC, a Delaware Limited
 2   Liability Company; BRE PIPER MF TIDES CA
     LLC, a Delaware Limited Liability Company;
 3
     BRE SILVER MF 1555 CA LLC, a Delaware
 4   Limited Liability Company; BRE SILVER MF
     CANYON CREST CA LLC, a Delaware Limited
 5   Liability Company; BRE SILVER MF NORTH
     HOLLYWOOD CA LLC, a Delaware Limited
 6
     Liability Company; BRE SILVER MF
 7   ROOSEVELT CA LLC, a Delaware Limited
     Liability Company; BREIT MF CAMPANULA
 8   WAY, a Delaware Limited Liability Company;
     BREIT MF DAY STREET, LLC, a Delaware
 9
     Limited Liability Company; BREIT MF
10   PROMENADE TERRACE, LLC, a Delaware
     Limited Liability Company; BREIT MF
11   TELEGRAPH ROAD LLC, a Delaware Limited
     Liability Company; BREIT SH BERKELEY LLC,
12
     a Delaware Limited Liability Company; BREIT
13   SH UNIVERSITY VILLAGE TOWERS LLC, a
     Delaware Limited Liability Company;
14   BRENTWOOD RE INVESTORS LLC, a
     California Limited Liability Company; BRETT
15
     WHITEHEAD, an individual; BROADSTONE
16   FAIRFAX LLC, a Delaware Limited Liability
     Company; BROADSTONE HERITAGE
17   ALLIANCE, LLC, a Delaware Limited Liability
     Company; BROADSTONE LAGUNA NIGUEL
18
     ALLIANCE, LLC, a Delaware Limited Liability
19   Company; BROADSTONE LOS FELIZ
     OWNER, LLC, a Delaware Limited Liability
20   Company; BROADSTONE MAKERS
     QUARTER, LP, a Delaware Limited Liability
21
     Company; BROADSTONE ON BROADWAY,
22   LLC, a Delaware Limited Liability Company;
     BROOKSIDE RE INVESTORS LP, a California
23   Limited Partnership; BRYANT STREET
     HOLDINGS LLC, a Delaware Limited Liability
24   Company; BURBANK MEDIA VILLAGE, LLC,
25   a California Limited Liability Company; BWC I
     LLC, a Washington Limited Liability Company;
26   CANTERRA APARTMENTS LLC, a Delaware
     Limited Liability Company; CANYON WOODS
27   OWNERS ASSOCIATION I, a California
28
     Nonprofit Corporation; CAPE MAY TEMECULA


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 1   APARTMENTS, LLC, a Delaware Limited
     Liability Company; CARLSBAD VILLAGE II,
 2   LLC, a Delaware Limited Liability Company;
     CARMEL MOUNTAIN APARTMENTS, INC., a
 3
     Delaware Stock Corporation; CARMEL
 4   PARTNERS, an unknown business entity;
     CARMEL TERRACE, L.P., a California Limited
 5   Partnership; CARMEN APARTMENT
     PARTNERS TIC I LLC, a Delaware Limited
 6
     Liability Company; CASA RUIZ DEL, LLC, a
 7   Delaware Limited Liability Company; CASA
     VALLECITOS, LTD, a California Limited
 8   Partnership; CASENTINI STREET
     APARTMENTS, LLC, a Delaware Limited
 9
     Liability Company; CASOLEIL DEL, LLC, a
10   Delaware Limited Liability Company;
     CATHEDRAL HILL ASSOCIATES, L.P., a
11   California Limited Partnership; CENTRAL PARK
     PARTNERS, L.P., a California Limited
12
     Partnership; CG-USA SIMI VALLEY LP, a
13   Delaware Limited Partnership; CH REALTY
     IX/MF SAN DIEGO EAGLE GLEN OWNER
14   GP, L.L.C., a Delaware Limited Liability
     Company; CHADWICH LF OWNER LLC, an
15
     unknown business entity; CHULA VISTA
16   APARTMENTS LLC, a Delaware Limited
     Liability Company; CI-GS HILLCREST LLC, a
17   Delaware Limited Liability Company; CIRCA
     1200 LLC, a Delaware Limited Liability
18
     Company; CIVIC SQUARE, LLC, a California
19   Limited Liability Company; CLI ATLAS
     ASHTON LLC, a Delaware Limited Liability
20   Company; CLPF - BALBOA PARK, L.P., a
     Delaware Limited Partnership; CLPF ARTIST
21
     WALK LP, a Delaware Limited Partnership;
22   CLPF CRESCENT PARK LP, a Delaware
     Limited Partnership; CLPF GRP SUNNYVALE
23   KIFER LLC, a Delaware Limited Liability
     Company; CLPF TOWER AT HOLLYWOOD
24   HILLS LP, a Delaware Limited Liability
25   Company; CONTRA COSTA RE INVESTORS,
     LLC, a California Limited Liability Company;
26   CORTE BELLA FEE OWNER LLC, a Delaware
     Limited Liability Company; CP III RINCON
27   TOWERS, INC., a Colorado Stock Corporation;
28
     CP V JLS, LLC, a Delaware Limited Liability


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 1   Company; CP V WALNUT, LLC, a Delaware
     Limited Liability Company; CP VI ADMIRALS
 2   COVE, LLC, a Delaware Limited Liability
     Company; CP VI FRANKLIN, LLC, a Delaware
 3
     Limited Liability Company; CP VII ONE38, LLC,
 4   a Delaware Limited Liability Company; CPI
     SOFIA OWNER, L.L.C., a Delaware Limited
 5   Liability Company; CPI-GREP AA I BUENA
     VIDA OWNER, L.L.C., a Delaware Limited
 6
     Liability Company; CR AIRWAY GARDENS,
 7   LLC, a Delaware Limited Liability Company; CR
     LUXE COMMUNITIES, LLC, a Delaware
 8   Limited Liability Company; CR WESTWOOD
     COMMUNITIES, LLC, a Delaware Limited
 9
     Liability Company; CRP & BRANDYWINE
10   HAWTHRONE APARTMENTS OWNER, an
     unknown business entity; CRP/THC MISSION
11   GORGE WEST I OWNER, L.L.C., a Delaware
     Limited Liability Company; CRP-GREP
12
     VENTURA 140 OWNER, L.L.C., a Delaware
13   Limited Liability Company; CV MENLO PARK,
     LLC, a Delaware Limited Liability Company;
14   CYPRESS POINT RE INVESTORS LLC, a
     California Limited Liability Company; CYPRESS
15
     SANDS APARTMENT PARTNERS, LLC, a
16   Delaware Limited Liability Company; DUARTE
     MULTIFAMILY, LLC, a Delaware Limited
17   Liability Company; DWIGHT WAY
     RESIDENTIAL PROPERTY OWNER, LLC, a
18
     Delaware Limited Liability Company; EAST
19   PACIFIC PROPERTIES LLC, a Delaware
     Limited Liability Company; EFL
20   DEVELOPMENT COMPANY, L.P., a California
     Limited Partnership; ENCANTO APARTMENT
21
     HOMES, LLC, a California Limited Liability
22   Company; EXPO LINE OWNER, LLC, a
     Delaware Limited Liability Company; FHF I
23   AMERIGE POINTE, LLC, a Delaware Limited
     Liability Company; FHF I THE HEIGHTS, LLC,
24   a Delaware Limited Liability Company;
25   FILLMORE CENTER ASSOCIATES, LP, a
     California Limited Partnership; FLOIT
26   PROPERTIES INC., an unknown business entity;
     FOUNTAIN PLAZA INVESTORS LP, a
27   Delaware Limited Partnership; FRIT SAN JOSE
28
     TOWN & COUNTRY VIL LLC, a California


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 1   Limited Liability Company; FRIT SAN JOSE
     TOWN AND COUNTRY VILLAGE, LLC, a
 2   California Limited Liability Company; FSTAR
     1637 LLC, a California Limited Liability
 3
     Company; FV DEL 5, LLC, a Delaware Limited
 4   Liability Company; GAR REAL ESTATE
     MANAGEMENT, a California corporation;
 5   GDCV CULVER CITY, LLC, a Delaware
     Limited Liability Company; GDCV II BP
 6
     VILLAGE C-2 REIT, LLC, a Delaware Limited
 7   Liability Company; GDCV II WEST LA 135,
     LLC, a Delaware Limited Liability Company;
 8   GDCV MARKET STREET 87, LLC, a Delaware
     Limited Liability Company; GDCV PASADENA
 9
     201, LLC, a Delaware Limited Liability
10   Company; GEDR HILLSIDE, LLC, a Delaware
     Limited Liability Company; GEP X ISLA VISTA
11   LLC, a Delaware Limited Liability Company;
     GEP XI Vista Point, LLC, a Delaware Limited
12
     Liability Company; GFP OCEANSIDE BLOCK
13   18, LLC, a Delaware Limited Liability Company;
     GFP OCEANSIDE BLOCK 19, LLC, a Delaware
14   Limited Liability Company; GG LA FIGUEROA ,
     LLC, a Delaware Limited Liability Company;
15
     GGIF GLENDALE, LLC, a Delaware Limited
16   Liability Company; GGIF VIANO, LLC, a
     Delaware Limited Liability Company; GOLDEN
17   GATEWAY CENTER SPE, LLC, a Delaware
     Limited Liability Company; GREENFIELD
18
     VILLAGE DEL, LLC, a Delaware Limited
19   Liability Company; GREENLAND US
     HOLDINGS INC, a Delaware Stock Corporation;
20   GREG R NEVILLE, an individual;
     GROSVENOR DEL REY CORPORATION, a
21
     Delaware Stock Corporation; GS 1401 MISSION
22   PROJECT OWNER, LLC, a Delaware Limited
     Liability Company; GS AA RIVERWALK
23   OWNER, LLC, a Delaware Limited Liability
     Company; GS AA SAN MARCOS OWNER,
24   LLC, a Delaware Limited Liability Company; GS
25   ARGENTA PROJECT OWNER, LLC, a
     Delaware Limited Liability Company; GS Corona,
26   LLC, a Delaware Limited Liability Company; GS
     SANTA FE APARTMENTS, L.P, a Delaware
27   Limited Partnership; GS TULLY ROAD, LLC, a
28
     Delaware Limited Liability Company; GSIC II


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                                                7
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 1   ALMADEN OWNER, LP, a Delaware Limited
     Partnership; GSIC II CUCAMONGA OWNER,
 2   LP, a Delaware Limited Partnership; GSIC II
     PALOS VERDES OWNER, LP, a Delaware
 3
     Limited Partnership; GSIC II PINE OWNER, LP,
 4   a Delaware Limited Partnership; GSIC II
     STONERIDGE OWNER, LP, a Delaware Limited
 5   Partnership; GSIC II SUNNYVALE OWNER,
     LP, a Delaware Limited Partnership; GSIC II
 6
     WILSHIRE OWNER, LP, a Delaware Limited
 7   Partnership; GUGV ARTS DISTRICT LA
     PROPERTY OWNING LLC, a Delaware Limited
 8   Liability Company; GW4 LLC, a Delaware
     Limited Liability Company; HARBOR PARK
 9
     APARTMENTS, LP, a California Limited
10   Partnership; Harold Wang, an individual;
     HAYWARD 544, LLC, a Delaware Limited
11   Liability Company; HDO4, LLC, a New Mexico
     Limited Liability Company; HERCULES BLOCK
12
     Q&R DEVELOPMENT PARTNERS LP, a
13   Delaware Limited Liability Company; HESPERIA
     APARTMENTS, LLC, a California Limited
14   Liability Company; HIGBY JV, LLC, a Delaware
     Limited Liability Company; HOLLYWOOD 180
15
     HOLDCO, LLC, a Delaware Limited Liability
16   Company; HOMES ON LOCUST, LLC, a
     Wyoming Limited Liability Company;
17   HONEYBROOK WAY GROUND OWNER LP,
     a Delaware Limited Partnership; Howard Heitner,
18
     an individual; HPI 919 BAYSIDE LLC, a
19   California Limited Liability Company; ICON
     EDEN PLAZA OWNER POOL 2, LLC, a
20   Delaware Limited Liability Company; ICRE
     LAGUNA CLUB, LLC, a Delaware Limited
21
     Liability Company; IDEAL LINCOLN LLC, a
22   California Limited Liability Company; INL
     FAIRWAY VIEW 2012, LLC, a California
23   Limited Liability Company; IRONWOOD
     SOUTH DJT, LLC, a California Limited Liability
24   Company; IRVINE HIGHRISE RESIDENTIAL
25   LLC, a Delaware Limited Liability Company;
     IVY STATION LLC, a Delaware Limited
26   Liability Company; JACK LONDON SQUARE
     DEVELOPMENT OAKLAND OWNER LLC, a
27   Delaware Limited Liability Company; JADE
28
     ENTERPRISES, an unknown business entity;


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                                                 8
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 1   JEFFERSON AT STADIUM PARK-PHASE B
     OWNER, LLC, a Delaware Limited Liability
 2   Company; JEREMY MEREDITH, an individual;
     JESUS LLC, an unknown business entity; JIM
 3
     ANDERSEN, an individual; JOAN E. TAPPER,
 4   an individual; JTJ APARTMENT INVESTORS,
     LLC, a California Limited Liability Company; K
 5   & M SOUTH BERKELEY LLC, a Delaware
     Limited Liability Company; K 46, LLC, a
 6
     California Limited Liability Company; K1
 7   THIRTEENTH ST SD LLC, a Delaware Limited
     Liability Company; KENSINGTON
 8   APARTMENTS, LP, a California Limited
     Partnership; KENTWOOD INVESTORS, a
 9
     California Limited Partnership; KILROY
10   REALTY FINANCE PARTNERSHIP, L.P., a
     Delaware Limited Partnership; KR ACADMY
11   LLC, a California Limited Liability Company; KR
     HOLLYWOOD, LLC, a Delaware Limited
12
     Liability Company; KW MONTCLAIR, LLC, a
13   Delaware Limited Liability Company; KW
     SANTA CLARITA TOWNHOMES LLC, a
14   Delaware Limited Liability Company; KW
     WESTMORELAND TIC, LLC, a Delaware
15
     Limited Liability Company; LA APT. 1, LLC, a
16   Delaware Limited Liability Company; LA
     FLOWER STREET APARTMENTS LP, a
17   California Limited Partnership; LA PLAZA
     VILLAGE, LLC, a Delaware Limited Liability
18
     Company; LAFAYETTE APARTMENT
19   ASSOCIATES LP, an unknown business entity;
     LAFAYETTE APT ASSOCIATES LP, a
20   California Limited Partnership; LAKEVIEW 88,
     LLC, a California Limited Liability Company;
21
     LANDING APARTMENTS DEL, LLC, a
22   Delaware Limited Liability Company; LATIGO
     THOUSAND OAKS LLC, a Delaware Limited
23   Liability Company; Lauren Boyd, an individual;
     LAYLA PROPERTIES, LLC, a California
24   Limited Liability Company; Lee M Kort, an
25   individual; LEGACY APARTMENTS DEL, LLC,
     a Delaware Limited Liability Company; LEGACY
26   PARTNERS CORPORATE, INC., a California
     Stock Corporation; LENNAR COMMUNITIES,
27   INC.; a California corporation; LIAO
28
     COMMERCIAL DE LACEY AVE LLC, a


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                                                 9
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 1   California Limited Liability Company; LIFE
     ILLUMINATED LLC, a Delaware Limited
 2   Liability Company; LINCOLN 1641 LLC, a
     California Limited Liability Company; LIPT SAN
 3
     DIEGO, INC., a Delaware Stock Corporation;
 4   LIVCOR LLC, a Delaware Limited Liability
     Company; LOFTS 655 HOLDCO LLC, a
 5   Delaware Limited Liability Company; LOFTS
     677 HOLDCO LLC, a Delaware Limited Liability
 6
     Company; LOFTS 707 HOLDCO LLC, a
 7   Delaware Limited Liability Company; LOS
     FELIZ INVESTORS, LLC, a Delaware Limited
 8   Liability Company; LOWE ENTERPRISES
     REAL ESTATE GROUP, a California
 9
     Corporation; LPF OVERLOOK, INC., a Delaware
10   Stock Corporation; LT SACRAMENTO MF,
     LLC, a Delaware Limited Liability Company;
11   LUGANO APARTMENTS PR III LLC, a
     Delaware Limited Liability Company; LUXE
12
     PASADENA LLC, a California Limited Liability
13   Company; MADISON HILLS PROPERTY
     OWNER LLC, a Delaware Limited Liability
14   Company; MADISON-MF MCCADDEN CA
     LLC, a Delaware Limited Liability Company;
15
     MADRID APARTMENTS RF, LLC, a Delaware
16   Limited Liability Company; MAGNOLIA
     BROADWAY HOLDCO, LLC, a Delaware
17   Limited Liability Company; MAIN STREET
     CUPERTINO MULTI-FAMILY PROPERTY, a
18
     Delaware Limited Liability Company;
19   MARAZZO REALTY HOLDINGS, LLC, a
     California Limited Liability Company; Mariposa
20   Bliss LLC, a Delaware Limited Liability
     Company; MARKET DOLORES LLC, a
21
     Delaware Limited Liability Company; MARVIN
22   F. POER AND COMPANY, LLC, a Texas
     Limited Liability Company; Matt Riffle, an
23   individual; MCP ONYX, LLC, a Delaware
     Limited Liability Company; MICHAEL
24   SOROCHINCKY, an individual; MIREF
25   WARNER CENTER, LLC, a Delaware Limited
     Liability Company; MISSION VALLEY
26   INVESTORS, L.P., a California Limited
     Partnership; MISSIONS AT RIO VISTA I DEL,
27   LLC, a Delaware Limited Liability Company;
28
     MMIP CURRENT OWNER LLC, a Delaware


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                                                 10
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 1   Limited Liability Company; MMP ASHTON
     OWNER, LLC, a Delaware Limited Liability
 2   Company; MMP SOUTH PARK OWNER, LLC,
     a Delaware Limited Liability Company;
 3
     MNCVAD II-HOLLIDAY UNION JV LLC, a
 4   Delaware Limited Liability Company;
     MONOGRAM RESIDENTIAL RENAISSANCE,
 5   LP, a Delaware Limited Partnership;
     MONROVIA APARTMENT EPF I LLC, a
 6
     Delaware Limited Liability Company;
 7   MONTCLAIR ARROW APARTMENTS, L.P. a
     Delaware Limited Partnership; MONTECITO
 8   APARTMENT HOMES, a California Limited
     Liability Company; MONTECITO VILLAGE
 9
     PARTNERS, L.P, a Delaware Limited
10   Partnership; MONTEREY PENINSULA LAND
     PARTNERS, LLC, a California Limited Liability
11   Company; MONTEREY TOWNHOUSE LAND
     PARTNERS, LLC, a California Limited Liability
12
     Company; MONTESSA MANAGEMENT, LP, a
13   California Limited Partnership; MONTIAVO AT
     BRADLEY SQUARE OWNER LLC, a Delaware
14   Limited Liability Company; MUSEUM PARK
     PROPERTY LLC, a Delaware Limited Liability
15
     Company; MVSA VENTURE, LLC, a Delaware
16   Limited Liability Company; N AVENUE, LP, a
     California Limited Partnership; NAVAJO
17   BLUFFS DEL, LLC, a Delaware Limited Liability
     Company; NEW PACIFIC CARLYLE, LLC, a
18
     Delaware Limited Liability Company; NM-
19   JASPER, LLC, a Delaware Limited Liability
     Company; NORTHLAND THEA PROTFOLIO
20   LLC, a Delaware Limited Liability Company; NP
     PARC CHATEAUX INC, a Delaware Stock
21
     Corporation; OAK SPRINGS PARTNERS, L.P., a
22   California Limited Partnership; OCEAN AIR, L.P.
     a California Limited Partnership; OCEAN
23   BREEZE APARTMENT ASSOCIATES, L.P., a
     California Limited Partnership; OCEANVIEW
24   TERRACE, L.P., a California Limited
25   Partnership; OCOTILLO LA 9001SMB, LLC, a
     Delaware Limited Liability Company;
26   OKTOGON SANTA ANA LLC, a Delaware
     Limited Liability Company; ONYX EAST
27   APARTMENTS LLC, a California Limited
28
     Liability Company; OSM PROPERTY LLC, a


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 1   Delaware Limited Liability Company;
     PALOMAR STATION DJT (PHASE 1), LLC, a
 2   Delaware Limited Liability Company; PARC
     ONE DEL, LLC, a Delaware Limited Liability
 3
     Company; PARK KIELY REIT INC., a Maryland
 4   Stock Corporation; PARKER-SHATTUCK
     OWNER, LLC, a Delaware Limited Liability
 5   Company; PASO ROBLES MUTLIFAMILY
     LLC, a California Limited Liability Company;
 6
     PATT BARTLETT, an individual; PERSEA
 7   SENIOR BORROWER LLC, a Delaware Limited
     Liability Company; PKV 1031 SAN DIEGO,
 8   LLC, a California Limited Liability Company;
     PLAZA APARTMENTS GP LLC, a California
 9
     Limited Liability Company; PLAZA
10   APARTMENTS GP LLC, a California Limited
     Liability Company; PORT 121 LLC, a Delaware
11   Limited Liability Company; POTRERO
     LAUNCH AFFORDABLE LP, a California
12
     Limited Partnership; PR 1910 UNION LLC, a
13   Delaware Limited Liability Company; PR 1921
     UNION LLC, a Delaware Limited Liability
14   Company; PR BROADSTONE BERITAGE I
     LLC, a Delaware Limited Liability Company; PR
15
     BROADSTONE HERITAGE I LLC, a Delaware
16   Limited Liability Company; PR IMPERIA LOS
     ANGELES LLC, a Delaware Limited Liability
17   Company; PROVDENCE II ARTE
     APARTMENTS LLC, a Delaware Limited
18
     Liability Company; PROVIDENCE CAPITAL
19   GROUP INC, a California Corporation; PRU JSM
     TRINO LLC, a Delaware Limited Liability
20   Company; R & V MANAGEMENT Group, Inc., a
     Nevada Corporation; RAINCROSS SENIOR
21
     PARTNERS, LLC, a California Limited Liability
22   Company; RAINTREE 1122 UNIVERSITY LLC,
     a Delaware Limited Liability Company;
23   RAINTREE 1200 RIVERSIDE LLC, a Delaware
     Limited Liability Company; RAINTREE 201
24   MARSHALL LLC, a Delaware Limited Liability
25   Company; RAINTREE 2051 THIRD STREET
     LLC, a Delaware Limited Liability Company;
26   RAINTREE 973 MARKET MASTER TENANT
     LLC, a Delaware Limited Liability Company;
27   RAINTREE CAMPBELL LLC, a Delaware
28
     Limited Liability Company; RAINTREE DEL


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 1   PRADO LLC, a Delaware Limited Liability
     Company; RAINTREE FAIR OAKS LLC, a
 2   Delaware Limited Liability Company;
     RAINTREE FLOWER FIELDS LLC, a Delaware
 3
     Limited Liability Company; RAINTREE
 4   FOUNTAIN VALLEY LLC, a Delaware Limited
     Liability Company; RAINTREE PARTNERS, an
 5   unknown business entity; RAINTREE TRIESTE
     LLC, a Delaware Limited Liability Company;
 6
     RAINTREE VENTURA COLONY LLC, a
 7   Delaware Limited Liability Company;
     RAINTREE WALNUT CREEK LLC, a Delaware
 8   Limited Liability Company; RANCHO
     INVESTORS, L.P., a Delaware Limited Liability
 9
     Company; RANCHO PRESIDIO FEE OWNER
10   LLC, a Delaware Limited Liability Company;
     RAR2 SUMMERWOOD SARATOGA CA INC,
11   a Delaware Stock Corporation; REGENCY
     DURANT, LLC, a Delaware Limited Liability
12
     Company; REGENCY HILLTOP, LLC, a
13   Delaware Limited Liability Company; RESCORE
     1699 MARKET LLC, a Delaware Limited
14   Liability Company; RESCORE KOREATOWN,
     LLC, a Delaware Limited Liability Company;
15
     RESERVE REIT INC., a Maryland Stock
16   Corporation; REVANTAGE CORPORATE
     SERVICES LLC, a Delaware Limited Liability
17   Company; RI - BERKELEY, LLC, a California
     Limited Liability Company; RICHARD
18
     MUNKVOLD, an individual; RISING GLEN
19   DEL, LLC, a Delaware Limited Liability
     Company; RIVERSIDE LOCHMOORE DRIVE
20   APARTMENTS, LP, a California Limited
     Partnership; RIVERVIEW DEL I, LLC, a
21
     Delaware Limited Liability Company; RIVUE
22   MCA, LLC, a California Limited Liability
     Company; RIZE LKMS, LLC, a California
23   Limited Liability Company; ROBERT JEANS, an
     individual; ROC III CA CREEKWOOD, LLC, a
24   Delaware Limited Liability Company; ROHNERT
25   PARK 668 LP, a California Limited Partnership;
     ROLLING HILLS GARDEN APARTMENTS,
26   LLC, a California Limited Liability Company;
     RONISPEN INVESTMENT CORPORATION, an
27   unknown business entity; ROSINA VISTA, L.P.,
28
     a California Limited Partnership; RRE Bonita


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 1   Glen Holdings LLC, a Delaware Limited Liability
     Company; RREEF AMERICA REIT II CORP
 2   DD, a Maryland Stock Corporation; Ryan, LLC,
     an unknown business entity; SAN RAMON
 3
     PARK PLACE, LLC, a California Limited
 4   Liability Company; SANTA MARIA LAND
     PARTNERS LLC, a Delaware Limited Liability
 5   Company; SANTA MARIA MULTIFAMILY
     LLC, a Delaware Limited Liability Company;
 6
     SANTEE VILLAS DEL, LLC, a Delaware
 7   Limited Liability Company; SDCO HILLS OF
     CORONA, INC., a Delaware Stock Corporation;
 8   SEAN BURTON, an individual; SEPULVEDA
     APTS. LP, a California Limited Partnership;
 9
     SETA APARTMENT HOMES DEL, LLC, a
10   Delaware Limited Liability Company; SF APT 1,
     LLC, a Delaware Limited Liability Company;
11   SHAC 988 ECR APARTMENTS LLC, a
     Delaware Limited Liability Company; SHAC
12
     DEL MEDIO APARTMENTS LLC, a Delaware
13   Limited Liability Company; SHAC SOUTH
     MATHILDA AVENUE LLC, a Delaware Limited
14   Liability Company; SHADOWRIDGE
     WOODBEND DEL, LLC, a Delaware Limited
15
     Liability Company; SHEARWATER
16   COMMUNITIES, LLC, a Delaware Limited
     Liability Company; SHERIDAN PARK, LLC, a
17   Delaware Limited Liability Company; SI 26, LLC,
     a California Limited Liability Company; SI 32,
18
     LLC, a California Limited Liability Company; SI
19   40, LLC, a California Limited Liability Company;
     SI 51, LLC, a California Limited Liability
20   Company; SI 52, LLC, a California Limited
     Liability Company; SI 61, LLC, a California
21
     Limited Liability Company; SI 66, LLC, a
22   California Limited Liability Company; SI VII,
     LLC, a California Limited Liability Company; SI
23   VIII, LLC, a California Limited Liability
     Company; SI XXII, LLC, a California Limited
24   Liability Company; SIGNATURE POINT
25   MULTI, LLC, a Delaware Limited Liability
     Company; SILICON BEACH LIVE, LLC, a
26   California Limited Liability Company; SM -
     CLOVERFIELD INVESTORS, LLC, a Delaware
27   Limited Liability Company; SOBRATO
28
     DEVELOPMENT COMPANY #940, LLC, a


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 1   Delaware limited liability company; SOCAL II
     NOBEL LLC, a Delaware Limited Liability
 2   Company; SOFTWIND POINT DEL, LLC, a
     Delaware Limited Liability Company; SOHAY
 3
     APARTMENTS, LLC, a Delaware Limited
 4   Liability Company; SOLANA RIDGE, L.P., a
     California Limited Partnership; SOLTERRA AT
 5   CIVIC CENTER, LP, a California Limited
     Partnership; SOUTH SEPULVEDA INVESTORS
 6
     LP, a Delaware Limited Partnership;
 7   SOUTHBORDER LLC, a California Limited
     Liability Company; SP/P CHANNEL POINT,
 8   L.L.C., a Delaware Limited Liability Company;
     SRI ELEVEN 601 CAPITOL MALL LLC, a
 9
     Delaware Limited Liability Company; ST.
10   MORITZ PROPERTY OWNER LLC, a Delaware
     Limited Liability Company; STONE ARBOR
11   APARTMENTS, LLC, a Delaware Limited
     Liability Company; SUNBOW PARTNERS, L.P.,
12
     a California Limited Partnership; SW
13   WESTCHESTER LAND, LLC, a Delaware
     Limited Liability Company; SYCAMORE CORE
14   PROPERTY OWNER, LLC, a Delaware Limited
     Liability Company; TA SEACREST
15
     APARTMENTS, LLC, a Delaware Limited
16   Liability Company; TA VENICE ON ROSE, LP,
     a Delaware Limited Partnership; TALAVERA
17   RIDGE APARTMENTS, L.P., a California
     Limited Partnership; TARIGO PROPERTIES
18
     LLC, a California Limited Liability Company;
19   TAVERA, L.P., a California Limited Partnership;
     T-C LEGACY AT WESTWOOD LLC, a
20   Delaware Limited Liability Company; T-C
     REGENTS COURT LLC, a Delaware Limited
21
     Liability Company; TCP-7E, LLC, a Delaware
22   Limited Liability Company; TEACHERS INS &
     ANNUITY ASSOCIATION, an unknown
23   business entity; TENNESSEE TRIPLE SEVEN
     LLC, a Delaware Limited Liability Company;
24   TERRA FUNDING - NATOMAS, LLC, a
25   Delaware Limited Liability Company; TERRANO
     APARTMENT HOMES, LLC, a California
26   Limited Liability Company; THE 626 ORCHARD
     LLC, a Delaware Limited Liability Company;
27   THE ARBORS - LAKE FOREST ASSOCIATES,
28
     LLC, a Delaware Limited Liability Company;


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 1   THE GRAND SHERMAN OAKS, LLC, a
     Delaware Limited Liability Company; THE
 2   HANOVER AMERICAN INSURANCE
     COMPANY, a New Hampshire Corporation; THE
 3
     HAVEN AT COTTLE STATION, LLC, a South
 4   Carolina Limited Liability Company; THE
     HAVEN AT PETALUMA, LLC, a South Carolina
 5   Limited Liability Company; THE RESIDENCES
     AT COTA VERA, LLC, a Delaware Limited
 6
     Liability Company; THE WILCO
 7   APARTMENTS, LLC, a California Limited
     Liability Company; THOMAS LOFARO, an
 8   individual; THOMAS WULF, an individual;
     TILDEN - LAFAYETTE LLC, a California
 9
     Limited Liability Company; TILDEN - PARK
10   CROSSING LLC, a California limited liability
     Company; TIMOTHY VIOLE, an individual;
11   TOWN CENTER APARTMENTS, INC., a
     Delaware Stock Corporation; TREA HOLLY
12
     STREET VILLAGE LLC, a Delaware Limited
13   Liability Company; TRES PINOS LTD., a
     California Limited Partnership; TRIO
14   PASADENA, LLC, a California Limited Liability
     Company; TROJAN PROPERTY INVESTORS,
15
     LLC, a Delaware Limited Liability Company;
16   TRUAMERICA MULTIFAMILY LLC, a
     Delaware Limited Liability Company; TSV
17   APARTMENTS, LLC, a Delaware Limited
     Liability Company; TURTLE CREEK
18
     RESIDENTIAL LLC, a California Limited
19   Liability Company; TUSCANY RIDGE
     TEMECULA DEL, LLC, a Delaware Limited
20   Liability Company; TUSTIN COVENTRY
     SENIORS, LP, a California Limited Partnership;
21
     U.S. REIF SIERRA RIDGE CA LP, a Delaware
22   Limited Partnership; UNIVERSITY
     ENTERPRISES, INC., a California Stock
23   Corporation; USA PROPERTIES FUND INC, a
     California Corporation; VA7 CASA VERDE
24   LLC, a Delaware Limited Liability Company;
25   VA8 SIERRABROOK LLC, a Delaware Limited
     Liability Company; VALENCIA ASSOCIATES,
26   LLC, a Delaware Limited Liability Company;
     VAYA WC, LLC, a Delaware Limited Liability
27   Company; VENTURA TERRACE, LLC, a
28
     California Limited Liability Company;


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 1   VERANDA ASSOCIATES, LP, a California
     Limited Partnership; VERMONT CA GARDENS
 2   LP, a Delaware Limited Partnership; VILLAGE
     SQUARE APARTMENTS DEL, LLC, a
 3
     Delaware Limited Liability Company; VISTA
 4   CREEKSIDE APARTMENTS, LLC, a California
     Limited Liability Company; WEST 27TH, LLC, a
 5   Delaware Limited Liability Company; WEST
     SACRAMENTO MULTIFAMILY, LLC, a
 6
     California Limited Liability Company;
 7   WHISPERING OAKS LP, a California Limited
     Partnership; WILSHIRE HOBART 377
 8   PROJECT, LLC, a Delaware Limited Liability
     Company; WOODLAND PARK PROPERTY
 9
     OWNER, LLC, a California Limited Liability
10   Company; WOODSIDE PARK, LLC, a Delaware
     Limited Liability Company.
11

12
     Defendants.
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 1
     Plaintiffs aver:
 2
     I.      INTRODUCTION
 3             1.       Defendant GREYSTAR REAL ESTATE PARTNERS, LLC (collectively with
 4   Defendant GREYSTAR CALIFORNIA, INC., “GREYSTAR”) is the largest landlord in the United
 5   States. It publicly touts the fact that it has “more than 822,100” residential units under management,
 6   many of which it also owns. GREYSTAR is estimated to have hundreds of thousands of residential
 7   units in California. Its business is extremely lucrative, making it one of the top real estate firms in the
 8   country in multiple categories, including apartment owners, developers, and builders.1
 9             2.       The sizeable profits that GREYSTAR generates by owning and managing rental
10   property, however, were apparently not enough. To boost its already-massive profits, GREYSTAR has
11   systematically pilfered tenants’ deposits in violation of clear law, turning these security deposits into a
12   profit center.
13             3.       California has a detailed statutory scheme designed to protect tenants from the routine
14   practice of landlords simply keeping their deposits. Deposits are held in trust for the benefit of the tenant
15   and may only be used for purposes authorized by statute. Cal. Civ. Code § 1950.5(b), (d). A landlord

16   may only deduct from the deposits for unpaid rent, repairs (other than ordinary wear and tear), necessary

17   cleaning, and to replace or restore personal property and appurtenances. Id., subd. (b). Critically, if a

18   landlord intends to withhold more than $125.00, it must provide detailed, statutory disclosures, including

19   an itemized statement “reasonably describ[ing]” all work perofrmed and “a copy of any bill, invoice,

20   receipt, vendor price list, or other vendor documentation.”           Id., subd. (g). These requirements are

21   designed to ensure that any charges against the deposit are fully verifiable.

22             4.       GREYSTAR, however, uniformly fails to provide tenants with the disclosures mandated

23
     by statute. Among other things, it fails to provide sufficient information to tenants to verify the charges,

24
     and fails to provide bills, invoices, receipts, or other vendor documentation. As a result of this failure,
     GREYSTAR is required to return the entire deposit of any tenant to whom it failed to provide the
25
     mandatory, statutory disclosures.
26
               5.       Plaintiffs bring this action on behalf of themselves and other former tenants of Greystar
27

28
     1
             https://www.greystar.com/about-greystar/newsroom/greystar-nmhc-2022-rankings

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 1
     to recover the deposits that GREYSTAR unlawfully withheld and to enjoin Greystar from engaging in
 2
     similar illegal practices in the future.
 3   II.     JURISDICTION
 4             6.    This Court has original jurisdiction pursuant to the Class Action Fairness Act of 2005
 5   (“CAFA”), 28 U.S.C. § 1332(d)(2).
 6             7.    This is a “class action” as defined in CAFA as it is “filed under rule 23 of the Federal
 7   Rules of Civil Procedure.” See 28 U.S.C. § 1332(d)(1)(B).
 8             8.    The amount in controversy exceeds $5,000,000. Plaintiffs are informed and believe that
 9   Defendants unlawfully withheld security deposits well in excess of the $5,000,000 jurisdictional
10   threshold. See 28 U.S.C. § 1332(d)(2).
11             9.    Minimal diversity of citizenship exists. See 28 U.S.C. § 1332(d)(2)(A). Plaintiffs are
12   citizens and residents of the State of California. On information and belief, GREYSTAR is a citizens
13   of South Carolina.
14   III.    VENUE
15             10.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) on the grounds that a

16   substantial part of the events or omissions giving rise to the claim occurred in this District. Plaintiffs

17   TIFFANY VINSON and PHILLIP MCGILL lived in apartment complexes owned and/or managed by

18   Greystar in San Diego, California. Plaintiff RONNIE BOOKS lived in an apartment complex owned

19   and/or managed by Greystar in Temecula, California. Defendants withheld the security deposits of each

20   of these named Plaintiffs within this District.

21   IV.     CERTAIN AVERMENTS UPON INFORMATION AND BELIEF

22             11.   The averments of fact which are contained within certain Paragraphs of this Complaint

23
     are made upon information and belief which may be grounded in whole or in part upon matters

24
     discovered through investigation conducted by the undersigned counsel.
     V.      PARTIES
25
             A.      The Plaintiffs
26
             12.     Plaintiff TIFFANY VINSON is an individual, a citizen of the State of California who
27
     resided at “Gema Apartments” in San Diego, California – one of the Defendants’ APARTMENT
28


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 1
     COMPLEXES2 in San Diego County during all relevant times.
 2
            13.     Plaintiff PHILIP MCGILL is an individual, a citizen of the State of California who
 3   resided at the “Tenth&G” apartments in San Diego, California – one of Defendants’ APARTMENT
 4   COMPLEXES in San Diego County during all relevant times.
 5          14.     Plaintiff RONNIE BROOKS is an individual, a citizen of the State of California who
 6   resided at “Solaire Apartments” in Temecula, California – one of the Defendants’ APARTMENT
 7   COMPLEXES (defined below) in Riverside County during all relevant times.
 8          15.     Plaintiff LAURA SIEGEL is an individual, a citizen of the State of California who
 9   resided at “Breakwater Apartments” in Huntington Beach, California – one of the Defendants’
10   APARTMENT COMPLEXES in Orange County during all relevant times.
11          16.     Plaintiff ANNIE CASTNER is an individual, a citizen of the State of California who
12   resided at “Calypso Apartments and Lofts” in Irvine, California – one of the Defendants’ APARTMENT
13   COMPLEXES in Orange County during all relevant times.
14          17.     Plaintiff CHERLY BLOUNT is an individual, a citizen of the State of California who
15   resided at the “Frederic” – in Sacramento, California – one of Defendants’ APARTMENT

16   COMPLEXES in Sacramento County during all relevant times.

17          18.     Plaintiffs ROES 1 through 100 are former tenants of one or more of the Defendants

18   herein, who, though not yet identified, are similarly situated to the above-named Plaintiffs, and who may

19   serve as additional class representatives. The true names of Plaintiffs ROES 1 through 100 will be added
     to this Complaint when their identities become known. Hereinafter Plaintiffs RONNIE BROOKS,
20
     TIFFANY VINSON, LAURA SEIGEL, ANNIE CASTNER, PHILIP MCGILL, CHERELLE
21
     BLOUNT and unidentified plaintiff ROES 1-100 shall be collectively called “Plaintiffs.”
22
            19.     Upon information and belief, 100% of the putative plaintiffs resided in California at the
23
     time their cause of action accrued, at least more than two-thirds of putative plaintiffs continue to reside
24
     in California, are California citizens, all injuries complained of herein occurred within California, and
25
     all defendants are headquartered in California, own property in California and primarily, if not
26
     exclusively, do business within California.
27

28
     2
           The California multifamily rental properties that GREYSTAR manages and operates are defined herein as
     “APARTMENT COMPLEXES” – which are uniformly subjected to its unlawful security deposit administration scheme.

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 1
            B.         The Defendants
 2                     1.     Greystar
 3          20.        Defendant GREYSTAR PROPERTY REAL ESTATE PARTNERS, LLC is a Delaware
 4   corporation with its principal place of business in Charleston, South Carolina.
 5          21.        Defendant GREYSTAR CALIFORNIA, INC. is a Delaware corporation with its
 6   principal place of business in Charleston, South Carolina. On information and belief, it is an affiliate of
 7   GREYSTAR REAL ESTATE PARTNERS, LLC and is responsible, in whole or in part, for

 8   GREYSTAR’s property management operations in California.

 9          22.        The California multi-dwelling residential properties that GREYSTAR manages and/or

10   operates are referred to herein as “APARTMENT COMPLEXES” are uniformly subjected to
     GREYSTAR’s unlawful security deposit administration scheme.
11
            23.        The entities that hold title to the APARTMENT COMPLEXES are referred to herein as
12
     ENTITY DEFENDANTS (collectively, “GREYSTAR” and the “ENTITY DEFENDANTS” shall be
13
     referred to as “GREYSTAR APARTMENTS”).
14
            24.        Defendant GREYSTAR is an affiliate of global giant Greystar Worldwide LLC, and self-
15
     proclaims, “Greystar is a leading, fully integrated real estate company offering expertise in investment
16
     management, development, and management of rental housing properties globally. We own, operate,
17
     and develop rental housing, including traditional multifamily, mixed-use, student and university
18
     partnerships, active adult, life sciences, single family, and logistics.” (emphasis added).
19
            25.        As it publicly proclaims, GREYSTAR is a multi-dwelling residential apartment investor,
20
     owner, developer, and property management juggernaut with its principal address in Charleston, South
21   Carolina.
22          26.        Plaintiffs are informed and believe that GREYSTAR is a privately held corporation,
23   founded      by    Robert   (“Bob”)    A.   Faith.   According     to   GREYSTAR’s        own    webpage
24   (https://www.greystar.com/contact-us/our-people/bob-faith):
25           Bob Faith is Founder, Chairman, and CEO of Greystar, a global leader in the
26          investment, development, and management of high-quality rental housing properties. As

27          Chief Executive Officer, Bob leads the Greystar Investment Committee, Executive

28          Committee, and Board of Directors. For nearly three decades, Bob has maintained


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 1
             oversight over all aspects of Greystar, including organizational structure, strategic
 2           planning, and company growth.
 3           27.     Further, according to its website (https://www.greystar.com/business-services/property-
 4   management), GREYSTAR manages 2,880 communities, in 238 global markets, amounting to “more
 5   than 822,100 multifamily units and student beds under management globally.”
 6           28.     Upon information and belief, GREYSTAR owns, controls and/or manages each of the
 7   APARTMENT COMPLEXES located in California as referenced below. GREYSTAR serves as the

 8   property manager of each of the APARTMENT COMPLEXES identified herein.

 9           29.     GREYSTAR owns many of these APARTMENT COMPLEXES, in whole or in part,

10   through a series of affiliated companies and investment vehicles with an opaque corporate structure
     designed and implemented by GREYSTAR. That corporate structure frequently results in two or more
11
     entities owning each apartment complex, one or more entities acting as a management entity and
12
     GREYSTAR at the top of organizational chart as owner and/or manager of the entities and properties
13
     identified in this action. As GREYSTAR is the ultimate managing member of the corporate structures
14
     holding title to the property.
15
             30.     In other instances, GREYSTAR serves as the property manager of APARTMENT
16
     COMPLEXES on behalf of the owners of those complexes, referred to as the ENTITY DEFENDANTS.
17
             31.     In both cases, whether or not GREYSTAR owns an interest in the APARTMENT
18
     COMPLEXES, GREYSTAR uniformly manages and controls the properties, sets all policies and
19
     procedures for the administration of security deposits, and oversees the administration of the security
20
     deposits, either by way of its ownership, property-management contracts, or both.
21           32.     The above-referenced corporate structure amounts to a massive single integrated
22   enterprise under California law because they have interrelated operations, common management,
23   common control and common ownership.
24           33.     Whether acting in its capacity as owner, property manager, or both, GREYSTAR is a
25   “landlord” for purposes of California Civil Code § 1950.5 as the entity responsible for holding,
26   maintaining, and administering tenant security deposits. Further, GREYSTAR is at all times acting

27   within its scope of agency on behalf of ENTITY DEFENDANTS for the benefit of ENTITY

28   DEFENDANTS while administering security deposits to the ENTITY DEFENDANTS’ former tenants,


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 1
     which they do in violation of law.
 2                  2.       The Entity Defendants
 3          34.     The title owners of each respective APARTMENT COMPLEX are referred to
 4   collectively as the “ENTITY DEFENDANTS.” Each ENTITY DEFENDANT has given GREYSTAR
 5   actual and ostensible authority and agency to handle property management functions with respect to
 6   each of the APARTMENT COMPLEXES. GREYSTAR acts as an agent for each of the title owners,
 7   including creating, promulgating, and administering the security deposit policies and practices

 8   complained of herein.

 9          35.     Each of the title owners is a proper party in this action as a party responsible for the

10   proper administration of security deposits and a “landlord” within the meaning of California Civil Code
     § 1950.5.
11
            36.     GREYSTAR assigns each APARTMENT COMPLEX its own unique email address with
12
     an “@greystar.com” suffix. By way of illustration, plaintiff LAURA SEIGEL resided at Breakwater
13
     apartments in Seal Beach, California, as described below, and the assistant community manager at
14
     Breakwater was assigned a breakwateragr@greystar.com email address by GREYSTAR. Plaintiff
15
     PHILIP MCGILL resided at the Tenth&G apartments in San Diego, California, as described below, and
16
     the assistant community manager at Tenth&G was assigned a 10andgamger@greystar.com email
17
     address by GREYSTAR. Plaintiff CHERRELLE BLOUNT resided at The Frederic apartments in
18
     Sacramento, California, as described below, and the community manager was assigned
19
     thefrederic@greystar.com email address by GREYSTAR.
20
            37.     Upon information and belief, GREYSTAR dominates and controls each of the foregoing
21
     entity defendants, which act as a single and common enterprise. Each of them has uniformity of
22
     management employees, offices, officers, ownership and legal representation with each other defendant.
23
     They hold interests in and/or manage the same real property, in the same industry, for the same ultimate
24
     benefit of the same members.
25
            38.     The GREYSTAR OWNED PROPERTIES are closely held companies and/or
26
     partnerships; have identical officers and directors; use the same offices and business locations; use the
27
     same registered agents for service of process, employ the same employees and attorneys; are in the
28   same business and venture, for the benefit of the same ultimate shareholders and/or members; do not

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 1
     maintain arm’s-length relationships; and share and provide labor, services, capital, revenue, real estate
 2
     and/or management services. Plaintiffs are further informed and believe that certain of the entities listed
 3   below, while not directly owned by GREYSTAR, may be indirectly or beneficially owned or controlled
 4   by GREYSTAR as part of the same unitary enterprise.
 5                  3.      GREYSTAR OWNED PROPERTIES
 6          39.     The following 13 ENTITY DEFENDANTS are directly owned by the parent company,
 7   GREYSTAR and are title holders to the APARTMENT COMPLEXES subject to GREYSTAR’s
 8   uniform, systematic and unlawful administration of residential security deposit are as follows:
 9          40.     CI-GS HILLCREST LLC directly owns and does business as “Mode,” a multi-
10   dwelling residential apartment complex generally located at 635 Robinson Avenue, San Diego, CA
11   92103. CI-GS HILLCREST LLC managing member is GS Hillcrest Holdings, LLC. GS Hillcrest
12   Holdings, LLC managing member is GREYSTAR. CI-GS HILLCREST LLC’s principal address is
13   465 Meeting Street, Suite 500, Charleston SC 90264, which is the same principal address as the parent
14   company, GREYSTAR. In addition, CI-GS HILLCREST LLC and GREYSTAR share one or more
15   individuals registered as agents for service of process.

16          41.     CV MENLO PARK, LLC directly owns and does business as “Elan Menlo Park

17   Apartments,” a multi-dwelling residential apartment complex generally located at 3645 Haven Avenue,

18   Menlo Park, CA 94025. CV MENLO PARK, LLC managing member is CV Menlo Park Member,

19   LLC. CV Menlo Park Member, LLC managing member is GS Menlo Park Holdings, LLC. GS Menlo

20   Park Holdings, LLC managing member is GREYSTAR.

21          42.     GA SANTA FE APARTMENTS, LP, directly owns and does business as “The

22   Gabriel,” a multi-dwelling residential apartment complex generally located at 2771 N. Garey Avenue,

23
     Pomona, CA 91767; its managing member is GS Santa Fe GP, LLC. GS Santa Fe GP, LLC managing

24
     member is GREYSTAR. Both GA SANTA FE APARTMENTS, LP and GREYSTAR share a
     principal address of 465 Meeting Street, Suite 500, Charleston SC 90264. In addition, both entities share
25
     one or more individuals registered as the agent for service of process.
26
            43.     GEDR HILLSIDE, LLC directly owns and does business as “Hillside Village,” a multi-
27
     dwelling residential apartment complex generally located at 1801 Shattuck Ave., Berkeley, CA 94709.
28


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 1
     GEDR HILLSIDE, LLC’s managing member is GREYSTAR.                        GEDR HILLSIDE, LLC and
 2
     GREYSTAR share the same principal address of 465 Meeting Street, Suite 500, Charleston SC 90264.
 3   In addition, CI-GS HILLCREST LLC and GREYSTAR share one or more individuals registered as
 4   agents for service of process.
 5          44.     GEP X ISLA VISTA LLC directly owns and does business as “Breakpointe Coronado,”
 6   a multi-dwelling residential apartment complex generally located at 6672 Abrego Rd., Isla Vista, CA
 7   93117. GEP X ISLA VISTA LLC managing member is GREYSTAR. Both entities share the same
 8   principal address of 465 Meeting Street, Suite 500, Charleston SC 90264. In addition, both entities share
 9   one or more of the same registered agents for service of process.
10          45.     GEP XI VISTA POINT, LLC, directly owns and does business as “Avana Vista Point,”
11   a multi-dwelling residential apartment complex, generally located at 7740 Watt Ave., Antelope, CA
12   95843; its managing member is GEP XI Vista Point HoldCo, LLC. GEP XI Vista Point HoldCo, LLC
13   managing member is Greystar Equity Partners XI REIT, LLC. GREYSTAR and GEP XI VISTA
14   POINT, LLC’s share a principal address of 465 Meeting Street, Suite 500, Charleston SC 90264. In
15   addition, both entities share one or more individuals registered as the agents service of process. Further,

16   both entities share the same officer, director, and/or manager, Joshua Carper.

17          46.     GGIF VIANO, LLC, directly owns and does business as “Viano at Riverwalk,” a multi-

18   dwelling residential apartment complex generally located at 4655 Sierra Vista Ave., Riverside, CA

19   92505; its managing member is GD8 Holdings, LLC. GD8 Holdings, LLC managing member is

20   GREYSTAR. In addition, both entities share one or more individuals registered as the agent for service

21   of process.

22          47.     GSIC II WILSHIRE OWNER, LP co-owned by GREYSTAR, directly owns and does

23
     business as “Avana on Wilshire Apartments,” a multi-dwelling residential apartment complex generally

24
     located at 635 S. Hobart Blvd., Los Angeles, CA 90005; its managing member is GSIC II Wilshire GP,
     LLC. GSIC II WILSHIRE OWNER, LP is co-owned by GREYSTAR and both of their principal
25
     addresses are 465 Meeting Street, Suite 500, Charleston SC 90264, which is the same principal address
26
     as the parent company, GREYSTAR. Further, both entities share the same officers, directors, and/or
27
     managers, Robert A. Faith, and Joshua Carper.
28


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 1
            48.     MARAZZO REALTY HOLDINGS, LLC and MVSA VENTURE, LLC both directly
 2
     own and do business as “Landsby,” a multi-dwelling residential apartment complex generally located at
 3   100 Aspen Way, Mountain View, CA 94040. MVSA VENTURE, LLC managing member is GA
 4   MVSA Holdings, LLC. GA MVSA Holdings, LLC managing member is GREYSTAR.
 5          49.     MONTESSA MANAGEMENT, LP is co-owned by ALLIANCE RESIDENTIAL,
 6   LLC, and they directly own and do business as “Montessa at Whitney Ranch,” a multi-dwelling
 7   residential apartment complex, generally located at 1150 Whitney Ranch Parkway, Rocklin, CA 95765.
 8   MONTESSA MANAGEMENT, LP’s managing member is Greystar Management Services, LP.
 9   Greystar Management Services, LP’s managing member is GREYSTAR.
10          50.     PARK KIELY REIT INC. directly owns and does business as “Park Kiely
11   Apartments,” a multi-dwelling residential apartment complex generally located at 355 Kiely Blvd., San
12   Jose, CA 95129; PARK KIELY REIT INC.’s managing member is Robert A. Faith, CEO of
13   GREYSTAR. Both PARK KIELY REIT INC. and GREYSTAR’s share the same principal address
14   of 465 Meeting Street, Suite 500, Charleston SC 90264. Both entities also share the same officer,
15   director, or manager, Robert A. Faith, as well as share one or more of the same registered agents for

16   service of process.

17          51.     RESERVE REIT INC. directly owns and does business as “Layhaven Apartments,” a

18   multi-dwelling residential apartment complex generally located at 919 S Winchester Blvd, San Jose, CA

19   95128; RESERVE REIT INC.’s managing member is Robert Faith, CEO of GREYSTAR. Both

20   RESERVE REIT INC. and GREYSTAR share the same principal address of 465 Meeting Street, Suite

21   500, Charleston SC 90264. Both entities also share the same officer, director, or manager, Robert A.

22   Faith, as well as share one or more of the same registered agents for service of process.

23
            52.     WEST 27TH, LLC is co-owned by MATT RIFFLE, and both directly own and do

24
     business as “West 27th Apartments,” a multi-dwelling residential apartment complex generally located
     at 530 W 27th St., Los Angeles, CA 90007. “West 27th Apartments” managing member is Greystar GP
25
     II, LLC. Greystar GP II, LLC managing member is GREYSTAR. All of the entities referenced herein
26
     share a principal address of 465 Meeting Street, Suite 500 Charleston, SC 29403.
27
                    4.      Other Greystar managed properties
28


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 1
              53.   In addition to the complexes owned by Greystar, the following ENTITY DEFENDANTS
 2
     hold title to the APARTMENT COMPLEXES where GREYSTAR performs security deposit
 3   administration and other management services. All of them are subject to GREYSTAR’s uniform and
 4   systematic policies and practices, including the unlawful administration of residential security deposits.
 5            54.   The ENTITY DEFENDANTS are properly joined pursuant to Federal Rule of Civil
 6   Procedure 20 on the grounds that as the record owners of the properties in issue, they are “landlord[s]”
 7   within the meaning of California Civil Code § 1950.5. Accordingly, they are jointly legally responsible
 8   for the proper administration of tenants’ deposits, are jointly liable for the improper administration of
 9   the same, and common questions of law and fact will arise as to each of them.
10            55.   As of the date of filing, GREYSTAR publicly proclaims on its website
11   (https://www.greystar.com/) that the following multi-dwelling residential apartment complexes are part
12   of its real estate portfolio, either owned and/or managed, and subject to its property management
13   apparatus, policies, procedures, and practices.        Additionally, the website of each respective
14   APARTMENT COMLPEX listed below contains GREYSTAR trademarks and insignia. In addition, in
15   public materials for several of the below-listed apartment complexes, Greystar appears as though it is

16   the owner and/or operator.

17            56.   100 ALTAIR, LLC owns and does business as “Loft House Apartments,” a multi-

18   dwelling residential apartment complex generally located at 150 South Taaffe Street, Sunnyvale, CA

19   94086.

20            57.   1066 MARKET, LLC owns and does business as “50 Jones,” a multi-dwelling

21   residential apartment complex generally located at 50 Jones Street, San Francisco, CA 94102.

22            58.   1101 NORTH MAIN, LLC owns and does business as “Llewellyn Apartments,” a

23
     multi-dwelling residential apartment complex generally located at 1101 N Main Street, Los Angeles,

24
     CA 90012.
              59.   111 W. 7 OWNER LLC owns and does business as “Ames Lofts,” a multi-dwelling
25
     residential apartment complex generally located at 111 W. 7th Street, Los Angeles, CA 90014.
26
              60.   111 W. 7 OWNER LLC owns and does business as “Jaide Lofts,” a multi-dwelling
27
     residential apartment complex generally located at 650 S. Spring Street, Los Angeles, CA 90014.
28


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 1
              61.   1221 JONES, LLC owns and does business as “Nob Hill Tower,” a multi-dwelling
 2
     residential apartment complex generally located at 1221 Jones St, San Francisco, CA 94109.
 3            62.   12444 VENICE INVESTMENTS, LP owns and does business as “The Charlie Mar
 4   Vista,” a multi-dwelling residential apartment complex generally located at 12444 Venice Blvd, Los
 5   Angeles, CA 90066.
 6            63.   1318 SECOND STREET ASSOCIATES and LEE M. KORT co-own and do business
 7   as “Chelsea Santa Monica,” a multi-dwelling residential apartment complex generally located at 1318
 8   2nd Street, Santa Monica, CA 90401.
 9            64.   1318 SECOND STREET ASSOCIATES, LLC owns and does business as “Chelsea
10   Santa Monica,” a multi-dwelling residential apartment complex generally located at 1318 2nd Street,
11   Santa Monica, CA 90401.
12            65.   140 CENTER STREET LLC owns and does business as “Five55,” a multi-dwelling
13   residential apartment complex generally located at 555 Pacific Ave, Santa Cruz, CA 95060.
14            66.   1471 EIGHTH AVENUE, LLC owns and does business as “Gema Apartments,” a
15   multi-dwelling residential apartment complex generally located at 1471 8th Avenue, San Diego, CA

16   92101.

17            67.   15700 LASSELLE CA LP owns and does business as “Lasselle Place,” a multi-dwelling

18   residential apartment complex generally located at 15700 Lasselle Street, Moreno Valley, CA 92551.

19            68.   1700 WEBSTER, LLC own and do business as “Zo,” a multi-dwelling residential

20   apartment complex generally located at 330 17th St., Oakland, CA 94612.

21            69.   171 W JULIAN STREET APARTMENTS INVESTORS LLC owns and does

22   business as “The Julian,” a multi-dwelling residential apartment complex generally located at 171 W

23
     Julian St., San Jose, CA 95113.

24
              70.   1844 MARKET STREET, LLC owns and does business as “Venn Apartments,” a
     multi-dwelling residential apartment complex generally located at 1844 Market Street, San Francisco,
25
     CA 94102.
26
              71.   200 OCEAN BOULEVARD LLC owns and does business as “200 West Ocean,” a
27
     multi-dwelling residential apartment complex generally located at 200 W Ocean, Long Beach, CA
28


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 1
     90802.
 2
              72.   200 WEST OCEAN BOULEVARD LLC and HAROLD WANG co-own and do
 3   business as “200 West Ocean,” a multi-dwelling residential apartment complex generally located at 200
 4   W Ocean, Long Beach, CA 90802.
 5            73.   207 SEASIDE PARTNERS, LLC owns and does business as “The Crest,” a multi-
 6   dwelling residential apartment complex generally located at 207 Seaside, Long Beach, CA 90802.
 7            74.   22751 EL PRADO LLC directly owns and does business as “Avila at Rancho Santa
 8   Margarita Apartments,” a multi-dwelling residential apartment complex generally located at 22571 El
 9   Prado, Ranch Santa Margarita, CA 92688. 22751 EL PRADO LLC and GREYSTAR share one or
10   more individuals registered as agent for service of process.
11            75.   2900 WILSHIRE, LLC co-owns and does business as the “Kurve,” a multi-dwelling
12   residential apartment complex generally located at 2801 Sunset Place, Los Angeles, CA 90005.
13            76.   3093 BROADWAY HOLDINGS, L.L.C. owns and does business as “The Broadway
14   Apartments,” a multi-dwelling residential apartment complex generally located at 3093 Broadway,
15   Oakland, CA 94611.

16            77.   3100 VAN BUREN BOULEVARD APARTMENTS INVESTORS LLC owns and

17   does business as “Canton Park,” a multi-dwelling residential apartment complex generally located at

18   3100 Van Buren Blvd, Riverside, CA 92503.

19            78.   437 HILL HIGHRISE LLC directly owns and does business as “Park Fifth Tower

20   Apartments,” a multi-dwelling residential apartment complex generally located at 427 W. Fifth Street,

21   Los Angeles, CA 90013. 437 HILL HIGHRISE LLC and GREYSTAR share one or more individuals

22   registered as the agent for service of process.

23
              79.   437 HILL MIDRISE, LLC, directly owns and does business as “Trademark

24
     Apartments,” a multi-dwelling residential apartment complex generally located at 437 S. Hill Street,
     Los Angeles, CA 90013. 437 HILL HIGHRISE, LLC and GREYSTAR share one or more individuals
25
     registered as agents for service of process. As of the date of this filing, GREYSTAR’S website publicly
26
     holds itself out as the property manager of the “Trademark Apartments.”
27
              80.   4700 TELEGRAPH AVENUE LP owns and does business as “47Hundred,” a multi-
28


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 1
     dwelling residential apartment complex generally located at 4700 Telegraph Avenue, Oakland, CA
 2
     94609.
 3            81.   471 26TH STREET APARTMENTS INVESTORS LLC and RYAN LLC co-owns
 4   and does business as “Telegraph Arts,” a multi-dwelling residential apartment complex generally
 5   located at 471 26th St., Oakland, CA 94612.
 6            82.   4767 MOORPARK LLC owns and does business as “Waterstone at Moorpark,” a
 7   multi-dwelling residential apartment complex generally 4767 S Moorpark Ave, Moorpark, CA 93021.
 8            83.   4900 LO FELIZ INVESTORS LLC, HOWARD HEITNER, and LAUREN BOYD
 9   co-own and do business as “The Louis Los Feliz,” a multi-dwelling residential apartment complex
10   generally located at 4900 Hollywood Blvd, Los Angeles, CA 90027.
11            84.   515 COLORADO, LLC owns and does business as “CC Tan Center Apartments,” a
12   multi-dwelling residential apartment complex generally located at 521 W. Colorado St., Glendale, CA
13   91204.
14            85.   5445 LANKERSHIM BOULEVARD APARTMENTS INVESTORS LLC owns and
15   does business as “Noho 14,” a multi-dwelling residential apartment complex generally located at 5440

16   N. Tujunga Ave., North Hollywood, CA 91601.

17            86.   570 21ST STREET APARTMENTS INVESTORS LLC owns and does business as

18   “The Moran,” a multi-dwelling residential apartment complex generally located at 570 21st St.,

19   Oakland, CA 94612.

20            87.   600 S SPRING OWNER LLC owns and does business as “SB Lofts” or “Marley Lofts”

21   is a multi-dwelling residential apartment complex generally located at 548 S. Spring Street, Los Angeles,

22   CA 90013.

23
              88.   6606 VARIEL AVE, LLC owns and does business as “Vert,” a multi-dwelling

24
     residential apartment complex generally located at 6606 N Variel Ave., Woodland Hills, CA 91303.
              89.   707 EAST OCEAN BOULEVARD, LP owns and does business as “The Current,” a
25
     multi-dwelling residential apartment complex generally located at 707 East Ocean Boulevard, Long
26
     Beach, CA 90802.
27
              90.   7450 NORTHROP DRIVE APARTMENTS INVESTORS LLC owns and does
28


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 1
     business as “Mission Grove Park,” a multi-dwelling residential apartment complex generally located at
 2
     7450 Northrop Drive, Riverside, CA 92508.
 3            91.    752 SOUTH MAIN PROPERTY LLC and RODNEY L GOLDERG co-own and do
 4   business as “Topaz Apartments,” a multi-dwelling residential apartment complex generally located at
 5   550 S Main St, Los Angeles, CA 90013.
 6            92.    885 WOODSIDE, LLC owns and does business as “885 Woodside,” a multi-dwelling
 7   residential apartment complex generally located at 885 Woodside Road, Redwood City, CA 94061.
 8            93.    905 EAST SECOND SPE LLC and LOWE ENT REAL ESTATE GROUP, a
 9   business entity of form unknown, co-own and do business as “Garey Building,” a multi-dwelling
10   residential apartment complex generally located at 905 East 2nd Street, Long Beach, CA 90012.
11            94.    ADAGIO PARTNERS, L.P. and R & V MANAGEMENT CORP co-own and do
12   business as “Adagio,” a multi-dwelling residential apartment complex generally located at 5429 Lake
13   Murray Blvd., La Mesa, CA 91942.
14            95.    AHDOUT DEBORAH owns and does business as “Regents La Jolla,” a multi-dwelling
15   residential apartment complex generally 9253 Regents Rd., La Jolla, CA 92037.

16            96.    ALPHA Z SAN JOSE APT 1 LLC owns and does business as “Santana Terrace,” a

17   multi-dwelling residential apartment complex generally located at 190 N Winchester Blvd, Santa Clara,

18   CA 95050.

19            97.    AMCAL EQUITIES LLC owns and does business as “Clarendon Apartments,” a multi-

20   dwelling residential apartment complex generally located at 22121 Clarendon Street, Woodland Hills,

21   CA 91367.

22            98.    AMCAL HAYWARD LLC owns and does business as “Cadence Apartments,” a multi-

23
     dwelling residential apartment complex generally located at 28850 Dixon Street, Hayward, CA 94544.

24
              99.    AMFP VI WINDSCAPE LLC owns and does business as “Windscape Village,” a
     multi-dwelling residential apartment complex generally located at 1300 North L Street, Lompoc, CA
25
     93436.
26
              100.   ANGULO BEATRIZ and BEATRIZ ANGULO LIVING TRUST own and do
27
     business as “Terra Vista,” a multi-dwelling residential apartment complex generally 1441 Santa Lucia
28


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 1
     Rd., Chula Vista, CA 91913.
 2
            101.    ANSON APARTMENTS LLC owns and does business as “Anson,” a multi-dwelling
 3   residential apartment complex generally located at 1008 Carolan Ave, Burlingame, CA 94010.
 4          102.    ANTHEIA, LP owns and does business as “Fiori Estates,” a multi-dwelling residential
 5   apartment complex generally located at 5102 Dowdell Avenue, Rohnert Park, CA 94928.
 6          103.    APARTMENTS AT LITTLE ITALY, LLC directly owns and does business as
 7   “Broadstone Little Italy,” a multi-dwelling residential apartment complex generally located at 1980
 8   Kettner Blvd., San Diego, CA 92101. APARTMENTS AT LITTLE ITALY, LLC and GREYSTAR
 9   share one or more individuals registered as the agent for service of process.
10          104.    ASB GIBSON SANTA MONICA LLC and ASB REAL ESTATE INVESTMENTS
11   co-own and do business as “Gibson Santa Monica,” a multi-dwelling residential apartment complex
12   generally located at 1317 7th Street, Santa Monica, CA 90401.
13          105.    ASPECT ACQUISITION LLC directly owns and does business as “Aspect,” a multi-
14   dwelling residential apartment complex generally located at 251 Orangefair Avenue, Fullerton, CA
15   92832. ASPECT ACQUISITION LLC and GREYSTAR share one or more individuals registered as

16   the agent for service of process.

17          106.    AUTUMN SPRINGS RE INVESTORS, L.P. owns and does business as “Autumn

18   Springs Apartments,” a multi-dwelling residential apartment complex generally located at 1700 Paseo

19   Laguna Seco, Livermore, CA 94550.

20          107.    AVINO DEL, LLC owns and does business as “Avino,” a multi-dwelling residential

21   apartment complex generally located at 5040 Camino San Fermin, San Diego, CA 92130.

22          108.    AXIS FEE OWNER LLC own and does business as “Waterbend Apartments,” a multi-

23
     dwelling residential apartment complex generally located at 5880 3rd Street, San Francisco, CA 94124.

24
            109.    B9 MF 12350 DEL AMO LLC co-own and do business as “Vicino,” a multi-dwelling
     residential apartment complex generally located at 12350 Del Amo Blvd, Lakewood, CA 90715.
25
            110.    B9 MF 23639 NEWHALL LLC does business as “Canyon Crest,” a multi-dwelling
26
     residential apartment complex generally located at 23639 Newhall Avenue, Santa Clarita, CA 91321.
27
            111.    B9 MF 23645 MEADOWRIDGE LLC owns and does business as “Canyon Ridge,” a
28


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 1
     multi-dwelling residential apartment complex generally located at 23645 Meadowridge Drive, Santa
 2
     Clarita, CA 91321.
 3          112.    B9 MF HIGHLANDS GT OWNER LLC owns and does business as “The Highlands
 4   At Grand Terrace,” a multi-dwelling residential apartment complex generally located at 11750 Mt
 5   Vernon Avenue, Grand Terrace, CA 92313.
 6          113.    BAKER BLOCK ASSOCIATES, L.P. owns and does business as “Baker Block,” a
 7   multi-dwelling residential apartment complex generally located at 125 Baker Street East, Costa Mesa,
 8   CA 92626.
 9          114.    BAY MEADOWS RES 1 INVESTORS, LLC directly owns and does business as
10   “Field House – The Apartment Collection at Bay Meadows,” a multi-dwelling residential apartment
11   complex generally located at 2829 Kyne Street East, San Mateo, CA 94403. BAY MEADOWS RES
12   1 INVESTORS, LLC and GREYSTAR share one or more individuals registered as the agent for
13   service of process.
14          115.    BAY MEADOWS RES 4 INVESTORS, LLC directly owns and does business as “The
15   Morgan,” a multi-dwelling residential apartment complex generally located at 2901 East Kyne Street,

16   San Mateo, CA 94403. BAY MEADOWS RES 4 INVESTORS, LLC and GREYSTAR share one or

17   more individuals registered as the agent for service of process.

18          116.    BAY MEADOWS TOWN SQUARE INVESTORS, LLC directly owns and does

19   business as “Quimby – The Apartment Collection At Bay Meadows,” a multi-dwelling residential

20   apartment complex generally located at 3068 Kyne Street West, San Mateo, CA 94403. BAY

21   MEADOWS TOWN SQUARE INVESTORS, LLC and GREYSTAR share one or more individuals

22   registered as the agent for service of process.

23
            117.    BAY MEADOWS TOWN SQUARE INVESTORS, LLC directly owns and does

24
     business as “The Russell – The Apartment Collection At Bay Meadows,” a multi-dwelling residential
     apartment complex generally located at 3098 Kyne Street West, San Mateo, CA 94403. BAY
25
     MEADOWS TOWN SQUARE INVESTORS, LLC and GREYSTAR share one or more individuals
26
     registered as the agent for service of process.
27
            118.    BAY VIEW SD, LLC owns and does business as “Cielo,” a multi-dwelling residential
28


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 1
     apartment complex generally located at 915 West Grape Street, San Diego, CA 92101.
 2
            119.    BCM 625 BROADWAY, LLC directly owns and does business as “625 Broadway,” a
 3   multi-dwelling residential apartment complex generally located at 625 Broadway, San Diego, CA
 4   92101. BCM 625 BROADWAY, LLC and GREYSTAR share one or more individuals registered as
 5   the agent for service of process.
 6          120.    BEHRINGER HARVARD ACAPPELLA LP owns and does business as “Acappella
 7   Apartments,” a multi-dwelling residential apartment complex generally located at 1001 National Ave,
 8   San Bruno, CA 94066.
 9          121.    BEHRINGER HARVARD MISSION OWNER own and do business as “Vara
10   Apartments,” a multi-dwelling residential apartment complex generally located at 1600 15th St., San
11   Francisco, CA 94103.
12          122.    BEHRINGER HARVARD NOHO LLC owns and does business as “The Gallery at
13   Noho Commons Apartments,” a multi-dwelling residential apartment complex generally located at 5416
14   Fair Ave, North Hollywood, CA 91601.
15          123.    BEHRINGER HARVARD PACIFICA PROJECT OWNER LP owns and does

16   business as “Blue Sol Apartments,” a multi-dwelling residential apartment complex generally located at

17   421 Bernard St, Costa Mesa, CA 92627.

18          124.    BEHRINGER            HARVARD      REDWOOD          co-owned      by    MONOGRAM

19   RESIDENTIAL RENAISSANCE, LP, directly owns and does business as “Forty55 Lofts,” a multi-

20   dwelling residential apartment complex generally located at 4055 Redwood Ave, Marina Del Rey, CA

21   90066. Both entities share one or more individuals registered as the agent for service of process with

22   GREYSTAR. As of the date of this filing, GREYSTAR’S website publicly holds itself out as the

23
     property manager of the “Forth55 Lofts.”

24
            125.    BEHRINGER HARVARD SAN SEBASTIAN LP owns and does business as “San
     Sebastian,” a multi-dwelling residential apartment complex generally located at 24299 Paseo de
25
     Valencia, Laguna Woods, CA 92637.
26
            126.    BEL BROOK APARTMENTS 2 LLC, owns and does business as “Berkley Central
27
     Apartments,” a multi-dwelling residential apartment complex generally located at 2055 Center Street,
28


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 1
     Berkeley, CA 94704.
 2
            127.    BELL FUND VII VALENCIA LLC directly owns and does business as “Montecito,”
 3   a multi-dwelling residential apartment complex generally located at 24640 Town Center Drive. BELL
 4   FUND VII VALENCIA LLC and GREYSTAR share one or more individuals registered as the agent
 5   for service of process.
 6          128.    BELLA TERRA DEL, LLC owns and does business as “Bella Terra,” a multi-dwelling
 7   residential apartment complex generally located at 365 Pomelo Dr. / Hacienda Dr., Vista, CA 92081.
 8          129.    BERE ISLAND PROPERTIES I LLC, ET. AL. and BERE ISLA co-own and do
 9   business as “Emerald Park,” a multi-dwelling residential apartment complex generally located at 5050
10   Hacienda Dr, Dublin, CA 94568.
11          130.    BERHRINGER HARVARD CALYPSO LP owns and does business as “Calypso
12   Apartments and Lofts,” a multi-dwelling residential apartment complex generally located at 2801 Alton
13   Pkwy, Irvine, CA 92606.
14          131.    BERKELEY VQOF II SPE, LLC directly owns and does business as “Blake at
15   Berkeley,” a multi-dwelling residential apartment complex generally located at 2033 Blake St.,

16   Berkeley, CA 94704.       BERKLEY VQOF II SPE, LLC and GREYSTAR share one or more

17   individuals registered as the agent for service of process.

18          132.    BISCAYNE ST TIC OWNER I LLC and BISCAYNE ST TIC OWNER II LLC co-

19   own and do business as “St. Claire Apartment Homes,” a multi-dwelling residential apartment complex

20   generally located at 1735 Biscayne Street, Santa Maria, CA 93458.

21          133.    BLAI LP owns and does business as “Landing at Capitola Apartments,” a multi-dwelling

22   residential apartment complex generally located at 3045 Capitola Road, Santa Cruz, CA 95062.

23
            134.    BLAI, L.P. and BROADDOCK & LOGAN GROUP co-own and do business as “Lime

24
     Ridge Apartments,” a multi-dwelling residential apartment complex generally located at 3278 Tioga Rd,
     Concord, CA 94518.
25
            135.    BLAI, L.P. and MAIN STREET CUPERTINO MULTI-FAMILY PROPERTY,
26
     LLC co-own and do business as “Main Street Cupertino Lofts,” a multi-dwelling residential apartment
27
     complex generally located at 19550 Vallco Pkwy, Cupertino, CA 95014.
28


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 1
              136.   BOARD OF TRUSTEES OF THE LELAND STANFORD JUNIOR UNIVERSITY
 2
     owns and does business as (a) “Welch Road,” a multi-dwelling residential apartment complex generally
 3   1180 Welch Rd, Palo Alto, CA 94304; (b) “The Cardinal,” a multi-dwelling residential apartment
 4   complex generally located at 1 Franklin Street, Redwood City, CA 94063; and (c) “Stanford West,” a
 5   multi-dwelling residential apartment complex generally located at 700 Clark Way, Palo Alto, CA 94304.
 6            137.   BOARDWALK 1810, LLC directly owns and does business as “Eighteen Ten State
 7   St.,” a multi-dwelling residential apartment complex generally located at 1810 State Street, San Diego,
 8   CA 92101. BROADWALK 1810, LLC and GREYSTAR share one or more individuals registered as
 9   the agent for service of process.
10            138.   BPP ALPHABET MF SHERMAN CIRCLE owns and does business as “Sherman
11   Circle,” a multi-dwelling residential apartment complex generally located at 14500 Sherman Cir, Los
12   Angeles, CA 91405.
13            139.   BRE ALAMEDA IMF PROPERTY OWNER LLC and LIVCOR LLC co-own and
14   do business as “Summer House,” a multi-dwelling residential apartment complex generally located at
15   1826 Poggi St, Alameda, CA 94501.

16            140.   BRE PIPER MF TIDES CA LLC owns and does business as “The Tides,” a multi-

17   dwelling residential apartment complex generally located at 3185 Garrity Way, Richmond, CA 94806.

18            141.   BRE SILVER MF CANYON CREST LLC does business as “Vista Imperio,” a multi-

19   dwelling residential apartment complex generally located at 5880 Lochmoor Drive, Riverside, CA

20   92507.

21            142.   BRE SILVER MF NORTH HOLLYWOOD CA LLC and owns and does business as

22   “Avana North Hollywood,” a multi-dwelling residential apartment complex generally located at 11201

23
     Otsego Street, North Hollywood, CA 91601.

24
              143.   BRE SILVER MF ROOSEVELT CA LLC owns and does business as “Roosevelt
     Lofts,” a multi-dwelling residential apartment complex generally located at 727 W. 7th Street, Los
25
     Angeles, CA 90017.
26
              144.   BRE SILVER MR 1555 CA LLC owns and does business as “15Fiftys,” a multi-
27
     dwelling residential apartment complex generally located at 1555 Riviera Ave, Walnut Creek, CA
28


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 1
     94596.
 2
              145.   BREIT MF CAMPANULA WAY owns and does business as “Vineyards at Paseo Del
 3   Sol,” a multi-dwelling residential apartment complex generally located at 31901 Campanula Way,
 4   Temecula, CA 92592.
 5            146.   BREIT MF DAY STREET, LLC owns and does business as “Villas at Towngate,” a
 6   multi-dwelling residential apartment complex generally located at 13120 Day Street, Moreno Valley,
 7   CA 92553.
 8            147.   BREIT MF PROMENADE TERRACE, LLC owns and does business as “Promenade
 9   Terrace,” a multi-dwelling residential apartment complex generally located at 451 Wellesley Drive,
10   Corona, CA 92879.
11            148.   BREIT MF TELEGRAPH ROAD LLC and REVANTAGE CORPORATE
12   SERVICES LLC co-own and do business as “Miro,” a multi-dwelling residential apartment complex
13   generally 12257 Heritage Springs Dr, Santa Fe Springs, CA 90670.
14            149.   BREIT SH BERKELEY LLC owns and does business as “The Berk,” a multi-dwelling
15   residential apartment complex generally located at 2315 College Ave., Berkeley, CA 94704.

16            150.   BREIT SH UNIVERSITY VILLAGE TOWERS LLC owns and does business as

17   “University Village Towers,” a multi-dwelling residential apartment complex generally located at 3500

18   Iowa Ave., Riverside, CA 92507.

19            151.   BRENTWOOD RE INVESTORS LLC owns and does business as “Ygnacio Village

20   Apartments,” a multi-dwelling residential apartment complex generally located at 1295 Homestead Ave,

21   Walnut Creek, CA 94598.

22            152.   BROADSTONE FARFAX LLC and ALLIANCE RESIDENTIAL CO co-own and

23
     do business as “Vinz on Fairfax,” a multi-dwelling residential apartment complex generally 950 S

24
     Fairfax Ave Suite 238, Los Angeles, CA 90036.
              153.   BROADSTONE HERITAGE ALLIANCE, LLC directly owns and does business as
25
     “Broadstone Archive,” a multi-dwelling residential apartment complex generally located at 1901 E.
26
     Dryer Road, Santa Ana, CA 92705.          BROADSTONE HERITAGE ALLIANCE, LLC and
27
     GREYSTAR share one or more individuals registered as the agent for service of process.
28


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 1
            154.    BROADSTONE LAGUNA NIGUEL ALLIANCE, LLC directly owns and does
 2
     business as “Broadstone Cavora,” a multi-dwelling residential apartment complex generally located at
 3   26033 Cape Drive, Laguna Niguel, CA 92677. BROADSTONE LAGUNA NIGUEL ALLIANCE,
 4   LLC and GREYSTAR share one or more individuals registered as the agent for service of process.
 5          155.    BROADSTONE LOS FELIZ OWNER, LLC, directly owns and does business as
 6   “Broadstone Los Feliz,” a multi-dwelling residential apartment complex generally located at 1800 N.
 7   New Hampshire Avenue, Los Angeles, CA. BROADSTONE LOS FELIZ OWNER, LLC, is
 8   managed by PEIX Broadstone Los Feliz LLC, which is managed by Broadstone Los Feliz Alliance LLC,
 9   which is managed by PCCP Equity IX REIT LLC. Both BROADSTONE LOS FELIZ OWNER, LLC
10   and GREYSTAR share one or more individuals registered as agents for service of process. As of the
11   date of this filing, GREYSTAR’S website publicly holds itself out as the property manager of the
12   “Broadstone Los Feliz.”
13          156.    BROADSTONE MAKERS QUARTER, LP directly owns and does business as
14   “Broadstone Makers Quarter,” a multi-dwelling residential apartment complex generally located at 1601
15   Broadway, San Diego, CA 92101. BROADSTONE MAKERS QUARTER, LP and GREYSTAR

16   share one or more individuals registered as the agent for service of process.

17          157.    BROADSTONE ON BROADWAY, LLC directly owns and does business as

18   “Broadstone Axis,” a multi-dwelling residential apartment complex generally located at 2820

19   Broadway, Oakland, CA 94701. BROADSTONE ON BROADWAY, LLC and GREYSTAR share

20   one or more individuals registered as the agents for service of process.

21          158.    BROOKSIDE RE INVESTORS LP owns and does business as “Brookside,” a multi-

22   dwelling residential apartment complex generally located at 501 Ryan Dr, Pleasant Hill, CA 94523.

23
            159.    BRYANT STREET HOLDINGS LLC directly owns and does business as “The

24
     Madelon,” a multi-dwelling residential apartment complex generally located at 2823 18th Street, San
     Francisco, CA 94110. BRYANT STREET HOLDINGS LLC and GREYSTAR share one or more
25
     individuals registered as the agent for service of process.
26
            160.    BURBANK MEDIA VILLAGE, LLC owns and does business as “Talaria,” a multi-
27
     dwelling residential apartment complex generally located at 3425 West Olive Avenue, Burbank, CA
28


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 1
     91505.
 2
              161.   BWC I LLC and TILDEN - PARK CROSSING LLC own and do business as
 3   “Foundry Commons,” a multi-dwelling residential apartment complex generally located at 868 South
 4   5th Street, San Jose, CA 95112.
 5            162.   CANTERRA APARTMENTS LLC owns and does business as “Canterra,” a multi-
 6   dwelling residential apartment complex generally located at 74401 Hovley Lane East, Palm Desert, CA
 7   92260.
 8            163.   CANYON WOODS OWNERS ASSOCIATION I, a California nonprofit corporation,
 9   owns and does business as “Canyon Woods Apartments,” a multi-dwelling residential apartment
10   complex generally located at 401 Canyon Woods Place, San Ramon, CA 94582.
11            164.   CAPE MAY TEMECULA APARTMENTS, LLC, directly owns and operates
12   business as “Cape May At Harveston Apartments,” a multi-dwelling apartment complex generally
13   located at 40140 Village Road, Temecula, CA 92591. GREYSTAR and CAPE MAY TEMECULA
14   APARTMENTS, LLC share one or more of the same registered agents for service of process. As of
15   the date of this filing, GREYSTAR’S website publicly holds itself out as the property manager of the

16   “Cape May at Harveston Apartments.”

17            165.   CARLSBAD VILLAGE II, LLC owns and does business as “The Lofts at Carlsbad

18   Village,” a multi-dwelling residential apartment complex generally located at 1040 Carlsbad Village

19   Dr., Carlsbad, CA 92008.

20            166.   CARMEL MOUNTAIN APARTMENTS, INC. owns and does business as “Jefferson

21   at Carmel Mountain Ranch,” a multi-dwelling residential apartment complex generally located at 11832

22   Stoney Peak Drive, San Diego, CA 92128.

23
              167.   CARMEL TERRACE, L.P. owns and does business as “Altura,” a multi-dwelling

24
     residential apartment complex generally located at 11921 Carmel Creek Rd., San Diego, CA 92130.
              168.   CARMEL VILLAGE, L.P. owns and does business as “Sola at Pacific Highlands
25
     Ranch,” a multi-dwelling residential apartment complex generally located at 13385 Highlands Pl., San
26
     Diego, CA 92130.
27
              169.   CARMEN APARTMENT PARTNERS TIC [I] LLC and BENEDICT CANYON
28


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 1
     EQUITIES, INC. co-own and do business as “Amara Apartments,” a multi-dwelling residential
 2
     apartment complex generally located 329 West Carmen Lane, Santa Maria, CA 93458.
 3            170.   CASA RUIZ DEL, LLC owns and does business as “The Casas,” a multi-dwelling
 4   residential apartment complex generally located at 10802-B Camino Ruiz, San Diego, CA 92126.
 5            171.   CASA VALLECITOS, LTD., A CALIFORNIA LIMITED PARTNERSHIP owns
 6   and does business as “Altair,” a multi-dwelling residential apartment complex generally located at 1361
 7   W 9th Ave., Escondido, CA 92029.
 8            172.   CASENTINI STREET APARTMENTS, LLC owns and does business as “Cypress
 9   Creek Apartments,” a multi-dwelling residential apartment complex generally located at 162 Casentini
10   Street, Salinas, CA 93907.
11            173.   CASOLEIL DEL, LLC and R & V MANAGEMENT CORP co-own and do business
12   as “Casoleil,” a multi-dwelling residential apartment complex generally located at 1100 Dennery Rd.,
13   San Diego, CA 92154.
14            174.   CATHEDRAL HILL ASSOCIATES, L.P. owns and does business as “133 Gough
15   Apartments at Cathedral Hill,” a multi-dwelling residential apartment complex generally located at 1333

16   Gough St., San Francisco, CA 94109.

17            175.   CENTRAL PARK PARTNERS, L.P. owns and does business as “Central Park,” a

18   multi-dwelling residential apartment complex generally located at 5606 Amaya Dr., La Mesa, CA

19   91942.

20            176.   CG-USA SIMI VALLEY LP and USA PROP FUND INC. co-own and do business as

21   “The Landing at Arroyo,” a multi-dwelling residential apartment complex generally located at 1692

22   Sycamore Drive, Simi Valley, CA 93065.

23
              177.   CH REALTY IX/MF SAN DIEGO EAGLE GLEN OWNER GP, L.L.C. owns and

24
     does business as “Eagle Glen Apartments,” a multi-dwelling residential apartment complex generally
     located at 38245 Murrieta Hot Springs Road, Murrieta, CA 92563.
25
              178.   CHULA VISTA APARTMENTS LLC owns and does business as “Boardwalk at
26
     Millenia,” a multi-dwelling residential apartment complex generally located at 1660 Metro Ave., Chula
27
     Vista, CA 91915.
28


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 1
              179.   CIRCA 1200 LLC owns and does business as “Circa La Apartments,” a multi-dwelling
 2
     residential apartment complex generally located at 1200 S Figueroa, Los Angeles, CA 90015.
 3            180.   CIVIC SQUARE, LLC owns and does business as “Civic Square Apartments,” a multi-
 4   dwelling residential apartment complex generally located at 4890 Bernal Avenue, Pleasanton, CA
 5   94566.
 6            181.   CLI ATLAS ASHTON LLC owns and does business as “Deerwood Apartments,” a
 7   multi-dwelling residential apartment complex generally located at 2215 Lakeside Pl, Corona, CA 92879.
 8            182.   CLI ATLAS ASHTON LLC owns and does business as “Marquessa Villas,” a multi-
 9   dwelling residential apartment complex generally located at 2235 Treehouse Ln, Corona, CA 92879.
10            183.   CLI ATLAS ASHTON LLC owns and does business as “The Ashton Apartments,” a
11   multi-dwelling residential apartment complex generally located at 2178 Stoneridge Drive, Corona, CA
12   92879.
13            184.   CLPF - BALBOA PARK, L.P. and ALLIANCE RESIDENTIAL CO. co-own and do
14   business as “Broadstone Balboa Park,” a multi-dwelling residential apartment complex generally located
15   at 3288 5th Ave, San Diego, CA 92103.

16            185.   CLPF ARTIST WALK LP and MARVIN F. POER AND COMPANY, LLC co-own

17   and do business as “Artist Walk Apartments,” a multi-dwelling residential apartment complex generally

18   located at 3888 Artist Walk Common, Fremont, CA 94536.

19            186.   CLPF CRESCENT PARK LP owns and does business as “Reveal Playa Vista,” a

20   multi-dwelling residential apartment complex generally located at 5710 Crescent Park East, Playa Vista,

21   CA 90094.

22            187.   CLPF GRP SUNNYVALE KIFER LLC owns and does business as “Savoy,” a multi-

23
     dwelling residential apartment complex generally located at 1120 Kifer Rd., Sunnyvale, CA 94086.

24
              188.   CLPF TOWER AT HOLLYWOOD HILLS LP owns and does business as “The
     Tower at Hollywood Hills,” a multi-dwelling residential apartment complex generally located at 1800
25
     N. Normandie Ave., Los Angeles, CA 90027.
26
              189.   CONTRA COSTA RE INVESTORS, LLC and LENNAR COMMUNITIES, INC.
27
     co-own and do business as “Villas At Monterosso Apartments,” a multi-dwelling residential apartment
28


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 1
     complex generally located at 1000 Casa Blanca Terrace, Danville, CA 94506.
 2
            190.   CORTE BELLA FEE OWNER LLC and TRUAMERICA MULTIFAMILY LLC
 3   co-own and do business as “Corte Bella Apartments,” a multi-dwelling residential apartment complex
 4   generally located at 9580 El Rey Avenue, Fountain Valley, CA 92708.
 5          191.   CP III RINCON TOWERS, INC. owns and does business as “The Towers at Rincon
 6   Apartments,” a multi-dwelling residential apartment complex generally located at 88 Howard St., San
 7   Francisco, CA 94105.
 8          192.   CP V JLS, LLC owns and does business as “Fourth Street East Apartments,” a multi-
 9   dwelling residential apartment complex generally located at 150 4th St., Oakland, CA 94607.
10          193.   CP V WALNUT, LLC owns and does business as “The Asher,” a multi-dwelling
11   residential apartment complex generally located at 1031 Walnut Ave., Fremont, CA 94536.
12          194.   CP VI ADMIRALS COVE, LLC owns and does business as “Admirals Cove,” a multi-
13   dwelling residential apartment complex generally located at 250 Mosley Ave, Alameda, CA 94501.
14          195.   CP VI FRANKLIN, LLC and CARMEL PARTNERS co-own and do business as
15   “Atlas Apartments,” a multi-dwelling residential apartment complex generally located at 385 14th St.,

16   Oakland, CA 94612.

17          196.   CP VII ONE38, LLC owns as does business as “The Ryden Apartments,” a multi-

18   dwelling residential apartment complex generally located at 138 Balbach Street, San Jose, CA 95110.

19          197.   CPI SOFIA OWNER, L.L.C., directly owns and does business as “Be DTLA

20   Apartments,” a multi-dwelling residential apartment complex generally located at 1120W. 6th Street,

21   Los Angeles, CA 90017. CPI SOFIA OWNER, L.L.C., is managed by Sofia Coinvestment REIT,

22   L.L.C., which is not apparently registered or qualified to do business in California. CPI SOFIA

23
     OWNER, LLC and GREYSTAR share one or more individuals registered as the agent for service of

24
     process. As of the date of this filing, GREYSTAR’S website publicly holds itself out as the property
     manager of the “Be DTLA Apartments.”
25
            198.   CPI-GREP AA I BUENA VIDA OWNER, LLC directly owns and does business as
26
     “Overture Rancho Santa Margarita,” a multi-dwelling residential apartment complex generally located
27
     at 30824 La Miranda, Rancho Santa Margarita, CA 92688. CPI-GREP AA I BUENA VIDA OWNER,
28


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 1
     LLC and GREYSTAR share one or more individuals registered as the agent for service of process.
 2
            199.    CR AIRWAY GARDENS, LLC directly owns and does business as “Silo Apartments,”
 3   a multi-dwelling residential apartment complex generally located at 7231 Colchester CT., San Diego,
 4   CA 92154. In addition, CR AIRWAY GARDENS, LLC and GREYSTAR share one or more
 5   individuals registered as the agent for service of process.
 6          200.    CR LUXE COMMUNITIES, LLC owns and does business “The Luxe,” a multi-
 7   dwelling residential apartment complex generally located at 2501 Hurley Way, Sacramento, CA 95825.
 8          201.    CR WESTWOOD COMMUNITIES, LLC directly owns and does business as
 9   “Westwood,” a multi-dwelling residential apartment complex, generally located at 4900 Marconi Ave,
10   Carmichael, CA 95608. . As of the date of this filing, GREYSTAR’s website publicly holds out as the
11   property manager of “Westwood” apartments.
12          202.    CRP & BRANDYWINE HAWTHORN APARTMENTS OWNER and BRETT
13   WHITEHEAD co-own and do business as “The Hawthorn,” a multi-dwelling residential apartment
14   complex generally located at 9170 Indiana Ave, Riverside, CA 92503.
15          203.    CRP/THC MISSION GORGE WEST I OWNER, L.L.C. owns and does business as

16   “Vora Mission Valley,” a multi-dwelling residential apartment complex generally located at 6161

17   Fairmont Ave. - West, San Diego, CA 92120.

18          204.    CRP-GREP VENTURA 140 OWNER, L.L.C. directly owns and does business as

19   “Cora,” a multi-dwelling residential apartment complex generally located at 160 S. Ventura Ave.,

20   Ventura, CA 93001. CRP-GREP VENTURA 140 OWNER, L.L.C. and GREYSTAR share one or

21   more individuals registered as the agent for service of process.

22          205.    CYPRESS POINT RE INVESTORS LLC owns and does business as “Cypress Point

23
     Apartments,” a multi-dwelling residential apartment complex generally located at 101 Felix Street,

24
     Santa Cruz, CA 95060.
            206.    CYPRESS SANDS APARTMENT PARTNERS, LLC owns and does business as
25
     “Shoreline Apartments,” a multi-dwelling residential apartment complex generally located at 3124 Lake
26
     Dr., Marina, CA 93933.
27
            207.    DURANTE MULTIFAMILY, LLC co-owned by MBK RENTAL LIVING LLC,
28


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 1
     directly owns and does business as “Esperanza at Durante Station,” a multi-dwelling residential
 2
     apartment complex generally located at 1700 Fasana Road, Durante, CA 91010. . DURANTE
 3   MULTIFAMILY, LLC and GREYSTAR share one or more individuals registered as agents for
 4   service of process. As of the date of this filing, GREYSTAR’S website publicly holds itself out as the
 5   property manager of the “Esperanza at Durante Station” apartments.
 6            208.   DWIGHT WAY RESIDENTIAL PROPERTY OWNER, LLC directly owns and
 7   does business as “The Dwight,” a multi-dwelling residential apartment complex generally located at
 8   2121 Dwight Way, Berkeley, CA 94704. DWIGHT WAY RESIDENTIAL PROPERTY OWNER,
 9   LLC and GREYSTAR share one or more individuals registered as the agent for service of process.
10            209.   EAST PACIFIC PROPERTIES LLC owns and does business as “2300 Wilshire
11   Apartments,” a multi-dwelling residential apartment complex generally located at 2300 Wilshire Blvd,
12   Santa Monica, CA 90403.
13            210.   EFL DEVELOPMENT COMPANY, L.P. owns and does business as “Revela,” a
14   multi-dwelling residential apartment complex generally located at 200 Infinity Way, Mountain View,
15   CA 94043.

16            211.   ENCANTO APARTMENT HOMES, LLC owns and does business as the “Encanto

17   Apartments,” a multi-dwelling residential apartment complex generally located at 4593 Temescal

18   Canyon Road, Corona, CA 92883.

19            212.   EXPO LINE OWNER, LLC owns and does business as “Linea Apartments,” a multi-

20   dwelling residential apartment complex generally located at 2435 S Sepulveda Blvd, Los Angeles, CA

21   90064.

22            213.   FHF I AMERIGE POINTE, LLC owns and does business as “Ameride Pointe

23
     Apartments,” a multi-dwelling residential apartment complex generally located at 1001 Starbuck Street,

24
     Fullerton, CA 92833.
              214.   FHF I THE HEIGHTS, LLC owns and does business as “The Heights At Chino Hills
25
     Apartments,” a multi-dwelling residential apartment complex generally located at 16675 Slate Drive,
26
     Chino Hills, CA 91709.
27
              215.   FILLMORE CENTER ASSOCIATES, LP directly owns and does business as “The
28


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 1
     Fillmore Center,” a multi-dwelling residential apartment complex generally located at 1475 Fillmore
 2
     Street, San Francisco, CA 94115. FILLMORE CENTER ASSOCIATES, LP and GREYSTAR share
 3   one or more individuals registered as the agent for service of process.
 4          216.    FLOIT PROPERTIES INC. owns and operates “Azule North Park,” a multi-dwelling
 5   residential apartment complex generally located at 4499 Ohio Street, San Diego, CA 92116.
 6          217.    FOUNTAIN PLAZA INVESTORS LP owns and does business as “Fountain Plaza,” a
 7   multi-dwelling residential apartment complex generally located at 190 Ryland St., San Jose, CA 95110.
 8          218.    FRIT SAN JOSE TOWN & COUNTRY VIL LLC owns and does business as “The
 9   Dudley Apartments,” a multi-dwelling residential apartment complex generally located at 355 Santana
10   Row #1030, San Jose, CA 95128.
11          219.    FRIT SAN JOSE TOWN AND COUNTRY VILLAGE, LLC own and does business
12   as “Misora,” a multi-dwelling residential apartment complex generally located at 355 Santana Row
13   #1030, San Jose, CA 95128.
14          220.    FRIT SAN JOSE TOWN AND COUNTRY VILLAGE, LLC owns and does business
15   as “Levare,” a multi-dwelling residential apartment complex generally located at 355 Santana Row

16   #1030, San Jose, CA 95128.

17          221.    FRIT SAN JOSE TOWN AND COUNTRY VILLAGE, LLC owns and does business

18   as “Santana Heights,” a multi-dwelling residential apartment complex generally located at 355 Santana

19   Row #1030, San Jose, CA 95128.

20          222.    FSTAR 1637 LLC, directly owns and does business as “Catherine Santa Monica

21   Apartments,” a multi-dwelling residential apartment complex generally located at 1625 Lincoln Blvd.,

22   Santa Monica, CA 90401. FSTAR 1637 LLC and GREYSTAR share one or more individuals

23
     registered as agents for service of process. As of the date of this filing, GREYSTAR’S website publicly

24
     holds itself out as the property manager of the “Catherine Santa Monica Apartments.”
            223.    FV DEL 5, LLC owns and does business as “Alexan Gallerie,” a multi-dwelling
25
     residential apartment complex generally located at 375 Camino de la Reina, San Diego, CA 92108.
26
            224.    GAR REAL ESTATE MANAGEMENT owns and operates “Av8,” a multi-dwelling
27
     residential apartment complex generally located at 2155 Kettner Blvd., San Diego, CA 92101.
28


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            225.    GDCV CULVER CITY, LLC directly owns and does business as “Access Culver City,
 2
     A Greystar Elan Community,” a multi-dwelling residential apartment complex generally located at 8770
 3   Washington Blvd, Culver City, CA 90232. GDCV CULVER CITY, LLC is managed by GDCV
 4   Residential Portfolio, LP, which is not apparently registered or qualified to do business in California.
 5   GDCV CULVER CITY, LLC’s principal address is 465 Meeting Street, Suite 500, Charleston SC
 6   90264, which is the same principal address as GREYSTAR, and both entities share one or more
 7   individuals registered as the agent for service of process. As of the date of this filing, GREYSTAR’S
 8   website publicly holds itself out as the property manager of the “Access Culver City, A Greystar Elan
 9   Community.”
10          226.    GDCV II BP VILLAGE C-2 REIT, LLC directly owns and does business as “Park 12-
11   The Collection,” a multi-dwelling residential apartment complex generally located at 100 Park Plaza,
12   San Diego, CA 92101. GDCV II BP VILLAGE C-2 REIT, LLC and GREYSTAR share the principal
13   address of 465 Meeting Street, Suite 500, Charleston SC 90264. GDCV II BP VILLAGE C-2 REIT,
14   LLC and GREYSTAR share one or more individuals registered as the agent for service of process.
15          227.    GDCV II WEST LA 135, LLC, directly owns and does business as “Cobalt

16   Apartments,” a multi-dwelling residential apartment complex generally located at 10601 Washington

17   Blvd., Los Angeles, CA 90232. GDCV II WEST LA 135, LLC, is managed by GDCV Residential

18   Portfolio II, LP, which is not apparently registered or qualified to do business in California. GDCV II

19   WEST LA 135, LLC’s and GREYSTAR share a principal address of 465 Meeting Street, Suite 500,

20   Charleston SC 90264, and likewise share one or more individuals registered as agents for service of

21   process. As of the date of this filing, GREYSTAR’S website publicly holds itself out as the property

22   manager of the “Cobalt Apartments.”

23
            228.    GDCV MARKET STREET 87, LLC directly owns and does business as “Duboce

24
     Apartments,” a multi-dwelling residential apartment complex generally located at 181 Sanchez St., San
     Francisco, CA 94114.      GDCV MARKET STREET 87, LLC and GREYSTAR share a principal
25
     address of 465 Meeting Street, Suite 500, Charleston SC 90264 and share one or more individuals
26
     registered as the agent for service of process.
27
            229.    GDCV PASADENA 201, LLC, directly owns and does business as “Avila Apartments,”
28


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 1
     a multi-dwelling residential apartment complex generally located at 75 W. Walnut, Pasadena, CA
 2
     91103. GDCV PASADENA 201, LLC, is managed by GDCV Residential Portfolio, LP, which is not
 3   apparently registered or qualified to do business in California. GDCV PASADENA 201, LLC and
 4   GREYSTAR share a principal address of 465 Meeting Street, Suite 500, Charleston SC 90264, and
 5   likewise both entities share one or more individuals registered as the agent for service of process. As of
 6   the date of this filing, GREYSTAR’S website publicly holds itself out as the property manager of the
 7   “Avila Apartments.”
 8          230.    GFP OCEANSIDE BLOCK 18, LLC directly owns and does business as “Pierside,” a
 9   multi-dwelling residential apartment complex generally located at 260 Mission Avenue, Oceanside, CA
10   92054. GFP OCEANSIDE BLOCK 18, LLC and GREYSTAR share one or more individuals
11   registered as the agent for service of process.
12          231.    GFP OCEANSIDE BLOCK 19, LLC, directly owns and does business as “Pierside
13   South Apartments,” a multi-dwelling residential apartment complex generally located at 115 N.
14   Cleveland Street, Oceanside, CA 92054. GFP OCEANSIDE BLOCK 19, LLC and GREYSTAR
15   share one or more individuals registered as the agent for service of process.

16          232.    GG LA FIGUEROA, LLC directly owns and does business as “Tuscany Apartments,”

17   a multi-dwelling residential apartment complex generally located at 3770 S. Figueroa St, Los Angeles,

18   CA 90007. GG LA FIGUEROA, LLC and GREYSTAR share one or more individuals registered as

19   the agent for service of process.

20          233.    GGIF GLENDALE, LLC directly owns and does business as “The Griffith,” a multi-

21   dwelling residential apartment complex generally located at 435 W. Los Feliz Rd., Glendale, CA 91204.

22   GGIF GLENDALE, LLC and GREYSTAR share one or more individuals registered as the agent for

23
     service of process.

24
            234.    GOLDEN GATEWAY CENTER SPE, LLC directly owns and does business as “The
     Gateway,” a multi-dwelling residential apartment complex generally located at 430 Davis Ct., San
25
     Francisco, CA 94111. GOLDEN GATEWAY CENTER SPE, LLC and GREYSTAR share one or
26
     more individuals registered as the agent for service of process.
27
            235.    GREENFIELD VILLAGE DEL, LLC owns and does business as “Greenfield
28


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 1
     Village,” a multi-dwelling residential apartment complex generally located at 5540 Ocean Gate Ln., San
 2
     Diego, CA 92154.
 3          236.    GREENLAND US HOLDINGS INC owns and does business as “Thea at Metropolis
 4   Apartments,” a multi-dwelling residential apartment complex generally located at 1000 W. 8th Street,
 5   Los Angeles, CA 90017.
 6          237.    GROSVENOR DEL REY CORPORATION owns and does business as “Accent,” a
 7   multi-dwelling residential apartment complex generally located at 5550 Grosvenor Blvd, Los Angeles,
 8   CA 90066.
 9          238.    GS 1401 MISSION PROJECT OWNER, LLC directly owns and does business as
10   “Olume Apartments,” a multi-dwelling residential apartment complex generally located at 1401 Mission
11   St., San Francisco, CA 94103. In addition, GS 1401 MISSION PROJECT OWNER, LLC and
12   GREYSTAR share one or more individuals registered as the agent for service of process.
13          239.    GS AA RIVERWALK OWNER, LLC, directly owns and does business as “Overture
14   Riverwalk,” a multi-dwelling residential apartment complex generally located at 4725 Sierra Vista Ave,
15   Riverside, CA 92502. GS AA RIVERWALK OWNER, LLC’s, managing member is GS AA

16   Riverwalk Holdco, LLC. The principal office of GS AA RIVERWALK OWNER, LLC is 465

17   Meeting Street, Suite 500, Charleston, South Carolina, the same principal office as GREYSTAR.

18   GREYSTAR and GS AA RIVERWALK OWNER, LLC share one or more individuals registered as

19   agents for service of process. As of the date of this filing, GREYSTAR’S website publicly holds itself

20   out as the property manager of the “Overture Riverwalk.”

21          240.    GS AA SAN MARCOS OWNER, LLC directly owns and does business as “Overture

22   San Marcos,” a multi-dwelling residential apartment complex generally located at 852 Avenida Ricardo,

23
     San Marcos, CA 92069. GS AA SAN MARCOS OWNER, LLC and GREYSTAR share one or more

24
     individuals registered as the agent for process.
            241.    GS ARGENTA PROJECT OWNER, LLC directly owns and does business as
25
     “Argenta Apartments,” a multi-dwelling residential apartment complex generally located at 1 Polk St.,
26
     San Francisco, CA 94102. GS ARGENTA PROJECT OWNER, LLC and GREYSTAR share one or
27
     more individuals registered as the agent for service of process.
28


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 1
            242.    GS CORONA and MATT RIFFLE directly own and do business as “Avana Springs,”
 2
     a multi-dwelling residential apartment complex generally located at 650 Ebbcreek Drive, Corona, CA
 3   92880. GS CORONA and GREYSTAR share a principal address of 465 Meeting Street, Suite 500,
 4   Charleston SC 90264. In addition, GS CORONA and GREYSTAR share one or more individuals
 5   registered as the agent for service of process.
 6          243.    GS CORONA, LLC, owns and does business as “Avana Springs,” a multi-dwelling
 7   residential apartment complex, generally located at 890 Hotsprings Dr., Corona, CA 92878-4611. GS
 8   CORONA, LLC, managing member is GS Corona Holdco, LLC. The principal office of both GS
 9   CORONA, LLC and GS Corona Holdco, LLC is 465 Meeting Street, Suite 500, Charleston SC 90264,
10   which is the same principal address as GREYSTAR, and likewise both entities share one or more
11   individuals registered as the agent for service of process. GS Corona Holdco, LLC is apparently not
12   registered or qualified to do business in California. As of the date of this filing, GREYSTAR’S website
13   publicly holds itself out as the property manager of the “Avana Springs” apartments.
14          244.    GS TULLY ROAD, LLC directly owns and does business as “Avana San Jose,” a multi-
15   dwelling residential apartment complex generally located at 995 Tully Rd, San Jose, CA 95122. GS

16   TULLY ROAD, LLC and GREYSTAR share a principal address of 465 Meeting Street, Suite 500,

17   Charleston SC 90264. In addition, GS TULLY ROAD, LLC and GREYSTAR share one or more

18   individuals registered as the agent for service of process.

19          245.    GSIC II ALMADEN OWNER, LP directly owns and does business as “Avana

20   Almaden Apartments,” a multi-dwelling residential apartment complex generally located at 1070

21   Foxchase Drive, San Jose, CA 95123. GSIC II ALMADEN OWNER, LP and GREYSTAR share a

22   principal address of 465 Meeting Street, Suite 500, Charleston SC 90264. In addition, GSIC II

23
     ALMADEN OWNER, LP and GREYSTAR share one or more individuals registered as the agent for

24
     service of process, and also share the same officer, director, and/or manager, Joshua Carper.
            246.    GSIC II CUCAMONGA OWNER, LP, directly owns and does business as “Avana
25
     Rancho Cucamonga Apartments,” a multi-dwelling residential apartment complex, generally located at
26
     10400 Arrow Route, Rancho Cucamonga, CA 91730. GSIC II CUCAMONGA OWNER, LP, general
27
     partner is GSIC II Cucamonga GP, LLC. The principal address of GSIC II CUCAMONGA OWNER,
28


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 1
     LP and GSIC II Cucamonga GP, LLC is is 465 Meeting Street, Suite 500, Charleston SC 90264, which
 2
     is the same principal address as GREYSTAR, and likewise both entities share one or more individuals
 3   registered as the agent for service of process. Further, the manager of GSIC II Cucamonga GP, LLC is
 4   Joshua Carper, who is also an officer, director and/or manager of GREYSTAR. GSIC II Cucamonga
 5   GP, LLC is apparently not registered or qualified to do business in California as required. As of the date
 6   of this filing, GREYSTAR’S website publicly holds itself out as the property manager of the “Avana
 7   Rancho Cucamonga Apartments.”
 8             247.   GSIC II PALOS VERDES OWNER, LP directly owns and does business as “Avana
 9   Rancho palos Verdes Apartments,” a multi-dwelling residential apartment complex generally located at
10   6600 Beachview Drive, Rancho Palos Verdes, CA 90275. GSIC II PALOS VERDES OWNER, LP,
11   is managed by GSIC II Palos Verdes GP, LLC. GSIC II PALOS VERDES OWNER, LP and
12   GREYSTAR share the same principal address of 465 Meeting Street, Suite 500, Charleston SC 90264.
13   In addition, both GSIC II PALOS VERDES OWNER, LP and GREYSTAR share one or more
14   individuals registered as the agent for service of process as well as the same officer, director, and/or
15   manager, Joshua Carper.

16             248.   GSIC II PINE OWNER, LP directly owns and does business as “Avana on Pine

17   Apartments,” a multi-dwelling residential apartment complex generally located at 245 Pine Avenue

18   Suite 100, Long Beach, CA 90803. GSIC II PINE OWNER, LP and GREYSTAR share a principal

19   address of 465 Meeting Street, Suite 500, Charleston SC 90264, and both also share one or more

20   individuals registered as the agent for service of process. Further, both entities share the same officer,

21   director, or manager, Joshua Carper.

22             249.   GSIC II STONERIDGE OWNER, LP directly owns and does business as “Avana

23
     Stoneridge Apartments,” a multi-dwelling residential apartment complex generally located at 5505

24
     Springhouse Drive, Pleasanton, CA 94588,. GSIC II STONERIDGE OWNER, LP and GREYSTAR
     also share a principal address of 465 Meeting Street, Suite 500, Charleston SC 90264. GSIC II
25
     STONERIDGE OWNER, LP and GREYSTAR share one or more individuals registered as the agent
26
     for service of process. Further, both entities share the same officer, director, and/or manager, Joshua
27
     Carper.
28


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 1
            250.      GSIC II SUNNYVALE OWNER, LP directly owns and does business as “Avana
 2
     Sunnyvale Apartments,” a multi-dwelling residential apartment complex generally located at 355 North
 3   Wolfe Road, Sunnyvale, CA 94085. GSIC II SUNNYVALE OWNER, LP and GREYSTAR share a
 4   principal address of 465 Meeting Street, Suite 500, Charleston SC 90264. GSIC II SUNNYVALE
 5   OWNER, LP and GREYSTAR share one or more individuals registered as the agent for service of
 6   process, and both entities share the same officer, director, and/or manager, Joshua Carper.
 7          251.      GSIC II WILSHIRE OWNER, LP co-owned by GREYSTAR directly owns and does
 8   business as “Avana on Wilshire Apartments,” a multi-dwelling residential apartment complex generally
 9   located at 635 S. Hobart Blvd., Los Angeles, CA 90005. GSIC II WILSHIRE OWNER, LP and
10   GREYSTARshare the principal address of 465 Meeting Street, Suite 500, Charleston SC 90264, and
11   likewise all share one or more individuals registered as the agents for service of process. Further, all
12   three entities referenced herein share the same officers, directors, and/or managers, Robert A. Faith, and
13   Joshua Carper.
14          252.      GUGV ARTS DISTRICT LA PROPERTY OWNING LLC, directly owns and does
15   business as “AMP Lofts,” a multi-dwelling residential apartment complex generally located at 695 S.

16   Santa Fe Ave, Los Angeles, CA 90021.             GREYSTAR and GUGV ARTS DISTRICT LA

17   PROPERTY OWNING LLC’s share a principal address of 465 Meeting Street, Suite 500, Charleston

18   SC 90264, and likewise share one or more individuals registered as the agent for service of process. As

19   of the date of this filing, GREYSTAR’S website publicly holds itself out as the property manager of the

20   “AMP Lofts.”

21          253.      GW4 LLC co-owned by RONISPEN INVESTMENT CORPORATION, directly

22   owns and does business as “Aston at Gateway,” a multi-dwelling residential apartment complex

23
     generally located at 10568 Gateway Promenade, El Monte, CA 91731. GW4 LLC and GREYSTAR

24
     share one or more individuals registered as agents for service of process. As of the date of this filing,
     GREYSTAR’S website publicly holds itself out as the property manager of the “Aston Gateway”
25
     apartments.
26
            254.      HARBOR PARK APARTMENTS, LP owns and does business as “Harbor Park,” a
27
     multi-dwelling residential apartment complex generally located at 961 Porter Street, Vallejo, CA 94590.
28


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 1
              255.   HAYWARD 544, LLC directly owns and does business as “The Dutton,” a multi-
 2
     dwelling residential apartment complex generally located at 25800 Industrial Blvd., Hayward, CA
 3   94545. In addition, HAYWARD 544, LLC and GREYSTAR share one or more individuals registered
 4   as the agent for service of process.
 5            256.   HDO4, LLC and RICHARD MUNKVOLD co-own and do business as “Vasari At
 6   Ventana,” a multi-dwelling residential apartment complex generally located at 4800 Citrus Ave.,
 7   Fontana, CA 92336.
 8            257.   HERCULES BLOCK Q&R DEVELOPMENT PARTNERS LP and THOMAS
 9   LOFARO co-own and do business as “The Grand at Bayfront Apartments,” a multi-dwelling residential
10   apartment complex generally located at 2200 John Muir Pkwy, Hercules, CA 94547.
11            258.   HESPERIA APARTMENTS, LLC owns and does business as “Las Casitas,” a multi-
12   dwelling residential apartment complex generally located at 13500 Live Oak Street, Hesperia, CA
13   92345.
14            259.   HIGBY JV, LLC owns and does business as “Higby,” a multi-dwelling residential
15   apartment complex generally located at 3015 San Pablo Ave., Berkeley, CA 94702. HIGBY JV, LLC

16   also owns and does business as “Jones Berkley,” a multi-dwelling residential apartment complex

17   generally located at 1080 Jones Street, Berkeley, CA 94710.

18            260.   HOLLYWOOD 180 HOLDCO, LLC and PATT BARTLETT co-own and do

19   business as “The Avenue Hollywood Apartments,” a multi-dwelling residential apartment complex

20   generally located at 1619 N. La Brea, Los Angeles, CA 90028.

21            261.   HOMES ON LOCUST, LLC owns and does business as “Renaissance Terrace

22   Apartments,” a multi-dwelling residential apartment complex generally located at 926 Locust Avenue,

23
     Long Beach, CA 90813.

24
              262.   HONEYBROOK WAY GROUND OWNER LP owns and does business as “The
     Landing,” a multi-dwelling residential apartment complex generally located at 3364 Honeybrook Way,
25
     Ontario, CA 91761.
26
              263.   HPI 919 BAYSIDE LLC owns and does business as “The Waterfront,” a multi-dwelling
27
     residential apartment complex generally located at 919 Bayside Dr, Newport Beach, CA 92660.
28


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 1
              264.   ICON EDEN PLAZA OWNER POOL 2, LLC owns and does business as “Icon
 2
     Plaza,” a multi-dwelling residential apartment complex generally located at 3584 S Figueroa St., Los
 3   Angeles, CA 90007.
 4            265.   ICRE LAGUNA CLUB, LLC directly owns and does business as “Artisan Laguna
 5   Beach,” a multi-dwelling residential apartment complex generally located at 350 Artisan Drive, Laguna
 6   Beach, CA 92651. ICRE LAGUNA CLUB, LLC and GREYSTAR share one or more individuals
 7   registered as the agent for service of process.
 8            266.   IDEAL LINCOLN LLC and LINCOLN 1641 LLC co-own and do business as
 9   “Junction Santa Monica Apartments,” a multi-dwelling residential apartment complex generally located
10   at 1641 Lincoln Blvd, Santa Monica, CA 90404.
11            267.   IDEAL LINCOLN LLC, LINCOLN 1641 LLC, and MICHAEL SOROCHINCKY
12   co-own and do business as “Catherine Santa Monica Apartments,” a multi-dwelling residential
13   apartment complex generally located at 1625 Lincoln Blvd, Sana Monica, CA 90404.
14            268.   INL FAIRWAY VIEW 2012, LLC directly owns and does business as “The Village on
15   5th,” a multi-dwelling residential apartment complex generally located at 9400 Fairway View Place,

16   Rancho Cucamonga, CA 91730. INL FAIRWAY VIEW 2012, LLC and GREYSTAR share one or

17   more individuals registered as agents for service of process. As of the date of this filing, GREYSTAR’S

18   website publicly holds itself out as the property manager of the “The Village on 5th.”

19            269.   IRONWOOD SOUTH DJT, LLC owns and does business as “Ironwood,” a multi-

20   dwelling residential apartment complex generally located at 11100 Fourth Street, Rancho Cucamonga,

21   CA 91730.

22            270.   IRVINE RESIDENTIAL HIGHRISE LLC owns and does business as “Diega,” a

23
     multi-dwelling residential apartment complex generally located at 702 Broadway, San Diego, CA

24
     92101.
              271.   IVY STATION LLC and THOMAS WULF co-own and do business as “Upper Ivy,”
25
     a multi-dwelling residential apartment complex generally located at 8809 Washington Blvd, Culver
26
     City, CA 90232.
27
              272.   JACK LONDON SQUARE DEVELOPMENT OAKLAND OWNER LLC owns and
28


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 1
     does business as “Channel House,” a multi-dwelling residential apartment complex generally 40
 2
     Harrison St, Oakland, CA 94607.
 3            273.   JEFFERSON AT STADIUM PARK-PHASE B OWNER, LLC directly owns and
 4   does business as “Revo,” a multi-dwelling residential apartment complex generally located at 1912 S.
 5   Jacaranda Street, Anaheim, CA 92805. JEFFERSON AT STADIUM PARK-PHASE A OWNER,
 6   LLC and GREYSTAR share one or more individuals registered as the agent for process.
 7            274.   JESUS LLC and JOAN E. TAPPER co-own and do business as “Palisade at Westfield
 8   UTC,” a multi-dwelling residential apartment complex generally 8800 Lombard Place, San Diego, CA
 9   92122, and “Palisade at Westfield UTC,” a multi-dwelling residential apartment complex generally
10   located at 8800 Lombard Place, San Diego, CA 92122.
11            275.   JTJ APARTMENT INVESTORS, LLC own and does business as “Monte Vista
12   Apartments,” a multi-dwelling residential apartment complex generally located at 16945 Del Monte
13   Avenue, Morgan Hill, CA 95037.
14            276.   K & M SOUTH BERKELEY LLC owns and does business as “Aquatic Shattuck,” a
15   multi-dwelling residential apartment complex generally located at 2640 Shattuck Ave., Berkeley, CA

16   94704.

17            277.   K 46, LLC owns and does business as “Azul Chula Vista,” a multi-dwelling residential

18   apartment complex generally located at 310 K Street, Chula Vista, CA 91911.

19            278.   K1 THIRTEENTH ST SD LLC owns and operates “K1 Apartments,” a multi-dwelling

20   residential apartment complex generally located at 330 13th Street, San Diego, CA 92101.

21            279.   KENSINGTON APARTMENTS, LP directly owns and does business as

22   “Kensington,” a multi-dwelling residential apartment complex generally located at 3644 Kings Way,

23
     Sacramento, CA 95821.

24
              280.   KENTWOOD INVESTORS, a California Limited Partnership, and BRADDOCK &
     LOGAN ASSOCIATES own and do business as “Mission Pines,” a multi-dwelling residential
25
     apartment complex generally located at 3600 Pine St, Martinez, CA 94553.
26
              281.   KILROY REALTY FINANCE PARTNERSHIP, L.P. owns and does business as
27
     “One Paseo Living,” a multi-dwelling residential apartment complex generally located at 3200 Paseo
28


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 1
     Village Way, San Diego, CA 92130.
 2
            282.    KR ACADEMY, LLC and HEIDI ROTH co-own and do business as “Jardine,” a
 3   multi-dwelling residential apartment complex generally located at 6390 De Longpre Avenue, Los
 4   Angeles, CA 90028.
 5          283.    KR HOLLYWOOD, LLC owns and does business as “Columbia Square Living,” a
 6   multi-dwelling residential apartment complex generally located at 1550 N. El Centro Avenue, Los
 7   Angeles, CA 90028.
 8          284.    KW MONTCLAIR, LLC, directly owns and does business as “Lexington
 9   Townhomes,” a multi-dwelling residential apartment complex generally located at 9200 Monte Vista
10   Ave, Montclair, CA 91763. KW MONTCLAIR, LLC and GREYSTAR share one or more individuals
11   registered as agents for service of process. As of the date of this filing, GREYSTAR’S website publicly
12   holds itself out as the property manager of the “Lexington Townhomes.”
13          285.    KW SANTA CLARITA TOWNHOMES LLC directly owns and does business as
14   “Townhomes at Lost Canyon Apartments,” a multi-dwelling residential apartment complex generally
15   located at 18179 W. Terra Verde Place, Santa Clarita, CA 91387.            KW SANTA CLARITA

16   TOWNHOMES LLC and GREYSTAR share one or more individuals registered as the agent for

17   service of process.

18          286.    KW WESTMORELAND TIC, LLC and CHADWICH LF OWNER LLC directly

19   own and do business as “The Chadwick,” a multi-dwelling residential apartment complex generally

20   located at 209 S. Westmoreland, Los Angeles, CA 90004. In addition, KW WESTMORELAND TIC,

21   LLC and CHADWICH LF OWNER, LLC, and GREYSTAR share one or more individuals

22   registered as the agent for service of process.

23
            287.    LA APT. 1, LLC owns and does business as “Eastway,” a multi-dwelling residential

24
     apartment complex generally located at 8820 S Sepulveda Eastway, Los Angeles, CA 90045.
            288.    LA FLOWER STREET APARTMENTS LP and GREG R NEVILLE co-own and
25
     do business as “Watermarker Tower Apartments,” a multi-dwelling residential apartment complex
26
     generally 705 W 9th St, Los Angeles, CA 90015.
27
            289.    LA PLAZA VILLAGE, LLC, BRAD COX, and JIM ANDERSEN own and do
28


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 1
     business as “La Plaza Village Apartments,” a multi-dwelling residential apartment complex generally
 2
     located at 555 N Spring St, Los Angeles, CA 90012.
 3            290.   LAFAYETTE APATMENT ASSOCIATES LP owns and does business as “Plaza at
 4   Lafayette,” a multi-dwelling residential apartment complex generally located at 401 S. Lafayette Park
 5   Place.
 6            291.   LAFAYETTE APT. ASSOCIATES, L.P. owns and does business as “Plaza at
 7   Lafayette,” a multi-dwelling residential apartment complex generally located at 401 S Lafayette Park
 8   Place, Los Angeles, CA 90057.
 9            292.   LAKEVIEW 88, LLC owns and does business as “Lakeview 88 Apartments,” a multi-
10   dwelling residential apartment complex generally located at 2758 Lake Pointe Drive, Spring Valley, CA
11   91977.
12            293.   LANDING APARTMENTS DEL, LLC owns and does business as “The Landing at
13   Ocean View Hills,” a multi-dwelling residential apartment complex generally located at 455 Dennery
14   Rd., San Diego, CA 92154.
15            294.   LATIGO THOUSAND OAKS LLC directly owns and does business as “Santal

16   Thousand Oaks,” a multi-dwelling residential apartment complex generally located at 299 Thousand

17   Oaks Boulevard, Thousand Oaks, CA 91360. LATIGO THOUSAND OAKS LLC and GREYSTAR

18   share one or more individuals registered as the agent for service of process.

19            295.   LAYLA PROPERTIES, LLC and ANNA ZUCKER co-own and do business as “Rise

20   Hollywood,” a multi-dwelling residential apartment complex generally located at 1332 N Cahuenga

21   Blvd., Los Angeles, CA 90028.

22            296.   LEGACY APARTMENTS DEL, LLC owns and does business as “Legacy,” a multi-

23
     dwelling residential apartment complex generally located at 9320 Hillery Dr., San Diego, CA 92126.

24
              297.   LEGACY PARTNERS CORPORATE, INC. owns and does business as “Neptune
     Marina Apartments,” a multi-dwelling residential apartment complex generally located at 14126
25
     Marquesas Way, Marina Del Rey, CA 90292.
26
              298.   LIAO COMMERCIAL DE LACEY AVE LLC owns and does business as “Westgate
27
     Apartments,” a multi-dwelling residential apartment complex generally located at 231 South De Lacey
28


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 1
     Ave., Pasadena, CA 91105.
 2
            299.    LIFE ILLUMINATED LLC owns and operates “Vrv,” a multi-dwelling residential
 3   apartment complex generally located at 12736 Beach Blvd., Stanton, CA 90680.
 4          300.    LIPT SAN DIEGO, INC. owns and does business as “Dylan Pointe Loma Apartments,”
 5   a multi-dwelling residential apartment complex generally located at 2930 Barnard Street, San Diego,
 6   CA 92110.
 7          301.    LOFTS 655 HOLDCO LLC directly owns and does business as “Sixth&G
 8   Apartments,” a multi-dwelling residential apartment complex generally located at 655 Sixth Avenue,
 9   San Diego, CA 92101. LOFTS 665 HOLDCO LLC and GREYSTAR share one or more individuals
10   registered as the agent for service of process.
11          302.    LOFTS 677 HOLDCO LLC directly owns and does business as “Seventh&G
12   Apartments,” a multi-dwelling residential apartment complex generally located at 677 Seventh Avenue,
13   San Diego, CA 92101. LOFTS 677 HOLDCO LLC and GREYSTAR share one or more individuals
14   registered as the agent for service of process.
15          303.    LOFTS 707 HOLDCO LLC directly owns and does business as “Tenth&G

16   Apartments,” a multi-dwelling residential apartment complex generally located at 707 Tenth Avenue,

17   San Diego, CA 92101. LOFTS 707 HOLDCO LLC and GREYSTAR share one or more individuals

18   registered as the agent for service of process.

19          304.    LOFTS 707 HOLDCO LLC owns and does business as “Gravity,” a multi-dwelling

20   residential apartment complex generally located at 4560 Mission Gorge Place, San Diego, CA 92120.

21          305.    LOS FELIZ INVESTORS, LLC owns and does business as “The Louise 4850,” a

22   multi-dwelling residential apartment complex generally located at 4850 Hollywood Blvd, Los Angeles,

23
     CA 90027.

24
            306.    LOS FELIZ INVESTORS, LLC, HOWARD HEITNER and LAUREN BOYD co-
     own and do business as “The Louise Los Feliz,” a multi-dwelling residential apartment complex
25
     generally located at 1633 N Edgemont St., Los Angeles, CA 90027.
26
            307.    LPF OVERLOOK, INC. owns and does business as “Overlook at Bernardo Heights,”
27
     a multi-dwelling residential apartment complex generally located at 15909 Avenida Venusto, San Diego,
28


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 1
     CA 92128.
 2
            308.   LT SACRAMENTO MF, LLC and AEW CAPITAL MANAGEMENT, L.P. co-own
 3   and do business as “Linq Midtown,” a multi-dwelling residential apartment complex generally located
 4   at 3111 S Street, Sacramento, CA 95816.
 5          309.   LUGANO APARTMENTS PR III LLC, directly owns and does business as “Lugano,”
 6   a multi-dwelling residential apartment complex generally located at 626 Broadway, Santa Monica, CA
 7   90401. LUGANO APARTMENTS PR III LLC is managed by PR III Apartment Reit LLC, which is
 8   not apparently registered or qualified to do business in California. LUGANO APARTMENTS PR III
 9   LLC and GREYSTAR share one or more individuals registered as agents for service of process. are
10   one of the Greystar Agents. As of the date of this filing, GREYSTAR’S website publicly holds itself
11   out as the property manager of the “Lugano.”
12          310.   LUXE PASADENA LLC owns and does business as “Andalucia,” a multi-dwelling
13   residential apartment complex generally located at 686 East Union Street, Pasadena, CA 91101.
14          311.   LUXE PASADENA LLC owns and does business as “Andalucia,” a multi-dwelling
15   residential apartment complex generally located at 686 East Union Street, Pasadena, CA 91101.

16          312.   LUXE PASADENA LLC owns and does business as “Luxe Pasadena,” a multi-

17   dwelling residential apartment complex generally located at 1769 E Walnut St., Pasadena, CA 91106.

18          313.   MADISON HILLS PROPERTY OWNER LLC owns and does business as “The

19   Hills,” a multi-dwelling residential apartment complex generally located at 9201 Madison Avenue,

20   Orangevale, CA 95662.

21          314.   MADISON-MF MACCADDEN CA LLC, directly owns and does business as “Alaya

22   Hollywood,” a multi-dwelling residential apartment complex generally located at 1714 N. McCadden

23
     Place, Hollywood, CA 90028. MADISON-MF MACCADDEN CA LLC is managed by MCPF

24
     Holdings LLC, which is managed by MCPF Holdings Manager LLC, which is managed by Madison
     Core Property Fund LP. MADISON-MF MACCADDEN CA LLC and GREYSTAR share one or
25
     more individuals registered as agents for service of process. As of the date of this filing, GREYSTAR’S
26
     website publicly holds itself out as the property manager of the “Alaya Hollywood” apartments.
27
            315.   MADRID APARTMENTS RF, LLC owns and does business as “Madrid Apartments,”
28


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 1
     a multi-dwelling residential apartment complex generally located at 8655 Belford Ave, Los Angeles,
 2
     CA 90045.
 3            316.   MAGNOLIA BROADWAY HOLDCO, LLC and RYAN LLC co-own and do
 4   business as “The Magnolia,” a multi-dwelling residential apartment complex generally located at 500
 5   W Broadway, Long Beach, CA 90802.
 6            317.   MARIPOSA BLISS LLC owns and does business as “Mariposa on 3rd,” a multi-
 7   dwelling residential apartment complex generally located at 269 S. Mariposa Ave, Los Angeles, CA
 8   90004.
 9            318.   MARKET DOLORES LLC owns and does business as “38 Dolores,” a multi-dwelling
10   residential apartment complex generally located at 38 Dolores Street, San Francisco, CA 94103.
11            319.   MCP ONYX, LLC owns and does business as “Onyx Glendale Apartments,” a multi-
12   dwelling residential apartment complex generally located at 313 West California Avenue, Glendale, CA
13   91203. MCP ONYX, LLC shares one or more individuals registered as the agent for service of process
14   with GREYSTAR.
15            320.   MIREF WARNER CENTER, LLC directly owns and does business as “The Pointe at

16   Warner Center,” a multi-dwelling residential apartment complex generally located at 6150 Canoga

17   Avenue, Woodland Hills, CA 91367. MIREF WARNER CENTER, LLC and GREYSTAR share

18   one or more individuals registered as the agent for service of process.

19            321.   MISSION VALLEY INVESTORS, L.P. owns and does business as “Metro Mission

20   Valley,” a multi-dwelling residential apartment complex generally located at 5080 Camino Del Arroyo,

21   San Diego, CA 92108.

22            322.   MISSIONS AT RIO VISTA I DEL, LLC directly owns and does business as “The

23
     Missions at Rio Vista,” a multi-dwelling residential apartment complex generally located at 2234 Gill

24
     Village Wy., San Diego, CA 92108. MISSIONS AT RIO I DEL, LLC and GREYSTAR shared one
     or more individuals registered as the agent for service of process.
25
              323.   MMIP CURRENT OWNER LLC directly owns and does business as “Current,” a
26
     multi-dwelling residential apartment complex generally located at 1551 Union Street, San Diego, CA
27
     92101. MMIP CURRENT OWNER LLC and GREYSTAR share one or more individuals registered
28


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 1
     as the agent for service of process.
 2
              324.   MMP ASHTON OWNER, LLC directly owns and does business as “Ashton San
 3   Francisco Apartments,” a multi-dwelling residential apartment complex generally located at 301
 4   Executive Park Blvd., San Francisco, CA 94134. MMP ASHTON OWNER, LLC and GREYSTAR
 5   share one or more individuals registered as the agent for service of process.
 6            325.   MMP ASHTON OWNER, LLC owns and does business as “Ashton San Francisco
 7   Apartments,” a multi-dwelling residential apartment complex generally located at 301 Executive Park
 8   Blvd., San Francisco, CA 94134.
 9            326.   MMP SOUTH PARK OWNER, LLC, directly owns and does business as “717
10   Olympic,” a multi-dwelling residential apartment complex generally located at 717 West Olympic Blvd,
11   Los Angeles, CA 90015. MMP SOUTH PARK OWNER, LLC and GREYSTAR share one or more
12   individuals registered as agents for service of process. As of the date of this filing, GREYSTAR’S
13   website publicly holds itself out as the property manager of the “717 Olympic” apartments.
14            327.   MNCVAD II-HOLLIDAY UNION JV LLC directly owns and does business as “The
15   Union,” a multi-dwelling residential apartment complex generally located at 532 Union Street, Oakland,

16   CA 94607. MNCVAD II-HOLLIDAY UNION JV LLC and GREYSTAR share one or more

17   individuals registered as the agent for service of process.

18            328.   MNCVAD II-HOLLIDAY UNION JV LLC owns and does business as “The Union,”

19   a multi-dwelling residential apartment complex generally located at 532 Union Street, Oakland, CA

20   94607.

21            329.   MONOGRAM RESIDENTIAL RENAISSANCE, LP directly owns and does

22   business as “Luce Apartments,” a multi-dwelling residential apartment complex generally located at

23
     7290     Edinger   Ave.,   Huntington      Beach,   CA   92647.     MONOGRAM        RESIDENTIAL

24
     RENAISSANCE, LP and GREYSTAR share one or more individuals registered as the agent for
     service of process.
25
              330.   MONOGRAM RESIDENTIAL RENAISSANCE, LP directly owns and does
26
     business as “The Verge Apartments,” a multi-dwelling residential apartment complex generally located
27
     at 6850 Mission Gorge Rd., San Diego, CA 92120.                      MONOGRAM RESIDENTIAL
28


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 1
     RENAISSANCE, LP and GREYSTAR share one or more individuals registered as the agent for
 2
     service of process.
 3            331.   MONOGRAM RESIDENTIAL RENAISSANCE, LP, formerly Behringer Harvard
 4   Renaissance LP, directly owns and does business as “Desmond at Wilshire,” a multi-dwelling residential
 5   apartment complex generally located at 5520 Wilshire Blvd, Los Angeles, CA 90036. MONOGRAM
 6   RESIDENTIAL RENAISSANCE, LP and GREYSTAR share one or more individuals registered as
 7   agents for service of process. As of the date of this filing, GREYSTAR’S website publicly holds itself
 8   out as the property manager of the “Desmond at Wilshire.”
 9            332.   MONROVIA APARTMENT EPF I LLC owns and does business as the “Areum,” a
10   multi-dwelling residential apartment complex generally located at 1110 S 5th Ave, Monrovia, CA
11   91016.
12            333.   MONTCLAIR ARROW APARTMENTS, L.P. owns and does business as “Kendry
13   Apartments,” a multi-dwelling residential apartment complex generally located at 4868 Cypress Street,
14   Montclair, CA 91763.
15            334.   MONTECITO APARTMENT HOMES, LLC owns and does business as “Montecito

16   At Dos Lagos Apartments,” a multi-dwelling residential apartment complex generally located at 2708

17   Blue Springs Drive, Corona, CA 92883.

18            335.   MONTECITO VILLAGE PARTNERS, L.P. owns and does business as “Salerno,” a

19   multi-dwelling residential apartment complex generally located at 1630 Paseo Monti, Chula Vista, CA

20   91913.

21            336.   MONTEREY PENINSULA LAND PARTNERS, LLC owns and does business as

22   “Pacific Vista Apartments,” a multi-dwelling residential apartment complex generally located at 57

23
     Soledad Dr., Monterey, CA 93940.

24
              337.   MONTEREY TOWNHOUSE LAND PARTNERS, LLC owns and does business as
     “Monterey Townhouse,” a multi-dwelling residential apartment complex generally located at 825
25
     Casanova Ave., Monterey, CA 93940.
26
              338.   MONTIAVO AT BRADLEY SQUARE OWNER LLC directly owns and does
27
     business as “Montiavo,” a multi-dwelling residential apartment complex generally located at 2460 South
28


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 1
     Rubel Way, Santa Maria, CA 93455. MONTIAVE AT BRADLEY SQUARE OWNER LLC and
 2
     GREYSTAR share one or more individuals registered as the agent for service of process.
 3            339.   MUSEUM PARK PROPERTY LLC owns and does business as “Museum Park
 4   Apartments,” a multi-dwelling residential apartment complex generally located at 465 W San Carlos
 5   St., San Jose, CA 95110.
 6            340.   N AVENUE, L.P. owns and does business as “City View Apartments,” a multi-dwelling
 7   residential apartment complex generally located at 840 17th Street, San Diego, CA 92101.
 8            341.   NAVAJO BLUFFS DEL, LLC owns and does business as “Navajo Bluffs,” a multi-
 9   dwelling residential apartment complex generally located at 6575 Jaffe Ct., San Diego, CA 92119.
10            342.   NEW PACIFIC CARLYLE, LLC owns and does business as “Carlyle Apartments,” a
11   multi-dwelling residential apartment complex generally located at 18880 Douglas Ave., Irvine, CA
12   92612.
13            343.   NM-JASPER, LLC directly owns and does business as “Jasper,” a multi-dwelling
14   residential apartment complex generally located at 45 Lansing Street, San Francisco, CA 94105. In
15   addition, NM-JASPER, LLC and GREYSTAR share one or more individuals registered as the agent

16   for service of process.

17            344.   NORTHLAND THEA PORTFOLIO LLC owns and does business as “Thea At

18   Metropolis,” a multi-dwelling residential apartment complex generally located at 1000 West 8th Street,

19   Los Angeles, CA 90017.

20            345.   NP PARC CHATEAUX INC. owns and does business as “Park Chateaux,” a multi-

21   dwelling residential apartment complex generally located at 24979 Constitution Ave., Stevenson Ranch,

22   CA 91381.

23
              346.   OAK SPRINGS PARTNERS, L.P. owns and does business as “Oak Springs Ranch,”

24
     a multi-dwelling residential apartment complex generally located at 24055 Clinton Keith Road,
     Wildomar, CA 92595.
25
              347.   OCEAN AIR, L.P. owns and does business as “Ocean Air,” a multi-dwelling residential
26
     apartment complex generally located at 10500 Sea Pearl Cove, San Diego, CA 92130.
27
              348.   OCEAN BREEZE APARTMENT ASSOCIATES, L.P. owns and does business as
28


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 1
     “Ocean Breeze Villas,” a multi-dwelling residential apartment complex generally located at 6401
 2
     Warner Avenue, Huntington Beach, CA 92647.
 3            349.   OCEANVIEW TERRACE, L.P. owns and does business as “Riveredge Terrace,” a
 4   multi-dwelling residential apartment complex generally located at 4805 Wind Surf Wy., San Diego, CA
 5   92154.
 6            350.   OCOTILLO LA 9001SMB, LLC co-owned by CLIFFORD GOLDSTEIN, directly
 7   owns and does business as “Nine Thousand One,” a multi-dwelling residential apartment complex
 8   generally located at 9001 Santa Monica Blvd., West Hollywood, CA 90069. In addition, OCOTILLO
 9   LA 9001SMB, LLC and GREYSTAR share one or more individuals registered as the agents for service
10   of process.
11            351.   OKTOGAN SANTA SANA LLC and PROVIDENCE CAPITAL GROUP INC co-
12   own and do business as “Arte West,” a multi-dwelling residential apartment complex generally located
13   at 3630 Westminster Ave, Santa Ana, CA 92703.
14            352.   ONYX EAST APARTMENTS LLC and JADE ENTERPRISES co-own and do
15   business as “Onyx Apartments,” a multi-dwelling residential apartment complex generally located at

16   424 W. Pico Boulevard, Los Angeles, CA 90015.

17            353.   OSM PROPERTY LLC owns and does business as “One South Market Apartments,”

18   a multi-dwelling residential apartment complex generally located at 1 S Market St., San Jose, CA 95113.

19            354.   PALOMAR STATION DJT (PHASE 1) LLC owns and does business as “Palomar

20   Station,” a multi-dwelling residential apartment complex generally located at 1257 Armorlite Dr., San

21   Marcos, CA 92069.

22            355.   PARC ONE DEL, LLC owns and does business as “Parc One,” a multi-dwelling

23
     residential apartment complex generally located at 320 Town Center Pkwy., Santee, CA 92071.

24
              356.   PARKER-SHATTUCK OWNER, LLC directly owns and does business as “Parker
     Apartments,” a multi-dwelling residential apartment complex generally located at 2038 Parker Street,
25
     Berkeley, CA 94704. PARKER-SHATTUCK OWNER, LLC and GREYSTAR share one or more
26
     individuals registered as the agent for service of process.
27
              357.   PASO ROBLES MULTIFAMILY LLC and MBK HOMES LLC directly co-own
28


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 1
     and do business as “Blue Oak,” a multi-dwelling residential apartment complex generally located at 710
 2
     Experimental Station Road, Paso Robles, CA 93446. PASO ROBLES MULTIFAMILY LLC, MBK
 3   HOMES, and GREYSTAR share one or more individuals registered as the agent for service of process.
 4            358.   PERSEA SENIOR BORROWER LLC and JEREMY MEREDITH co-own and do
 5   business as “Persea,” a multi-dwelling residential apartment complex generally located at 1333 N. Santa
 6   Fe Ave., Vista, CA 92084.
 7            359.   PKV 1031 SAN DIEGO, LLC owns and does business as “Entrada,” a multi-dwelling
 8   residential apartment complex generally located at 453 13th Street, San Diego, CA 92101.
 9            360.   PLAZA APARTMENTS GP LLC owns and does business as “Ridgestone,” a multi-
10   dwelling residential apartment complex generally located at 39415 Ardenwood Way, Lake Elsinore, CA
11   92532.
12            361.   PORT 121 LLC and TIMOTHY VIOLE own and do business as “The Reserve,” a
13   multi-dwelling residential apartment complex generally located at 3851 Harbour Island Lane Oxnard,
14   CA 93035.
15            362.   POTRERO LAUNCH AFFORDABLE LP and SEAN BURTON co-own and do

16   business as “Potrero Launch Apartments,” a multi-dwelling residential apartment complex generally

17   located at 2235 3rd St, San Francisco, CA 94107.

18            363.   PR 1910 UNION LLC directly owns and does business as “Rise Apartments,” a multi-

19   dwelling residential apartment complex generally located at 1910 Union Street, Anaheim, CA 92805.

20   PR 1910 UNION LLC and GREYSTAR share one or more individuals registered as the agent for

21   service of process.

22            364.   PR 1921 UNION LLC directly owns and does business as “Edge Apartments,” a multi-

23
     dwelling residential apartment complex generally located at 1921 Union Street, Anaheim, CA 92805.

24
     PR 1921 UNION LLC and GREYSTAR share one or more individuals registered as the agent for
     service of process.
25
              365.   PR BROADSTONE HERITAGE I LLC and PR BROADSTONE HERITAGE I
26
     LLC own and do business as “Broadstone Atlas,” a multi-dwelling residential apartment complex
27
     generally located at 2590 Red Hill Ave, Santa Ana, CA 92705.
28


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 1
              366.   PR IMPERIA LOS ANGELES LLC directly owns and does business as “Living at
 2
     Noho,” a multi-dwelling residential apartment complex generally located at 11059 McCormik Street,
 3   North Hollywood, CA 91601. PR IMPERIA LOS ANGELES LLC and GREYSTAR share one or
 4   more individuals registered as the agent for service of process.
 5            367.   PROVDENCE II ARTE APARTMENT LLC owns and does business as “Arte,” a
 6   multi-dwelling residential apartment complex generally located at 10130 Foothill Blvd, Rancho
 7   Cucamonga, CA 19730.
 8            368.   PRU JSM TRINO LLC and ROBERT JEANS co-own and do business as “Sway,” a
 9   multi-dwelling residential apartment complex generally located at 525 Broadway, Santa Monica, CA
10   90401.
11            369.   PRU JSM TRINO LLC owns and does business as “Sway,” a multi-dwelling residential
12   apartment complex generally located at 525 Broadway, Santa Monica, CA 90401.
13            370.   RAINCROSS SENIOR PARTNERS, LLC owns and does business as “Raincross
14   Senior Village Apartments,” a multi-dwelling residential apartment complex generally located at 5234
15   Central Ave., Riverside, CA 92504.

16            371.   RAINTREE 1122 UNIVERSITY LLC owns and does business as “1122U

17   Apartments,” a multi-dwelling residential apartment complex generally located at 1122 University,

18   Berkeley, CA 94702.

19            372.   RAINTREE 1200 RIVERSIDE LLC owns and does business as “1200 Riverside,” a

20   multi-dwelling residential apartment complex generally located at 1200 Riverside Drive, Burbank, CA

21   91506.

22            373.   RAINTREE 201 MARSHALL LLC owns and does business as “201 Marshall,” a

23
     multi-dwelling residential apartment complex generally located at 201 Marshall Street, Redwood City,

24
     CA 94063.
              374.   RAINTREE 2051 THIRD STREET LLC owns and does business as “The Martin
25
     Apartments,” a multi-dwelling residential apartment complex generally located at 2051 3rd Street, San
26
     Francisco, CA 94107.
27
              375.   RAINTREE 973 MARKET MASTER TENANT LLC owns and does business as
28


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 1
     “The Wilson Building Apartments,” a multi-dwelling residential apartment complex generally located
 2
     at 973 Market Street, San Francisco, CA 94103.
 3            376.   RAINTREE CAMPBELL LLC directly owns and does business as “The Franciscan,”
 4   a multi-dwelling residential apartment complex generally located at 601 Almarida Drive, Campbell, CA
 5   95008. RAINTREE CAMPBELL LLC and GREYSTAR share one or more individuals registered as
 6   the agent for service of process.
 7            377.   RAINTREE DEL PRADO LLC owns and does business as “Prado West,” a multi-
 8   dwelling residential apartment complex generally located at 34137 Pacific Coast Hwy, Dana Point, CA
 9   92629.
10            378.   RAINTREE FAIR OAKS LLC owns and does business as “Encasa,” a multi-dwelling
11   residential apartment complex generally located at 550 E Weddell Dr., Sunnyvale, CA 94089.
12            379.   RAINTREE FLOWER FIELDS LLC directly owns and does business as “Flower
13   Fields Apartments,” a multi-dwelling residential apartment complex generally located at 2666 Flower
14   Fields Way, Carlsbad, CA 92010. RAINTREE FLOWER FIELDS LLC and GREYSTAR share one
15   or more individuals registered as the agent for service of process.

16            380.   RAINTREE FOUNTAIN VALLEY LLC owns and does business as “The Galleria,”

17   a multi-dwelling residential apartment complex generally located at 16425 Harbor Blvd., Fountain

18   Valley, CA 92708.

19            381.   RAINTREE TRIESTE LLC owns and does business as “Axiom La Jolla,” a multi-

20   dwelling residential apartment complex generally located at 3950 Mahalia Ave., San Diego, CA 92122.

21            382.   RAINTREE VENTURA COLONY LLC and RAINTREE PARTNERS co-own and

22   do business as “Colony Parc,” a multi-dwelling residential apartment complex generally located at 848

23
     Weber Circle, Ventura, CA 93003.

24
              383.   RAINTREE WALNUT CREEK LLC owns and does business as “Oak & Iron, A
     Home Collection,” a multi-dwelling residential apartment complex generally located at 114 Sharene
25
     Ln., Walnut Creek, CA 94596.
26
              384.   RANCHO INVESTORS, L.P. owns and does business as “Parc Pointe,” a multi-
27
     dwelling residential apartment complex generally located at 2450 Hilton Head Pl., El Cajon, CA 92019.
28


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 1
              385.   RANCHO PRESIDIO FEE OWNER LLC owns and does business as “Presidio at
 2
     Rancho Del Oro,” a multi-dwelling residential apartment complex generally located at 4401 Mission
 3   Avenue, Oceanside, CA 92057.
 4            386.   RAR2 SUMMERWOOD SARATOGA CA INC owns and does business as
 5   “Summerwood Apartments,” a multi-dwelling residential apartment complex generally located at 444
 6   Saratoga Avenue, Santa Clara, CA 95050.
 7            387.   REGENCY DURANT, LLC owns and does business as “The Durant,” a multi-dwelling
 8   residential apartment complex generally located at 2631 Durant Ave, Berkeley, CA 94704.
 9            388.   REGENCY HILLTOP, LLC owns and does business as “The Hilltop,” a multi-
10   dwelling residential apartment complex generally located at 363 Western Dr., Santa Cruz, CA 95060.
11            389.   RESCORE 1699 MARKET LLC owns and does business as “The Rise Hayes Valley,”
12   a multi-dwelling residential apartment complex generally located at 1699 Market Street, San Francisco,
13   CA 94103.
14            390.   RESCORE KOREATOWN, LLC owns and does business as “Rise Koreatown,” a
15   multi-dwelling residential apartment complex generally located at 750 S Oxford Ave, Los Angeles, CA

16   90005.

17            391.   RI - BERKELEY, LLC owns and does business as “Aquatic Fourth Street,” a multi-

18   dwelling residential apartment complex generally located at 2010 Fifth Street, Berkeley, CA 94710.

19            392.   RISING GLEN DEL, LLC owns and does business as “Rising Glen,” a multi-dwelling

20   residential apartment complex generally located at 2300 Rising Glen Wy., Carlsbad, CA 92008.

21            393.   RIVERSIDE LOCHMOORE DRIVE APARTMENTS, LP owns and does business

22   as “Castlerock Apartments,” a multi-dwelling residential apartment complex generally located at 5700

23
     Lochmoor Drive, Riverside, CA 92507.

24
              394.   RIVERVIEW DEL I, LLC owns and does business as “Sorano Apartments,” a multi-
     dwelling residential apartment complex generally located at 12046 Clark St., Moreno Valley, CA 92557.
25
              395.   RIVUE MCA, LLC owns and does business as “Rivue,” a multi-dwelling residential
26
     apartment complex generally located at 1902 Millenia Ave., Chula Vista, CA 91915.
27
              396.   RIZE LKMS, LLC owns and does business as “Rise Irvine,” a multi-dwelling
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 1
     residential apartment complex generally located at 1100 Synergy, Irvine, CA 92614.
 2
            397.    ROC III CA CREEKWOOD, LLC and BRIDGE INVESTMENT GROUP
 3   HOLDINGS LLC directly co-own and do business as “Creekwood,” a multi-dwelling residential
 4   apartment complex generally located at 22294 City center Dr., Hayward, CA 94541. ROC III CA
 5   CREEKWOOD, LLC and GREYSTAR share one or more individuals registered as the agent for
 6   service of process.
 7          398.    ROHNERT PARK 668 LP and USA PROPERTIES FUND INC co-own and do
 8   business as “Adega,” a multi-dwelling residential apartment complex generally 541 Carlson Ave,
 9   Rohnert Park, CA 94928.
10          399.    ROHNERT PARK 668, L.P. owns and does business as “Adega,” a multi-dwelling
11   residential apartment complex generally located at 541 Carlson Ave., Rohnert Park, CA 94928.
12          400.    ROLLING HILLS GARDEN APARTMENTS, LLC owns and does business as
13   “Rolling Hills Gardens Apartments,” a multi-dwelling residential apartment complex generally located
14   at 2290 Mackenzie Creek Road, Chula Vista, CA 91914.
15          401.    ROSINA VISTA, L.P. owns and does business as “Rosina Vista,” a multi-dwelling

16   residential apartment complex generally located at 1551 Summerland St., Chula Vista, CA 91913.

17          402.    RRE BONITA GLEN HOLDINGS LLC owns and does business as “Pointe Bonita,”

18   a multi-dwelling residential apartment complex generally located at 250 Bonita Glen Dr, Chula Vista,

19   CA 91910.

20          403.    RREEF AMERICA REIT II CORP DD directly owns and does business as “Provence

21   at Valencia Apartments,” a multi-dwelling residential apartment complex generally located at 28160

22   McBean Parkway, Valencia, CA 91354. RREEF AMERICA FEIT II CORP DD and GREYSTAR

23
     share one or more individuals registered as the agent for service of process.

24
            404.    RYAN LLC and 900 SOUTH FIGUEROA STREET co-own and do business as
     “Apex. The One,” a multi-dwelling residential apartment complex generally located at 900 S. Figueroa
25
     Street, Los Angeles, CA 90015.
26
            405.    SAN RAMON PARK PLACE, LLC owns and does business as “Park Place
27
     Apartments,” a multi-dwelling residential apartment complex generally located at 255 Park Place, San
28


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 1
     Ramon, CA 94583.
 2
            406.    SANTA MARIA LAND PARTNERS LLC directly owns and does business as “La
 3   Vista Apartments,” a multi-dwelling residential apartment complex generally located at 740 S. Western
 4   Avenue, Santa Maria, CA 93458. SANTA MARIA LAND PARTNERS LLC and GREYSTAR share
 5   one or more individuals registered as the agent for service of process.
 6          407.    SANTA MARIA MULTIFAMILY LLC and MBK HOMES, LLC directly co-own
 7   and do business as “Azure,” a multi-dwelling residential apartment complex generally located at 703
 8   East Meehan Street, Santa Maria, CA 93454. SANTA MARIA MULTIFAMILY LLC, MBK
 9   HOMES, and GREYSTAR share one or more individuals registered as the agent for service of process.
10          408.    SANTEE VILLAS DEL, LLC owns and does business as “Santee Villas,” a multi-
11   dwelling residential apartment complex generally located at 10445 Mast Blvd., Santee, CA 92071.
12          409.    SDCO HILLS OF CORONA, INC., directly owns and does business as “The Hills of
13   Corona Apartments,” a multi-dwelling residential apartment complex generally located at 2365 S.
14   Promenade Avenue, Corona, CA 92879. SDCO HILLS OF CORONA, INC. and GREYSTAR share
15   one or more individuals registered as agents for service of process. As of the date of this filing,

16   GREYSTAR’S website publicly holds itself out as the property manager of the “The Hills of Corona

17   Apartments.”

18          410.    SEPULVEDA APTS. LIMITED PARTNERSHIP owns and does business as “6940

19   Sepulveda,” a multi-dwelling residential apartment complex generally located at 6940 Sepulveda Blvd.,

20   Van Nuys, CA 91405.

21          411.    SETA APARTMENT HOMES DEL, LLC owns and does business as “Seta

22   Apartments,” a multi-dwelling residential apartment complex generally located at 7346 Parkway Dr.,

23
     La Mesa, CA 91942.

24
            412.    SF APT 1, LLC owns and does business as “121 Tasman Apartments,” a multi-dwelling
     residential apartment complex generally located at 121 East Tasman Drive, San Jose, CA 95134.
25
            413.    SHAC 988 ECR APARTMENTS LLC owns and does business as “Nine88
26
     Apartments,” a multi-dwelling residential apartment complex generally located at 988 El Camino Real,
27
     South San Francisco, CA 94080.
28


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              414.   SHAC DEL MEDIO APARTMENTS LLC owns and does business as “MV
 2
     Apartments,” a multi-dwelling residential apartment complex generally located at 2700 W. El Camino
 3   Real, Mountain View, CA 94040.
 4            415.   SHAC     SOUTH       MATHILDA          AVENUE      LLC   and    AEW      CAPTIAL
 5   MANAGEMENT, L.P. co-own and do business as “481 On Mathilda,” a multi-dwelling residential
 6   apartment complex generally located at 481 S Mathilda Avenue, Sunnyvale, CA 94086. SHAC
 7   SOUTH MATHILDA AVENUE LLC and AEW CAPTIAL MANAGEMENT, L.P. share one or
 8   more individuals registered as the agent for service of process.
 9            416.   SHADOWRIDGE WOODBEND DEL, LLC owns and does business as
10   “Shadowridge Wodbend,” a multi-dwelling residential apartment complex generally located at 1500
11   Shadowridge Dr., Vista, CA 92081.
12            417.   SHEARWATER COMMUNITIES, LLC, directly owns and does business as “Solaire
13   Apartments,” a multi-dwelling residential apartment complex generally located at 29575 Pujol Street,
14   Temecula, CA 92590. SHEARWATER COMMUNITIES, LLC, managing member is CR Shearwater
15   Holdings, LLC. CR Shearwater Holdings, LLC is in turn managed by CR Shearwater Associates, LLC,

16   which is apparently not registered or qualified to do business in California as required.

17   SHEARWATER COMMUNITIES, LLC and GREYSTAR share one or more individuals registered

18   as agents for service of process. As of the date of this filing, GREYSTAR’S website publicly holds

19   itself out as the property manager of the “Solaire Apartments.”

20            418.   SHERIDAN PARK, LLC owns and does business as “Sheridan Park Apartments,” a

21   multi-dwelling residential apartment complex generally located at 1450 North 1st St., Salinas, CA

22   93906.

23
              419.   SI 26, LLC owns and does business as “Elements,” a multi-dwelling residential

24
     apartment complex generally located at 1201 Parkmoor Avenue, San Jose, CA 95126.
              420.   SI 32, LLC owns and does business as “Aventino Apartments,” a multi-dwelling
25
     residential apartment complex generally located at 200 Winchester Circle, Los Gatos, CA 95032.
26
              421.   SI 40, LLC owns and does business as “Domicilio,” a multi-dwelling residential
27
     apartment complex generally located at 431 El Camino Real, Santa Clara, CA 95050.
28


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            422.    SI 51, LLC owns and does business as “Mosaic Apartments,” a multi-dwelling
 2
     residential apartment complex generally located at 500 Race Street, San Jose, CA 95126.
 3          423.    SI 52 LLC owns and does business as “The Standard,” a multi-dwelling residential
 4   apartment complex generally located at 515 Lincoln Avenue, San Jose, CA 95126.
 5          424.    SI 61, LLC owns and does business as “599 Castro,” a multi-dwelling residential
 6   apartment complex generally located at 599 Castro Street, Mountain View, CA 94041.
 7          425.    SI 66, LLC owns and does business as “Naya,” a multi-dwelling residential apartment
 8   complex generally located at 1095 West El Camino Real, Sunnyvale, CA 94087.
 9          426.    SI VI, LLC owns and does business as “Central Park at Whisman Station,” a multi-
10   dwelling residential apartment complex generally located at 100 N Whisman Station Drive, Mountain
11   View, CA 94043.
12          427.    SI VII, LLC owns and does business as “Bridgepointe,” a multi-dwelling residential
13   apartment complex generally located at 1987 Bridgepointe Circle, San Mateo, CA 94404.
14          428.    SI VIII, LLC owns and does business as “City Place,” a multi-dwelling residential
15   apartment complex generally located at 801 E. Walnut Street, Pasadena, CA 91101.

16          429.    SI XXII, LLC owns and does business as “Tamarind Square,” a multi-dwelling

17   residential apartment complex generally located at 1160 Morse Avenue, Sunnyvale, CA 94089.

18          430.    SIGNATURE POINT MULTI, LLC directly owns and does business as “Signature

19   Point,” a multi-dwelling residential apartment complex generally located at 13006 Signature Point, San

20   Diego, CA 92130. SIGNATURE POINT MULTI, LLC and GREYSTAR share one or more

21   individuals registered as the agent for service of process.

22          431.    SILICON BEACH LIVE, LLC owns and does business as “D’Vine Apartments,” a

23
     multi-dwelling residential apartment complex generally located at 6733 S. Sepulveda Blvd., Los

24
     Angeles, CA 90045.
            432.    SM - CLOVERFIELD INVESTORS, LLC owns and does business as “The Charlie
25
     Santa Monica,” a multi-dwelling residential apartment complex generally located at 1450 Cloverfield
26
     Blvd, Santa Monica, CA 90404.
27
            433.    SOBRATO DEVELOPMENT COMPANY #940, LLC owns and does business as “La
28


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 1
     Terraza,” a multi-dwelling residential apartment complex generally located at 470 Saratoga Ave, San
 2
     Jose, CA 95129.
 3            434.   SOCAL II NOBEL LLC owns and does business as “Nobel Court,” a multi-dwelling
 4   residential apartment complex generally 3707 Nobel Dr., San Diego, CA 92122.
 5            435.   SOFTWIND POINT DEL, LLC owns and does business as “Softwind Point,” a multi-
 6   dwelling residential apartment complex generally located at 881 Soft Wind Rd., Vista, CA 92081.
 7            436.   SOHAY APARTMENTS, LLC owns and does business as “The Mix at Sohay,” a
 8   multi-dwelling residential apartment complex generally located at 29213 Mission Blvd., Hayward, CA
 9   94544.
10            437.   SOLANA RIDGE, L.P owns and does business as “Solana Ridge,” a multi-dwelling
11   residential apartment complex generally located at 41754 Margarita Rd., Temecula, CA 92591.
12            438.   SOLTERRA AT CIVIC CENTER, LP owns and does business as “Solterra at Civil
13   Center,” a multi-dwelling residential apartment complex generally located at 12700 South Bloomfield
14   Ave., Norwalk, CA 90650.
15            439.   SOUTH SEPULVEDA INVESTORS LP co-owned by THE HANOVER

16   AMERICAN INSURANCE COMPANY, directly owns and does business as “Kinley West LA,” a

17   multi-dwelling residential apartment complex generally located at 6711 S. Sepulveda Blvd, Los

18   Angeles, CA 90045. Both entities share one or more individuals registered as the agent for service of

19   process with GREYSTAR. As of the date of this filing, GREYSTAR’S website publicly holds itself

20   out as the property manager of the “Kinley West LA.”

21            440.   SOUTH SEPULVEDA INVESTORS LP directly owns and does business as “Kinley

22   West LA,” a multi-dwelling residential apartment complex generally located at 6711 S. Sepulveda Blvd,

23
     Los Angeles, CA 90045. SOUTH SEPULVEDA INVESTORS LP, THE HANOVER COMPANY,

24
     and GREYSTAR share one or more individuals registered as the agent for service of process.
              441.   SOUTHBORDER LLC owns and does business as “Ocean Breeze Apartments,” a
25
     multi-dwelling residential apartment complex generally located at 561 W. San Ysidro Blvd., San Diego,
26
     CA 92173.
27
              442.   SP/P CHANNEL POINT, L.L.C. directly owns and does business as “Channel Point
28


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 1
     Apartments,” a multi-dwelling residential apartment complex generally located at 5926 Bixby Village
 2
     Dr., Long Beach, CA 90803, managed by Principal U.S. Property Portfolio REIT I, LLC. In addition,
 3   SP/P CHANNEL POINT, L.L.C. and GREYSTAR share one or more individuals registered as the
 4   agent for service of process.
 5            443.   SRI ELEVEN 601 CAPITOL MALL LLC owns and does business as “The Frederic,”
 6   a multi-dwelling residential apartment complex generally located at 601 Capitol Mall, Sacramento, CA
 7   95814-4719.
 8            444.   ST. MORITZ PROPERTY OWNER LLC owns and does business as “St. Moritz,” a
 9   multi-dwelling residential apartment complex generally located at 23411 Summerfield, Aliso Viejo, CA
10   92656.
11            445.   STONE ARBOR APARTMENTS, LLC directly owns and does business as “Stone
12   Arbor Apartments,” a multi-dwelling residential apartment complex generally located at 612 Los
13   Arbolitos Blvd, Oceanside, CA 92054. STONE ARBOR APARTMENTS, LLC and GREYSTAR
14   share one or more individuals registered as the agent for service of process.
15            446.   SUNBOW PARTNERS, L.P. owns and does business as “Mission at Sunbow

16   Apartments,” a multi-dwelling residential apartment complex generally located at 825 East Palomar St.,

17   Chula Vista, CA 91911.

18            447.   SW WESTCHESTER LAND, LLC, directly owns and does business as “7403 Living,”

19   a multi-dwelling residential apartment complex generally located at 7403 La Tijera, Los Angeles, CA

20   90045.    SW WESTCHESTER LAND, LLC and GREYSTAR share one of more individuals

21   registered as agents for service of process. As of the date of this filing, GREYSTAR’S website publicly

22   holds itself out as the property manager of the “7403 Living.”

23
              448.   SYCAMORE CORE PROPERTY OWNER, LLC owns and does business as “Core

24
     At Sycamore Highlands,” a multi-dwelling residential apartment complex generally located at 5946
     Sycamore Canyon Blvd, Riverside, CA 92507.
25
              449.   TA SEACREST APARTMENTS, LLC owns and does business as “Seacrest
26
     Apartment Homes,” a multi-dwelling residential apartment complex generally located at 240 Avenida
27
     Vista Montana, San Clemente, CA 92672.
28


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 1
              450.   TA VENICE ON ROSE, LP owns and does business as “Venice On Rose,” a multi-
 2
     dwelling residential apartment complex generally located at 512 Rose Avenue, Venice, CA 90291.
 3            451.   TALAVERA RIDGE APARTMENTS, L.P. directly owns and does business as
 4   “Talavera,” a multi-dwelling residential apartment complex generally located at 1550 Broadstone Pkwy,
 5   Folsom, CA 95630.
 6            452.   TARIGO PROPERTIES LLC owns and does business as “The Windsor,” a multi-
 7   dwelling residential apartment complex generally located at 2383 North Main St., Walnut Creek, CA
 8   94596.
 9            453.   TAVERA, L.P. and G A RANGLAS co-own and do business as “Tavera,” a multi-
10   dwelling residential apartment complex generally located at 1465 Santa Victoria Rd., Chula Vista, CA
11   91913.
12            454.   T-C LEGACY AT WESTWOOD LLC owns and does business as “Legacy At
13   Westwood Apartments,” a multi-dwelling residential apartment complex generally located at 10833
14   Wilshire Blvd., Los Angeles, CA 90024.
15            455.   T-C REGENTS COURT LLC owns and does business as “Regents Court,” a multi-

16   dwelling residential apartment complex generally located at 8465 Regents Road, San Diego, CA 92122.

17            456.   TCP-7E, LLC owns and does business as “Exhibit at J Town Apartments,” a multi-

18   dwelling residential apartment complex generally located at 525 N. 7th Street, San Jose, CA 95112.

19            457.   TEACHERS INS & ANNUITY ASSOCIATION FBO D & T SHANNON

20   ROBINSON co-own and do business as “Westcreek Apartments,” a multi-dwelling residential

21   apartment complex generally located at 973 Westcreek Lane, West Lake Village, CA 91362.

22            458.   TENNESSEE TRIPLE SEVEN LLC owns and does business as “777 Tenn,” a multi-

23
     dwelling residential apartment complex generally located at 777 Tennessee, San Francisco, CA 94107.

24
              459.   TERRA FUNDING - NATOMAS, LLC owns and does business as “The Core
     Natomas,” a multi-dwelling residential apartment complex generally located at 2745 Orchard lane,
25
     Sacramento, CA 95833.
26
              460.   TERRANO APARTMENT HOMES, LLC owns and does business as “Terrano
27
     Apartments,” a multi-dwelling residential apartment complex generally located at 2804 Fashion Drive,
28


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 1
     Corona, CA 92883.
 2
              461.   THE 626 ORCHARD LLC owns and does business as the “The Orchard,” a multi-
 3   dwelling residential apartment complex generally located at 626 N Azusa Ave, Azusa, CA 91702.
 4            462.   THE ARBORS - LAKE FOREST ASSOCIATES, LLC directly owns and does
 5   business as “The Arbors,” a multi-dwelling residential apartment complex generally located at 3550
 6   Pacific Ave., Livermore, CA 94550. THE ARBORS – LAKE FOREST ASSOCIATES, LLC and
 7   GREYSTAR share one or more individuals registered as the agent for service of process.
 8            463.   THE GRAND SHERMAN OAKS, LLC directly owns and does business as “Veda,” a
 9   multi-dwelling residential apartment complex generally located at 4735 Sepulveda Boulevard, Sherman
10   Oaks, CA 91403. THE GRAND SHERMAN OAKS, LLC and GREYSTAR share one or more
11   individuals registered as the agent for service of process.
12            464.   THE HAVEN AT COTTLE STATION, LLC, directly owns and does business as
13   “Vio,” a multi-dwelling residential apartment complex generally located at 5700 Village Oaks Drive,
14   San Jose, CA 95123. THE HAVEN AT COTTLE STATION, LLC and GREYSTAR share one or
15   more individuals registered as the agent for service of process.

16            465.   THE HAVEN AT PETALUMA, LLC directly owns and does business as “The

17   Artisan,” a multi-dwelling residential apartment complex generally located at 55 Maria Drive, Petaluma,

18   CA 94954. THE HAVEN AT PETALUMA, LLC and GREYSTAR share one or more individuals

19   registered as the agent for process.

20            466.   THE HAVEN AT PETALUMA, LLC owns and does business as “The Artisan,” a

21   multi-dwelling residential apartment complex generally located at 55 Maria Drive, Petaluma, CA 94954

22   94928.

23
              467.   THE RESIDENCES AT COTA VERA, LLC, directly owns and does business as “The

24
     Residences at Costa Vera,” a multi-dwelling residential apartment complex generally located at 1575
     Camino Altezza, Chula Vista, CA 91913.           THE RESIDENCES AT COTA VERA, LLC and
25
     GREYSTAR share one or more individuals registered as the agent for service process.
26
              468.   THE WILCO APARTMENTS, LLC owns and does business as “Wilco Apartments,”
27
     a multi-dwelling residential apartment complex generally located at 2525 Wilshire Blvd., Los Angeles,
28


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 1
     CA 90057.
 2
            469.    TILDEN - LAFAYETTE LLC owns and does business as “The U Apartments,” a
 3   multi-dwelling residential apartment complex generally located at 625 Cantrill Dr., Davis, CA 95618.
 4          470.    TOWN CENTER APARTMENTS, INC. directly owns and does business as “The
 5   Paseo at Town Center,” a multi-dwelling residential apartment complex generally located at 24807
 6   Magic Mountain Parkway, Valencia, CA 91355. TOWN CENTER APARTMENTS, INC. and
 7   GREYSTAR share one or more individuals registered as the agent for service of process.
 8          471.    TREA HOLLY STREET VILLAGE LLC owns and does business as “Holly Street
 9   Village Apartments,” a multi-dwelling residential apartment complex generally located at 151 East
10   Holly Street, Pasadena, CA 91103.
11          472.    TRES PINOS LTD owns and does business as “Sunbow Villas,” a multi-dwelling
12   residential apartment complex generally located at 750 Paso De Luz, Chula Vista, CA 91911.
13          473.    TRIO PASADENA, LLC co-owned by CFT NV DEVELOPMENTS, LLC, directly
14   owns and does business as “Trio Apartments,” a multi-dwelling residential apartment complex generally
15   located at 44 N. Madison Avenue, Pasadena, CA 91101. TRIO ASADENA, LLC and GREYSTAR

16   share one or more individuals registered as agents for service of process. As of the date of this filing,

17   GREYSTAR’S website publicly holds itself out as the property manager of the “Trio Apartments.”

18          474.    TROJAN PROPERTY INVESTORS, LLC owns and does business as “The 505,” a

19   multi-dwelling residential apartment complex generally located at 505 W. 31st, Los Angeles, CA 90007.

20          475.    TSV APARTMENTS, LLC and ALLEGIANT DEVELOPMENT COMPANY,

21   LLC., both co-own and do business as “GIO Apartments,” a multi-dwelling residential apartment

22   complex, generally located at 3675 T Street, Sacramento, CA 95816.           TSV      APARTMENTS,

23
     LLC, ALLEGIANT DEVELOPMENT COMPANY, LLC, and GREYSTAR each share one or

24
     more individuals registered as agents for service of process with one another. As of the date of this
     filing, GREYSTAR’s website publicly holds out that it is the manager of “GIO” apartments.
25
            476.    TURTLE CREEK RESIDENTIAL LLC owns and does business as “Turtle Creek,” a
26
     multi-dwelling residential apartment complex generally located at 4824 Van Buren Blvd., Riverside,
27
     CA 92503.
28


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 1
              477.   TUSCANY RIDGE TEMECULA DEL, LLC owns and does business as “Tuscany
 2
     Ridge,” a multi-dwelling residential apartment complex generally located at 41955 Margarita Rd.,
 3   Temecula, CA 92591.
 4            478.   TUSTIN COVENTRY SENIORS, LP owns and does business as “Coventry Court
 5   Luxury Senior Apartments,” a multi-dwelling residential apartment complex generally located at 16000
 6   Cambridge Way, Tustin, CA 92782.
 7            479.   U.S. REIF SIERRA RIDGE CA LP owns and does business as “Vue at 3600
 8   Apartments,” a multi-dwelling residential apartment complex generally located at 3600 Sierra Ridge
 9   Road, Richmond, CA 94806.
10            480.   UNIVERSITY ENTERPRISES, INC. directly owns and does business as “Hornet
11   Commons,” a multi-dwelling residential apartment complex generally located at 3001 State University
12   Drive, Sacramento, CA 95826.
13            481.   VA7 CASA VERDE LLC owns and does business as “Casa Verse,” a multi-dwelling
14   residential apartment complex generally located at 2050 McKee Rd, San Jose, CA 95116.
15            482.   VA8 SIERRABROOK LLC owns and does business as “Sierrabrook,” a multi-dwelling

16   residential apartment complex generally located at 1265 N Capitol, San Jose, CA 95132.

17            483.   VALENCIA ASSOCIATES, LLC owns and does business as “Wilshire Valcenia,” a

18   multi-dwelling residential apartment complex generally located at 1515 Wilshire Blvd., Los Angeles,

19   CA 90017.

20            484.   VAYA WC, LLC owns and does business as the “Vaya,” a multi-dwelling residential

21   apartment complex generally located at 1800 Lacassie Avenue, Walnut Creek, CA 94596.

22            485.   VENTURA TERRACE, LLC owns and does business as “Ventura Terrace

23
     Apartments,” a multi-dwelling residential apartment complex generally located at 6600 E. Telephone

24
     Road, Ventura, CA 93003.
              486.   VERANDA ASSOCIATES, LP owns and does business as “Norwalk Metropointe,” a
25
     multi-dwelling residential apartment complex generally located at 11615 Firestone Blvd, Norwalk, CA
26
     90650.
27
              487.   VERMONT CA GARDENS LP and ASMBB VERMONT CA, LLC directly owns
28


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 1
     and does business as “The Vermont,” a multi-dwelling residential apartment complex generally located
 2
     at 3150 Wilshire Blvd., Los Angeles, CA 90010.           VERMONT CA GARDENS LP, ASMBB
 3   VERMONT CA, LLC and GREYSTAR share one or more individuals registered as the agent for
 4   service of process.
 5            488.   VILLAGE SQUARE APARTMENTS DEL, LLC owns and does business as “Village
 6   Square,” a multi-dwelling residential apartment complex generally located at 8683 Via Mallorca, La
 7   Jolla, CA 92037.
 8            489.   VISTA CREEKSIDE APARTMENTS, LLC owns and does business as “Sereno,” a
 9   multi-dwelling residential apartment complex generally located at 930 3rd Avenue, Chula Vista, CA
10   91911.
11            490.   WEST SACRAMENTO MULTIFAMILY, LLC owns and does business as “The
12   Strand,” a multi-dwelling residential apartment complex generally located at 500 Douglas Street, West
13   Sacramento, CA 95605.
14            491.   WHISPERING OAKS LP owns and does business as “Whispering Oaks Apartments,”
15   a multi-dwelling residential apartment complex generally 468 North Twin Oaks Valley Road, San

16   Marcos, CA 92069.

17            492.   WILSHIRE HOBART 377 PROJECT, LLC owns and does business as “The Pearl on

18   Wilshire Apartments,” a multi-dwelling residential apartment complex generally located at 687 S.

19   Hobart Blvd., Los Angeles, CA 90005.

20            493.   WOODLAND PARK PROPERTY OWNER, LLC owns and does business as

21   “Woodland Park,” a multi-dwelling residential apartment complex generally located at 45 Newell Road,

22   East Palo Alto, CA 94303.

23
              494.   WOODSIDE PARK, LLC owns and does business as “Woodside Park Apartments,” a

24
     multi-dwelling residential apartment complex generally located at 1040 Riker St., Salinas, CA 93901.
              495.   All of the above-identified ENTITY DEFENDANTS, together with defendant
25
     GREYSTAR and the DOE defendants are collectively referred to herein as “Defendants.”
26
              496.   Each of the foregoing ENTITY DEFENDANTS has appointed GREYSTAR as its agent
27
     for the purposes of property management, including, without limitation, administration of tenant security
28


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 1
     deposits.
 2
                     5.      Fictitiously named Defendants
 3           497.    Plaintiffs are informed and believe and thereupon aver that DOES 1 through 1,000 are
 4   other natural persons, corporations, limited-liability companies, general partnerships, limited
 5   partnerships, limited-liability partnerships, trusts, unincorporated associations, and/or other entities of
 6   any kind or character who have incurred liability to Plaintiffs (and/or to one or more members of the
 7   Plaintiff Class) in relation to the transactions and/or occurrences that are the subject of this Complaint,
 8   or who have any interest in the subject of this operative complaint.
 9           498.    Except as may be described here, Plaintiffs are yet uninformed of the true names,
10   capacities and nature and extent of participation in the course of conduct alleged here of the persons
11   sued as DOES 1 through 1000 inclusive, and Plaintiffs are yet uninformed of the nature and extent of
12   any interest that the persons sued as DOES 1 through 1000 inclusive may have in the subject of the
13   operative complaint. Plaintiffs therefore sues these defendants by fictitious names. Plaintiffs will amend
14   this Complaint to allege the true names and capacities of the DOE defendants when ascertained.
15           499.    Upon information and belief, each of the Defendants named here, including DOES 1-

16   1000 and their alter-egos, are joint-tortfeasers, in joint-enterprise, co-conspirators, and acting within the

17   scope of their agency and within their actual and apparent authority to conduct themselves in the manner

18   herein complained.

19           500.    Upon information and belief, each of the Defendants named here, including DOES 1-

20   1000 and their alter-egos, acted as an owner, principal, agent, employer, employee, joint-employer,

21   joint-venturer, franchisor, franchisee, shareholder, off, member, co-conspirator, shell, conduit, master,

22   or partner of each other, and at all times were acting within the scope and course and in pursuance of

23
     his, her or its agency, employment, joint-employment, joint-venture, franchise, partnership, common

24
     and joint-enterprise, or actual or apparent authority in concert with each other.
             501.    Upon information and belief, each of the Defendants named here, including DOES 1 -
25
     1000 and their alter-egos, are individually, jointly and severally liable to Plaintiffs and the Plaintiff class
26
     because each Defendant directly or indirectly, or through an agent or employee, actually, proximately,
27
     and vicariously caused injury to Plaintiffs as described here.
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            502.    Upon information and belief, the acts and omissions of each of the Defendants named
 2
     here, including DOES 1 - 1000 and their alter-egos, contributed to the acts and omissions of each other
 3   Defendant in proximately causing the complaints, injuries, and damages alleged. Defendants approved
 4   of, condoned, and/or otherwise ratified each of the acts or omissions complained of. And Defendants
 5   aided and abetted the acts and omissions of each other Defendant, including DOES 1 -1000 and their
 6   alter-egos, in proximately causing the complaints, injuries, and damages alleged.
 7   VI.    GENERAL ALLEGATIONS
 8          A.      Greystar’s Security Deposit Scheme.
 9          503.    Pursuant to systematic corporate policies and practices, GREYSTAR, in bad faith, retains
10   residential security deposits from its tenants in violation of California law. GREYSTAR conceals this
11   bad faith withholding by failing to provide mandatory, statutory disclosures required by California Civil
12   Code § 1950.5.
13          504.    Through its unlawful policies and practices, GREYSTAR not only realizes rental income
14   for itself and its clients from tens of thousands of tenants, but also generates a profit by unlawfully
15   retaining the security deposits of its former tenants, charging former tenants amounts against, over and

16   above their security deposits for unsubstantiated work, work not reasonably necessary, work not

17   performed and/or not the obligation of the departing tenant under California law.

18          505.    GREYSTAR has centralized security deposit policymaking and administration for

19   APARTMENT COMPLEXES. On information and belief, the umbrella entity, GREYSTAR, is solely

20   responsible for developing and administering security deposit policies and practices uniformly across

21   all ENTITY DEFENDANT’s APARMENT COMPLEXES.

22          506.    Plaintiffs are informed and believe that for all properties owned by the ENTITY

23
     DEFENDANTS, whether or not owned by GREYSTAR, security deposit administration is exclusively

24
     managed by GREYSTAR using GREYSTAR employees and representatives acting pursuant to
     companywide policy.
25
            507.    GREYSTAR’s unlawful policies and practices, practiced at each of the APARTMENT
26
     COMPLEXES, including the following:
27
                    a.     Charging former tenants for normal wear and tear;
28


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                    b.      Applying standardized charges or flat fees in lieu of the actual cost of repair or
 2
                            cleaning of residential units;
 3                  c.      Charging former tenants fees for labor and services that were not performed, not
 4                          required, or not substantiated as required under California law; and
 5                  d.      Withholding and failing to return tenants’ security deposits, in whole or in part,
 6                          without providing mandatory statutory disclosures as required by California Civil
 7                          Code § 1950.5(g).
 8          508.    Defendants’ unreasonable, excessive, unlawful, unenforceable and/or unsubstantiated
 9   charges made against former tenants’ security deposits often exceed the amount of the deposit held by
10   Defendants. When this occurs, Defendants cause a bill, and sometimes a collections notice, to be sent
11   to former tenants, knowing that the monies claimed are based upon fraudulent, unreasonable, excessive,
12   unlawful, unenforceable and/or unsubstantiated move-out charges.           This conduct has resulted in
13   damages to former tenants both through the collection of such amounts and by the reporting of such
14   alleged debts to third parties, defaming former tenants, damaging their credit and impairing their ability
15   to rent other apartments.

16          509.    In addition to the foregoing, Plaintiffs are informed and believe that GREYSTAR has a

17   pattern and practice of systematically either issuing payment beyond the 21-day deadline specified in

18   California Civil Code § 1950.5(g), or sometimes, not at all.

19          B.      Greystar Violates California’s Security Deposit Requirements

20          510.    The Civil Code sets forth requirements for the treatment of security deposits upon

21   termination of a residential lease.

22          511.    Section 1950.5(b) provides that a landlord may only use a security deposit to satisfy

23
     charges against a former tenant only for: (1) rent in arrears; (2) repairs exclusive of wear and tear; (3)

24
     cleaning required to bring the leasehold back to the condition it was in when the tenant accepted the
     tenancy; and (4) “to remedy future defaults by the tenant in any obligation under the rental agreement
25
     to restore, replace, or return personal property or appurtenances” if provided for in the lease.
26
            512.    Civil Code section 1950.5(e) provides that “the landlord may claim on those amounts as
27
     are reasonably necessary….” for specific categories of charges only. As noted above, GREYSTAR
28


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 1
     utilizes standardized charges and flat fees rather than the actual, reasonably necessary cost of repairs
 2
     and/or cleaning.
 3          513.    Civil Code section 1950.5(g)(1) provides that, no later than 21 calendar days after the
 4   tenant vacates the premises, the landlord “shall furnish the tenant, by personal delivery or by first-class
 5   mail, postage prepaid, a copy of an itemized statement indicating the basis for, and the amount of, any
 6   security received and the disposition of the security, and shall return any remaining portion of the
 7   security to the tenant.” GREYSTAR systematically fails to provide the required itemized statements,
 8   including a reasonable description of the work performed.
 9          514.    Civil Code section 1950.5(g)(2)(B) provides that the landlord must also include copies
10   of documents substantiating the charges incurred and deducted by the landlord to repair or clean the
11   premises; specifically, the “landlord shall provide the tenant a copy of the bill, invoice, or receipt
12   supplied by the person or entity performing the work.”3 GREYSTAR systematically fails to provide
13   vendor documentation as required by statute.
14          515.    Civil Code section 1950.5(g)(2)(A) provides: “If the landlord or landlord's employee did
15   the work, the itemized statement shall reasonably describe the work performed. The itemized statement

16   shall include the time spent and the reasonable hourly rate charged.” GREYSTAR’s itemizations and

17   other documentation sent to former tenants, referred to as “Summary of Move Out Charges” by

18   universal, standard operating procedure and policy do not satisfy any of the requirements as set forth in

19   section 1950.5(g)(2) because they fail to reasonably describe the work performed.

20          516.    GREYSTAR’s standard operating procedures for the administration of its former

21   tenants’ security deposits uniformly and systematically violates Civil Code section 1950.5(g)(2).

22   GREYSTAR, as a matter of standard policy and practice, does not send bills, receipts, or invoices from

23
     the third-party vendors it alleges performed work on the vacated premises within 21 days as required by

24
     Civil Code section 1950.5(g)(1).
            517.    Additionally, GREYSTAR, as a matter of standard policy and practice does not describe
25
     the work allegedly performed on the leasehold in the manner required by code and instead uses
26

27   3
            The “receipt requirement” of Civ. Code § 1950.5(g)(2) is excepted only when deductions for
28   cleaning and repairs combined do not exceed $125.


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 1
     unlawfully vague descriptions – a uniform practice designed to obfuscate the work, if any, performed
 2
     on a leasehold, who performed the work, and the cost and/or manhours of the work with the intention
 3   of wrongfully maximizing security deposit retention.
 4          518.    GREYSTAR’s uniform and standard operating procedures make it impossible or
 5   unreasonably difficult for former tenants to determine if the work GREYSTAR allegedly performed on
 6   the leasehold was performed by a vendor or an in-house employee.
 7          519.    In violation of the Civil Code section 1950.5(g), GREYSTAR frequently charges former
 8   tenants’ standard “cleaning fees” without regard to the condition of the apartment, and, without the
 9   required vendor provided invoice nor stated hours and rate for any work performed by GREYSTAR
10   employees.
11          C.      Greystar’s Unlawful Policies Practiced on Plaintiffs
12          520.    Plaintiff RONNIE BROOKS is a former tenant of Defendants, formerly residing at the
13   “Solaire Apartments.” Ms. BROOKS began her lease approximately June 10, 2019, and moved out
14   approximately May 1, 2023. Ms. BROOKS submitted a $700 security deposit.
15          521.    After her departure, GREYSTAR provided Ms. BROOKS a “summary of move out

16   charges” and a “final account statement” via email. Ms. BROOKS was charged, among other things,

17   $235 for a “cleaning fee.” Neither document provided to Ms. BROOKS specified the work performed

18   and did not provide hours or hourly rates as mandated by statute. Ms. BROOKS was not provided with

19   an invoice from any third-party vendors. Upon information and belief, GREYSTAR’s cleaning fee is

20   an unlawful “standard charge,” not reasonably necessary, and not indicative of any work performed on

21   the vacated leasehold.     As such, GREYSTAR failed to provide the mandated disclosures for

22   administration of Ms. BROOKS’ security deposit.

23
            522.    Defendants failed to return the portion of Ms. BROOKS’ security deposit representing

24
     the $235 “cleaning fee.”
            523.    Plaintiff TIFFANY VINSON is a former tenant of Defendants, formerly residing at
25
     “Gema Apartments” at 750 Beech Street Unit 02-0419 San Diego, California 92101. Ms. VINSON
26
     began her lease approximately May 9, 2022, and moved out on June 8, 2023. Ms. VINSON submitted
27
     a $400 security deposit.
28


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            524.    After her departure, Ms. VINSON was not provided an itemized statement as required
 2
     under Civil Code section 1950.5 until she emailed her former manager at gemaamgr@greystar.com for
 3   those documents in July 2023, beyond the 21-day period set by the Civil Code. At that time,
 4   GREYSTAR emailed her a final account statement on July 6, 2023. The final account statement
 5   indicated a $240 charge for a “cleaning fee” and a $20 fee for “Final Utility Admin Fee & Move Out
 6   Fee.” No third-party invoices were provided nor was there any description of hours and rates for any
 7   work allegedly performed by GREYSTAR employees on the vacated leasehold.
 8          525.    Defendants did not return the portion of Ms. VINSON’s security deposit reflecting the
 9   $240 “cleaning fee” and $20 fee for “Final Utility Admin Fee & Move Out Fee.”
10          526.    Ms. VINSON disputed these charges citing the Civil Code in a written correspondence
11   sent on July 7, 2023.     GREYSTAR ignored the correspondence. Upon information and belief,
12   GREYSTAR’s cleaning fee is an unlawful “standard charge,” not reasonably necessary, and not
13   indicative of any work performed on the vacated leasehold. The $20 charge for “Final Utility Admin
14   Fee & Move Out Fee” is an unlawful charge and not permitted under Civil Code section 1950.5(b). As
15   such, GREYSTAR failed to provide the mandated disclosures for administration of Ms. VINSONS’

16   security deposit.

17          527.     Plaintiff ANNIE CASTNER is a former resident of Defendants, formerly residing at

18   “Calypso Apartments and Lofts” at 2801 Alton Parkway Unit 310, Irvine, California 92606. Ms.

19   CASTNER moved into Defendants’ property on approximately September 22, 2020 and moved out on

20   November 19, 2021. Ms. CASTNER submitted a $400 security deposit to Defendants.

21          528.    Defendants did not provide Ms. CASTNER any statement regarding the disposition of

22   her security deposit. In June 2022, Ms. CASTNER received an email notice that she had a balance due

23
     of $184.42 to GREYSTAR in addition to her security deposit. Ms. CASTNER disputed the charges and

24
     indicated that the 21-day timeframe for the administration of her security deposit had elapsed.
            529.    On September 21, 2022, GREYSTAR agent Martha Player sent Ms. CASTNER an email
25
     with an attached “Summary of Move Out Charges.” Ms. CASTNER was charged for, among other
26
     things, $215.58 for “Damages - Sub-task - 6057172 – Floor - Carpet - Replace,” $174.17 for “Damages
27
     - Sub-task - 6057171 – Walls Paint – Full,” and $120 for “Damages - Sub-task - 6057170 - Cleaning
28


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     Based on Full Unit – Full.” Ms. CASNTER was never provided any vendor invoices nor any statement
 2
     of hours and rates for any work allegedly performed by GREYSTAR employees. No reasonable
 3   description of the tasks performed was given. As such, GREYSTAR failed to provide the mandated
 4   disclosures for administration of Ms. CASTNER’ security deposit. In addition, the charges assessed
 5   appear to be standard charges rather than charges based on reasonable and necessary expenses actually
 6   incurred by Defendants.
 7            530.   Defendants have not returned any portion of Ms. CASTNER’s deposit.Plaintiff PHILIP
 8   MCGILL is a former tenant of Defendants, formerly residing in the Tenth&G apartments. Mr. MCGILL
 9   began his lease with Defendants on approximately September 23, 2020, and vacated his leased premises
10   with Defendants on approximately May 1, 2023. Mr. MCGILL entered into a lease renewal agreement
11   with Tenth&G where he agreed to pay a $3,378.00 security deposit. Mr. MCGILL began his new
12   tenancy under the renewal agreement on approximately December 24, 2021, and ended his renewal
13   agreement on approximately October 23, 2022. The renewed lease agreement provides in paragraph 52;
14   “We may withhold from the security deposit only such amounts that are reasonably necessary to remedy
15   your defaults including to repair damage to the premises caused by you, exclusive of ordinary wear and

16   tear.”

17            531.   Mr. MCGILL received a final account statement on May 3, 2023, stating that he owed a

18   total of $425.69 for “total damage and cleaning charges.” Specifically, Mr. MCGILL was charged $200

19   for “Vertical Blinds Replacement x2,” and $165 for “819 Turn Clean.” No further description was

20   provided, and no statement of hours worked or hourly rates. No vendor bills, invoices, or receipts were

21   provided.

22            532.   Mr. MCGILL continuously communicated with Defendants to try to have a check issued

23
     for the remainder of his security deposit that was not in dispute. Defendants then represented that they

24
     were going to issue Mr. MCGILL a check for the remaining deposit in the amount of $2,952.04
     approximately three weeks after he moved out. When Mr. MCGILL followed up, he was told that
25
     Defendants mailed the check to the wrong address, so Mr. MCGILL provided them the correct address.
26
     But, to date, Mr. MCGILL still has not received his check with the remaining balance he was promised
27
     that was not in dispute, nor has he received a vendor invoice or proper documentation for any of the
28


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     services purported to have been performed on his past residence evidencing bad faith.
 2
            533.     Mr. MCGILL also disputed the $200 charge for “Vertical Blinds replacement x2,” since
 3   the blinds that were left in his former residence were in pristine condition as they were stored in a closet4.
 4   Throughout his efforts to communicate with Tenth&G management, Mr. MCGILL never received the
 5   mandatory disclosures for Defendants’ administration regarding his security deposit evidencing bad
 6   faith. Management’s utter disregard for and lack of concern shown in their actions has led to Mr.
 7   MCGILL being deprived of his security deposit.
 8          534.    Plaintiff LAURA SEIGEL is a former tenant of Defendants, formerly residing at the
 9   Breakwater Apartments. Ms. SEIGEL began her lease with Defendants on approximately March 11,
10   2022, and vacated her leased premises with Defendants on approximately March 16, 2023. Ms. SEIGEL
11   was required to submit a $2,437.50 security deposit to Defendants prior to moving into the leased
12   premises.
13          535.    Defendants failed to provide Ms. SEIGEL with any itemized statement or vendor
14   invoices at the time of her move out or within 21 days thereafter.
15          536.    Ms. SIEGEL then requested of Defendants’ management personnel that Defendants

16   return her security deposit pursuant to California Civil Code 1950.5.

17          537.    Specifically, on April 11, 2023, Ms. SEIGEL wrote in an email to Defendants:

18          “I vacated the premises at 16761 Viewpoint Ln., #308 Huntington Beach, CA 92647 on

19          March 16, 2023.

20          Pursuant to California civil code 1950.5 Greystar was required by April 6, 2023, to

21          refund my security deposit and or provide an itemized statement listing any amounts

22          Greystar has withheld.

23
            As of today, I have not received my security deposit or an itemized statement

24
            […]
            I have sent a couple emails regarding this and everybody keeps pushing me to the side”
25
            538.    On April 12, 2023, Ms. SEIGEL again forwarded the same email to multiple
26

27

28
     4
            Mr. McGill has pictures of the Vertical Blinds when he vacated the premises depicting the two
     blinds with no damage that Defendants contended were damaged.

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     GREYSTAR email accounts, noting that it was her “6th attempt” to gather a response to her security
 2
     deposit inquiries. Ms. SEIGEL sent this email to the following GREYSTAR email addresses:
 3      •   “The Breakwater Manager,” at breakwatermgr@greystar.com;
 4      •   “Janice Seltzer,” at janice.seltzer@greystar.com;
 5      •   “The Breakwater Assistant Manager,” at breakwateramgr@greystar.com;
 6      •   “The Breakwater Leasing 1,” at breakwaterleasing1@greystar.com; and
 7      •   “The Breakwater Leasing 2,” at breakwaterleasing2@greystar.com.
 8   Finally, on April 12, 2023, Defendants’ Assistant Community Manager responded to Ms. SEIGEL’s
 9   emails, nearly one week after the 21-day deadline for GREYSTAR to have resolved all security deposit
10   matters. Defendant's employee informed Ms. SEIGEL that she had “escalated [the] matter,” but did still
11   not mention whether any portion of Ms. SEIGEL’s security deposit would be returned.
12          539.    Receiving no further contact, on April 17, 2023, Ms. SEIGEL again emailed The
13   Breakwater Assistant Manager, at breakwateramgr@greystar.com, asking for an update on the return of
14   her security deposit.
15          540.    On April 26, 2023, twenty days past the statutory deadline to return former tenants’

16   security deposits, GREYSTAR Assistant Community Manager informed Ms. SEIGEL that accounting

17   confirmed that “the check was cut today” and would be sent to Ms. SEIGEL’s forwarding address.

18          541.    Without further explanation or response from GREYSTAR management, Ms. SEIGEL

19   received a check from GREYSTAR in the amount of $723.59, reflecting a withholding of over $1,700.

20   Defendants charged Ms. SEIGEL for the following repairs, which they withheld from her security

21   deposit:

22                               Service                                   Amount Charged

23                           “Rebuild Closet”                                   $950.00

24               “Full Paint ($550) Charge back 50%%”                           $275.00

25                           “Carpet Cleaning”                                  $120.00

26                      “Full Unit Cleaning 3x2”                                $230.00

27          542.    Defendants failed to provide Ms. SIEGEL vendor documentation substantiating the

28   $120.00 carpet cleaning charge.


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            543.    Plaintiff CHERRELLE BLOUNT is a former tenant of Defendants, formerly residing in
 2
     the Frederic apartments located at 601 Capitol Mall, Unit No. 321, Sacramento, CA 95814. Ms.
 3   BLOUNT commenced her lease with Defendants on approximately June 23, 2022 and vacated her leased
 4   premises with Defendants on approximately July 1, 2023. Upon commencement of her lease, Ms.
 5   BLOUNT submitted a security deposit of $3,220.00.
 6          544.    Ms. BLOUNT received a final account statement in an envelope dated July 14, 2023,
 7   deducting $476.16 for “Total additional charges / credits / payments.” Specifically, Ms. BLOUNT was
 8   charged the following amounts
 9          “Heavy clean + Trash out fridge        190.00.”
10          “Paint PM 200 0 EG EXTRA               91.16.”
11          “Paint @ $39/hr 5 hours LABOR          195.00”
12          545.    Ms. BLOUNT was not provided any invoices or other documentation substantiating the
13   above-referenced charges in violation of section 1950.5(g)(2). Nor was she provided invoices, price
14   lists, or similar documents reflecting in-house supplies as required.
15          546.    Further, Ms. BLOUNT’s final account statement states that she is owed a refund of

16   $1,002.71. Despite her numerous calls and follow up emails, she has not received it in violation of

17   section 1950.5(g)(1).:

18          547.    The unlawful practices that Defendants engaged in with respect to Plaintiffs are reflective

19   of Defendants’ systematic, uniform, and bad faith conduct towards all former tenants. This conduct has

20   violated the California Civil Code to the detriment of thousands of Californians over many years by

21   charging for repairs, replacement, and cleaning that were never done; a practice obscured by

22   intentionally failing to itemize and substantiate repairs, replacement and. As such, these former

23
     California tenants of Defendants have each been deprived of some or all of their security deposits which

24
     Defendants were legally obligated to return to its tenants at the conclusion of their respective leases.
     VI.    CLASS ACTION ALLEGATIONS
25
            548.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil Procedure
26
     23 on behalf of themselves and all other similarly situated persons in the Classes, which are composed
27
     of and defined as follows, excepting only individuals against whom or in whose favor a final judgment
28


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 1
     has already been rendered with respect to the defendant(s).
 2
            549.    Unsubstantiated-Charges Class: All former tenants of Defendants whose leaseholds
 3   terminated between October 13, 2016 to present, and who had at least $125.00 of their security deposits
 4   retained for cleaning, repairs and/or replacements combined (the “Unsubstantiated Charges Class”).5
 5                  a.      In-House Charges Subclass: All members of the Unsubstantiated Charges Class
 6   whom Defendants charged for asserted in-house6 repair or cleaning.
 7                  b.      In-House Supplies Subclass: All members of the Unsubstantiated Charges
 8   Class whom Defendants charged for asserted in-house supplies.
 9                  c.      Vendor Charges Subclass: All members of the Unsubstantiated Charges Class
10   whom Defendants charged for asserted third-party services or supplies.
11                  d.      Cleaning-Fee Class.         All former tenants of Defendants whose leaseholds
12   terminated between October 13, 2016, to present and from whom Defendants withheld a portion of their
13   security deposits for flat-fee cleaning charges.
14          550.    Plaintiffs reserve the right to amend this Class and to add any number of subclasses.
15          551.    The Court should permit this action to be maintained as a class action pursuant to Federal

16   Rule of Civil Procedure 23, because each of the requirements for class treatment is satisfied.

17                  a.      Numerosity: The Plaintiff Class is so numerous that the individual joinder of

18   all members is impracticable. Plaintiffs are informed and believe that there are more than 100,000

19   class members in total and a sufficiently numerous amount in the proposed class.

20                  b.      Common Questions Predominate: Common questions of law and fact exist as

21   to all members of the class that predominate over any questions that affect only individual members.

22   These common questions of law and fact include:

23   5
       On October 13, 2020, a class action was initiated in the Northern District of California entitled
     “ZACHARY ZEFF, an individual, on behalf of himself and on behalf of others similarly situated v.
24   GREYSTAR CALIFORNIA, INC., a Delaware Corporation asserting class claims of, inter alia,
25
     violation of California Civil Code section 1950.5 and Unfair Business Practices (“UCL”) (Bus. & Prof.
     §§ 17200, et al.), with a class period of October 13, 2016 to present as case number 3:20-cv-07122-
26   EMC. On June 22, 2023, plaintiff Zeff only moved for class certification on the violation of California
     Civil Code section 1671(d) and abandoned the Civil Code section 1950.5 claims.
27

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     6
      In-house refers to work purportedly performed by employees of the landlord as contemplated by
     Civil Code section 1950.5(g)(2)(A).

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 1
                 •      Whether Defendants enacted policies or engaged in a pattern and practice in
 2
                 violation of Civil Code section 1950.5(g)(1) of failing to provide itemized statements
 3               detailing charges for repairs or cleaning deducted from security deposits of its former
 4               tenants within 21 days of move out as required by code.
 5               •      Whether Defendants enacted policies or engaged in a pattern and practice in
 6               violation of Civil Code 1950(g)(2)(B) of failing to provide copies of vendor-supplied
 7               bills, receipts or invoices for repairs or cleaning deducted from security deposits of its
 8               former tenants within 21 days of move out.
 9               •      Whether Defendants enacted policies or engaged in a pattern and practice
10               violation of Civil Code 1950(g)(2)(C) of failing to provide adequate documentation of
11               in-house supply charges, including bills, invoices, receipts, or price lists.
12               •      Whether Defendants’ uniform security deposit itemizations satisfy the
13               requirements for any alleged “employee performed work” on vacated leaseholds under
14               Civil Code section 1950.5(g)(2)(A), including a reasonable description of the work, a
15               statement of the hours worked, and a statement of the hourly rate.

16               •      Whether Defendants’ uniform security deposit itemizations satisfy the

17               requirements for any alleged “vendor performed work” on vacated leaseholds under Civil

18               Code section 1950.5(g)(2).

19               •      Whether Defendants’ uniform security deposit administration practices,

20               including their failure to provide the required statutory disclosures, is in bad faith.

21               •      Whether Defendants, by operation of law, are barred from seeking recovery for

22               amounts which could legitimately have been charged at move out due to their systematic

23
                 and bad faith violation of Civil Code section 1950.5 and other equitable or statutory

24
                 provisions of law.
                 •      Whether any and all Defendants are liable to each former tenant who is a class
25
                 member for punitive and/or statutory double damages for bad-faith retention of security
26
                 deposits under Civil Code section 1950.5(l).
27
                 •      Whether Granberry v. Islay Investments, 9 Cal. 4th 738 (1995) mandates that the
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 1
                    Defendant return all the security deposit retained from the Plaintiff Class for its uniform
 2
                    violation of Civil Code section 1950.5.
 3                  •       The appropriate measure of class-wide legal and/or equitable relief.
 4                  c.      Typicality: Plaintiffs’ claims are typical of those of the Plaintiff Class. Plaintiff
 5   and all Plaintiff Class members sustained injuries and damages arising from Defendants’ common
 6   policies, practices, and course of conduct, including unlawful withholding of security deposits and
 7   failure to provide mandatory statutory disclosures. The injuries and damages were caused directly by
 8   the Defendants’ wrongful conduct in violation of law as alleged.
 9                  d.      Adequacy of Representation: Plaintiffs will fairly and adequately protect the
10   interest of the members of the Plaintiff Class. Plaintiff has no interests adverse to the interests of
11   absent class members. Plaintiff has retained counsel adequate to prosecute the case for the entire
12   class.
13                  e.      Superiority: A class action is superior to other available means for the fair and
14   efficient adjudication of this controversy. Individual joinder of all members of the class is
15   impracticable; class action treatment will permit a large number of similarly situated persons to

16   prosecute their common claims in a single forum simultaneously, efficiently, and without the

17   unnecessary duplication of effort and expense that numerous individual actions would engender.

18   Furthermore, because Defendants are expected to contend that any individual’s damages may be

19   relatively small, the expense and burden of individual litigation make it difficult or impossible for

20   individual class members to redress the wrongs done to them, while an important public interest will

21   be served by addressing the matter as a class action. The cost to the judicial system of individual

22   adjudication would be substantial and present the potential for inconsistent or contradictory judgments.

23
     In addition, individual actions give Defendants too many opportunities to take advantage of

24
     unrepresented tenants at a summary proceeding without access to substantial discovery, as discovery is
     not available in small claims court.
25
                    f.      Manageability. Plaintiffs are unaware of any difficulties that are likely to be
26
     encountered in the management of this action that would preclude its maintenance as a class action.
27
     VII.     CAUSES OF ACTION
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 1

 2                                       FIRST CLAIM FOR RELIEF
                              Unlawful Retention of Residential Security Deposits
 3                                      (California Civil Code § 1950.5)
                             (By Plaintiffs and All Classes Against All Defendants)
 4
              552.   Plaintiffs re-allege and incorporate by reference the allegations of all preceding
 5
     paragraphs.
 6
              553.   This cause of action is brought against Defendants on behalf of Plaintiffs and the Plaintiff
 7
     Class.
 8
              554.   Defendants charged unsubstantiated cleaning, repair, replacement, and/or painting fees
 9
     to Plaintiffs and the Plaintiff Class upon the termination of their leasehold and deducted these charges
10
     from their security deposits.
11
              555.   Defendants did not provide a copy of an itemized statement indicating the basis for, and
12
     the amount of, any security received and the disposition of the security within 21 days of Plaintiffs’ and
13
     the Plaintiff Class vacating the respective leased premises owned and managed by Defendants.
14
              556.   Defendants did not provide the requisite substantiation of the charges against Plaintiffs’
15
     and the Plaintiff Class’ security deposits as required under Civil Code section 1950.5(g)(2).
16
              557.   Defendants charged a flat cleaning fee over and beyond what was “reasonably necessary”
17
     in violation of Civil Code section 1950.5(e).
18
              558.   Defendants, as a result of these charges, unlawfully retained some or all of Plaintiffs’ and
19
     the Plaintiff Class’ security deposits.
20
              559.   Defendants engaged in the above-described misconduct in bad faith.
21
              560.   As a direct and proximate cause of Defendants’ conduct, Plaintiffs and the Plaintiff Class
22
     suffered damages.
23

24                                    SECOND CLAIM FOR RELIEF
                                             Unfair Competition
25                       (California Business and Professions Code §§ 17200, et seq.)
                           (By Plaintiffs and All Classes Against All Defendants)
26
              561.   Plaintiffs re-allege and incorporate by reference the allegations of all preceding
27
     paragraphs.
28


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 1
              562.   This cause of action is brought against Defendants on behalf of Plaintiffs and the Plaintiff
 2
     Class.
 3            563.   Pursuant to section 17200 of the California Business and Professions Code, “any
 4   unlawful, unfair or fraudulent business act or practice” constitutes “unfair competition.”
 5            564.   The violations of the California Civil Code and other wrongdoing alleged herein
 6   constitute unlawful, unfair and/or fraudulent business acts and practices, and therefore “unfair
 7   competition,” for the purposes of section 17200 of the California Business and Professions Code.
 8   Among other violations, Defendants’ collections and attempted collections of amounts over and above
 9   a retained security deposit are unlawful, all entitling Plaintiffs and the Plaintiff Class to restitution under
10   the UCL.
11            565.   Likewise, Defendants’ deduction from the Plaintiffs’ and the Plaintiff Class’ respective
12   security deposits without timely providing Plaintiffs and the Class legally competent itemized
13   descriptions of the repairs, replacement or cleaning purportedly performed by Defendants constitutes an
14   unlawful, unfair and/or fraudulent business practice. And Defendants’ deduction from the Plaintiffs’
15   and the Plaintiff Class’ respective security deposits without timely providing Plaintiffs and the Class

16   third party vendor invoices for all repairs, replacement or cleaning purportedly performed by third party

17   vendors constitutes an unlawful, unfair and/or fraudulent business practice.

18            566.   Plaintiffs and the Plaintiff Class have suffered financial injury in fact and have lost money

19   and/or property as a result of such unfair competition.

20            567.   The facts set forth establish that the Plaintiffs and the members of the Plaintiff Class are

21   entitled to judgment against Defendants and all of them, jointly and severally, awarding restitution to

22   the Plaintiffs and the Plaintiff Classes of all monies acquired by means of the described unfair

23
     competition, including wrongfully withheld security deposits and associated penalties.

24
              568.   Plaintiffs and the Plaintiff Class are further entitled to declaratory and injunctive relief
     determining the rights and obligations in dispute among the Parties and an order mandating Defendants
25
     adhere to the mandates of law with respect to their security deposit accounting practices.
26
                                                  PRAYER FOR RELIEF
27
     WHEREFORE, Plaintiffs, on behalf of themselves and other members of Plaintiff Class, pray:
28


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 1
        1. For actual damages sustained by Plaintiffs and the Plaintiff Class members, including but not
 2
           limited to, unlawfully retained security deposits; any amounts paid to Defendants over and above
 3         what was retained of their respective security deposits for unreasonable and unsubstantiated
 4         charges at move-out; plus any other amounts collected from Class members in connection with
 5         their leasehold termination for purported repairs, replacements, painting, carpet replacement or
 6         cleaning, accelerated rent, rental concession charge-backs, and any other charges collected in
 7         violation of law.
 8      2. For return of the entirety of all Plaintiffs’ and the Plaintiff Class’ security deposits retained by
 9         Defendants.
10      3. For penalties available pursuant to California Civil Code § 1950.5(l).
11      4. For penalties available pursuant to California Civil Code § 3345.
12      5. For restitution for violation of Business and Professions Code sections 17200 et seq.;
13      6. For pre-judgment interest.
14      7. For attorney’s fees and expenses recoverable under law, including, without limitation, Code of
15         Civil Procedure 1021.5, and the common-fund doctrine.

16      8. For costs, including class action notice and administration expenses.

17      9. For injunctive relief against Defendants’ conduct, including an injunction:

18             a. Requiring Defendants to issue proper itemizations of security deposits as required by

19                  Civil Code section 1950.5 within the time prescribed by law.

20             b.   Requiring Defendants to provide a third-party documentation for every cleaning,

21                  replacement, and repair charges consistent with the provisions of Civil Code §

22                  1950.5(g)(2);

23
               c. Prohibiting Defendants from charging any fees against residential security deposits other

24
                    than the charges specifically authorized by Civil Code section 1950.5(b); and
               d. To declare all alleged outstanding balances owed by class members invalid and prohibit
25
                    collection thereupon
26
        10. For declaratory relief, declaring that outstanding balances alleged owed by the Plaintiff Class
27
           members are extinguished by operation of this suit.
28


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 1
        11. For all other appropriate declaratory and equitable relief; and
 2
        12. Any other relief that this Court deems just.
 3

 4   Dated: September 18, 2023                    HOGUE & BELONG

 5                                                By: Tyler J. Belong_______________________
                                                        JEFFREY L. HOGUE, ESQ.
 6                                                      TYLER J. BELONG, ESQ.
 7
                                                  LAW OFFICE OF JIMMIE DAVIS PARKER
 8                                                     JIMMIE DAVIS PARKER

 9                                                DIAMOND McCARTHY LLP
                                                      DAMION D. D. ROBINSON
10

11                                                Attorneys for Plaintiffs and all others similarly situated

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 1                                               JURY DEMAND

 2
            Plaintiffs and ROES 1 through 100, individually and on behalf of the other members of the
 3
     Plaintiff Class, hereby demand trial by jury of all issues triable by a jury.
 4

 5   Dated: September 18, 2023                      HOGUE & BELONG
 6                                                  By: Tyler J. Belong_______________________
                                                          JEFFREY L. HOGUE, ESQ.
 7
                                                          TYLER J. BELONG, ESQ.
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 9                                                       JIMMIE DAVIS PARKER
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12                                                  Attorneys for Plaintiffs and all others similarly situated
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